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    EXHIBIT A – PART 1
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NEW YORK

          GUOTAIQIXING BIOMEDICAL
          INTERNATIONAL (S) PTE. LTD.,                          Index No. _152210/2024_____
                                          Plaintiff,

                              -against-
                                                                AMENDED NOTICE OF MOTION
          XUEFENG DAI,                                          FOR SUMMARY JUDGMENT IN
                                                                LIEU OF COMPLAINT
                                          Defendant.



                PLEASE TAKE NOTICE that upon the Summons, the Affirmation of Liang Calvin

         Hanwen, dated March 10, 2024, and the exhibits attached thereto, the Affirmation of Benjamin

         D. Bloodstein, dated March 11, 2024 and the exhibits attached thereto, the accompanying

         Memorandum of Law in Support of Plaintiff’s Motion for Summary Judgment in Lieu of

         Complaint dated March 11, 2024 (the “Memorandum of Law”), filed herewith, Plaintiff

         Guotaiqixing Biomedical International (S) Pte. Ltd. will move this Court at the Motion

         Submission Part, Room 130, at the Supreme Court Building, 60 Centre Street, New York, New

         York, on May 31, 2024, at 9:30 a.m., or as soon thereafter as counsel can be heard, for an Order

         pursuant to C.P.L.R. §§ 3213 and 5301 et seq., recognizing and enforcing a foreign country

         money judgment entered by the General Division of The High Court of the Republic of

         Singapore, in an amount detailed further in the Memorandum of Law, and award such other and

         further relief as the Court deems just and proper.

                PLEASE TAKE FURTHER NOTICE that, pursuant to C.P.L.R. § 3213, answering

         papers, if any, are required to be served upon the undersigned so as to be received at least ten

         (10) days before the return date of this Motion.




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      SUPREME COURT OF THE STATE OF NEW YORK
      COUNTY OF NEW YORK

       GUOTAIQIXING BIOMEDICAL                              Index No. ________________
       INTERNATIONAL (S) PTE. LTD.,
                                                            Summons Filed: _____________
                                      Plaintiff,

                          -against-                         SUMMONS
       XUEFENG DAI,

                                      Defendant.



             To the above-named Defendant:

             You are hereby summoned and required to serve upon Plaintiff’s attorneys your answering

      papers on this motion within the time period in the notice of motion annexed hereto. In case of your

      failure to submit answering papers, summary judgment will be taken against you by default for the relief

      demanded in the notice of motion.

             Plaintiff designates New York County as the place of trial. Venue for this action is proper in

      New York County under § 503 of New York’s Civil Practice Law & Rules because neither party resides

      in the State and Plaintiff designates New York County.




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NEW YORK
           GUOTAIQIXING BIOMEDICAL
           INTERNATIONAL (S) PTE. LTD.,
                                                                  Index No. ________________
                                            Plaintiff,

                                -against-                         AFFIRMATION OF LIANG
           XUEFENG DAI,                                           HANWEN CALVIN

                                            Defendant.

                 Liang Hanwen Calvin affirms this 10th day of March, 2024, under the penalties

          of perjury under the laws of New York, which may include a fine or imprisonment, that

          the following is true, and understands that this document may be filed in an action or

          proceeding in a court of law:

                 1.      I am an Advocate and Solicitor of the Supreme Court of the Republic of

          Singapore and am duly licensed to practice before the Courts of Singapore. I am a founding

          member of Duxton Hill Chambers (Singapore Group Practice). My principal areas of practice

          are cross-border commercial disputes and white-collar crime. I appear before the Singapore

          Courts as well as in international arbitrations.

                 2.      I have served as instructed counsel for the Plaintiff, Guotaiqixing Biomedical

          International (S) Pte. Ltd. (“Plaintiff” or “GTQX”), before the General Division of The High

          Court of the Republic of Singapore (the “Singapore Court”) in the Singapore proceedings

          which relate to the instant action before this Court (the “Singapore Action”), including the

          entry of judgment against Defendant Xuefeng Dai (“Dai,” and the judgment, the “Singapore

          Judgment”).

                 3.      I respectfully submit this affirmation in support of Plaintiff’s motion for

          Summary Judgment in Lieu of Complaint pursuant to CPLR Sections 3213 and 5301 et seq.,

          for recognition and enforcement of the Singapore Judgment issued in favor of Plaintiff and




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          against Dai. I am fully familiar with the facts set forth herein based upon my personal

          knowledge obtained through my direct involvement with the matters described.

                 4.      All exhibits submitted herewith and referred to as “certified” are scanned copies

          of official records in the form authorized by the laws of Singapore. The certified documents

          were obtained from and certified by the Assistant Registrar of the Supreme Court of Singapore,

          which is obliged by law to keep such documents. I have reviewed the original certified true

          copies, caused them to be scanned, and compared them to the scanned copies submitted

          herewith. I affirm that the scanned copies do not differ in any material fashion from their

          original versions.

                 A.      The Singapore Action

                 5.      On October 27, 2020, GTQX filed a lawsuit in in the Singapore Court against

          Dai and two of Dai’s associates to recover funds that had been improperly diverted from GTQX

          by Dai and his associates for their own benefit. Attached hereto as Exhibit 1 is a true and

          correct copy of Plaintiff’s Statement of Claim in the Singapore Action, dated October 27, 2020.

                 6.      GTQX amended its claim in the Singapore Action on December 12, 2022 to

          clarify the relief sought. Attached hereto as Exhibit 2 is a true and correct copy of Plaintiff’s

          Amended Statement of Claim in the Singapore Action, dated December 12, 2022.

                 7.      GTQX is a company incorporated in Singapore and is a wholly-owned

          subsidiary of Shenzhen Guotaiqixing Industry Investment Fund Management Centre LLP (the

          “Limited Partnership”), a limited partnership formed under the laws of the People’s Republic

          of China. Attached hereto as Exhibit 3 is a true and correct copy and a certified English

          translation of the Partnership Agreement which formed the Limited Partnership.

                 8.      The Singapore Court is a court of general jurisdiction.




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                 9.      Attached hereto as Exhibit 4 is a true and correct copy of the first affidavit of

          GTQX Director Yingtong Sun, sworn to in the Singapore Action on October 26, 2020.1

                 10.     Dai initially appeared through counsel and filed an application to contest service

          and personal jurisdiction. The parties tendered extensive written submissions to the Court on

          Dai’s application, and the Singapore Court held two hearings thereon, on October 15, 2021 and

          November 15, 2021. At the second hearing on November 15, 2021, the Singapore Court

          dismissed Dai’s application. Attached hereto as Exhibit 5 is a true and correct copy of the

          notes taken by the Singapore Court and filed publicly from the hearing in the Singapore Action

          on November 15, 2021.

                 11.     Dai appealed, and multiple hearings were held on that appeal, on January 11,

          2022, March 15, 2022, and May 11, 2022. At the third hearing on May 11, 2022, the Singapore

          Court dismissed Dai’s appeal in full and ordered Dai to pay costs to Plaintiff. Attached hereto

          as Exhibit 6 is a true and correct copy of the notes taken by the Singapore Court and filed

          publicly from the hearing in the Singapore Action on May 11, 2022.

                 12.     Dai filed his Defense in the Singapore Action on June 2, 2022, and filed a further

          amended Defense on June 17, 2022. Attached hereto as Exhibit 7 is a true and correct copy

          of Dai’s Defense, dated June 2, 2022, and attached hereto as Exhibit 8 is a true and correct

          copy of Dai’s Defense (Amendment No. 1), dated June 17, 2022.

                 13.     In an affidavit sworn to and filed by Dai through his counsel on July 8, 2022,

          Dai conceded that he “transferr[ed] the monies from the Plaintiff to the various Khan entities.”

          Attached hereto as Exhibit 9 is a true and correct copy of Dai’s Second Affidavit in the

          Singapore Action, dated July 8, 2022.




          1
           Although Mr. Sun’s first affidavit as filed in the Singapore Court contained 59 attachments
          and a total of over 1,500 pages, the version attached hereto is excerpted to contain only the
          sworn statement itself.


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                 14.     The affidavit attached hereto as Exhibit 9 was filed in support of another

          application filed by Dai on July 8, 2022, seeking a stay on the basis that the Singapore Court

          was not a convenient forum for the dispute. The parties again tendered extensive written

          submissions to the Court on Dai’s further application, and further hearings were held on

          September 9, 2022 and September 16, 2022, which Dai again attended through counsel. At the

          second hearing, on September 16, 2022, the Singapore Court again dismissed Dai’s application.

          Attached hereto as Exhibit 10 is a true and correct copy of the notes taken by the Singapore

          Court and filed publicly from the hearing on Dai’s stay application, dated September 16, 2022.

                 15.     On November 15, 2022 after GTQX discovered that Dai had, among other

          things, sold certain real property in New York, GTQX made an application to the Singapore

          Court for interim orders prohibiting the disposal of assets beneficially owned by GTQX and to

          freeze Dai’s assets. Attached hereto as Exhibit 11 is a true and correct copy of GTQX’s

          application for the interim order, dated November 15, 2022.

                 16.     Approximately one week before the hearing of GTQX’s application, on

          December 1, 2022, GTQX discovered that Dai had sold a second piece of real property in New

          York. GTQX promptly notified the Singapore Court of that discovery. Attached hereto as

          Exhibit 12 is a true and correct copy of the Seventh Affidavit of Yingtong Sun, as initially

          filed in draft form on December 5, 2022 within the sworn Ninth Affidavit of instructing

          solicitor Eugene Jedidiah Low Yeow Chin. Attached hereto as Exhibit 13 is a true and correct

          copy of the final Seventh Affidavit of Yingtong Sun, sworn to on December 13, 2022 and filed

          in the Singapore Court on December 14, 2022.2




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           Due to the COVID-19 Pandemic and related scheduling difficulties, the Seventh Affidavit of
          Yingtong Sun was initially filed in unsworn draft form and filed within affidavits to which
          instructing solicitor Eugene Jedidiah Low Yeow Chin contemporaneously swore. Thereafter
          on December 14, 2022, Yingtong Sun affirmed his Affidavit before the Consulate-General of
          the Republic of Singapore and filed that version in the Singapore Action.


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                 17.     Dai admitted that he was behind the sale of the second property but asserted that

          he remained the beneficial owner of the second property and that he owned and controlled the

          entities on both sides of the transaction. Attached hereto as Exhibit 14 is a true and correct

          copy of Dai’s Fifth Affidavit, sworn to on December 7, 2022.

                 18.     Hours before the hearing of GTQX’s application on December 8, 2022, GTQX

          discovered that Dai was attempting to sell a third property located in Florida.

                 19.     Throughout the pendency of Plaintiff’s application, culminating in a hearing on

          December 8, 2022, although Dai’s counsel raised eight objections, Dai’s counsel never denied

          that Dai controls any of the real properties. Further, and as the Singapore Court recognized in

          its decision, Dai had failed to rebut the public records and primary evidence of Dai’s ownership

          of the properties which GTQX had exhibited. Attached hereto as Exhibit 15 is a true and

          correct certified copy of Singapore Court’s written decision, dated December 8, 2022, in which

          the Singapore Court lists Dai’s eight objections.

                 20.     The December 8, 2022 hearing culminated with the Singapore Court granting

          “interim and temporary measures” to enjoin Dai from in any way disposing of, dealing with or

          diminishing the value of his assets, including the aforementioned real properties, up to the

          value of the Plaintiff’s claims in the Singapore Action until a further hearing over Dai’s

          objection. See Exhibit 15.

                 B.      Dai’s Disengagement And The Final Singapore Judgment

                 21.     From inception, Dai had pursued a vigorous defense in the Singapore Action

          with the assistance of three different sets of counsel. On or around December 30, 2022, Dai

          opted to abruptly disengage following entry of the temporary injunction and freezing order.

          Attached hereto as Exhibit 16 is a true and correct copy of the notes taken by the Singapore

          Court and filed publicly from the hearing in the Singapore Action on January 12, 2023.




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                  22.    On January 12, 2023, the Singapore Court extended the interim and temporary

          measures made on December 8, 2022, and enjoined Dai from in any way disposing of, dealing

          with or diminishing the value of his assets in the aforementioned real properties, up to the value

          of the Plaintiff’s claims in the Singapore Action pending final determination of the Singapore

          Action. Attached hereto as Exhibit 17 is a true and correct copy of the Singapore Court’s

          January 17, 2023 Order extending the interim and temporary measures.

                  23.    The Singapore Court continued to give Dai opportunities to defend himself, but

          he declined to participate further. Attached hereto as Exhibit 18 is a true and correct copy of

          correspondence transmitted from the Singapore Court to all parties, dated February 2, 2023,

          and attached hereto as Exhibit 19 is a true and correct copy of an Order of the Singapore Court

          giving Dai another 14 days to comply with various orders, dated April 14, 2023.

                  24.    On June 27, 2023, the Singapore Court ordered that the Singapore Judgment be

          entered in favor of GTQX and against Dai for $34,264,935.99 United States Dollars (“USD”),

          plus 290,153.97 Singapore Dollars (“SGD”), with pre-judgment interest on the aforesaid sums

          amounting to 13,626,721.72 USD and 99,768.80 SGD, respectively, as well as post-judgment

          interest from June 28, 2023 to the date of payment of the judgment (the order that the Singapore

          Judgment be entered, the ”Order”). Attached hereto as Exhibit 20 is a true and correct certified

          copy of the Singapore Judgment, dated June 27, 2023.

                  25.    Attached hereto as Exhibit 21 is a true and correct certified copy of the Order,

          dated June 27, 2023.

                  26.    Also on June 27, 2023, the Singapore Court ordered that GTQX be granted an

          injunction prohibiting Dai, in relevant part, from disposing of his assets worldwide up to the

          value of USD $48,500,000 (the “Post-Judgment Freezing Order”). Attached hereto as Exhibit

          22 is a true and correct certified copy of the Post-Judgment Freezing Order, dated June 27,

          2023.



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                  27.     On July 13, 2023, the Singapore Court ordered Dai to pay the costs of the

         Singapore Action fixed at 100,000 SGD with post-judgment interest from June 28, 2023.

         Attached hereto as Exhibit 23 is a true and correct certified copy of the order for costs, dated

         July 13, 2023.

                  28.     The Singapore Judgment is a valid Singapore judgment for the sum of money.

         The Singapore Judgment is a final judgment and presently enforceable.

                  29.     Dai was offered a full and fair opportunity to litigate the claims, defenses and

         allegations underlying the Singapore Judgment, and Dai did so on the merits with the assistance

         of three different Singapore law firms.

                  30.     Subject-matter jurisdiction was properly exercised over Dai in the Singapore

         Court. GTQX alleged subject matter jurisdiction in its application for alternative service, and

         Dai, represented by counsel, did not challenge these grounds then or at any time.

                  31.     The Singapore Judgment has not been appealed, and there are no conflicting

         judgments.

                  32.     The Singapore Judgment remains unsatisfied.

         Dated:           March 10, 2024
                          Singapore


                                       ____________________________________________________
                                       Liang Hanwen Calvin




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                                      CERTIFICATION OF COUNSEL

                I hereby state that this document was prepared on a computer using Microsoft Word,

         and pursuant to the word count system in Microsoft Word, the total number of words exclusive

         of the caption and signature block is less than 7,000.


         Dated: March 12, 2024

                                                                                  /s/ Benjamin D. Bloodstein
                                                                                  Benjamin D. Bloodstein




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                           IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

            HC/S        /2020
                                                  Between

                                                  GUOTAIQIXING BIOMEDICAL INTERNATIONAL
                                                  (S) PTE. LTD.
                                                  (UEN No. 20150039K)
                                                                              ... Plaintiff(s)
                                                  And

                                                  (1) DAI XUEFENG
                                                      (PRC Passport No.           2878)

                                                  (2) ZHANG JUNQI
                                                      (PRC Passport No.           9520)

                                                  (3) XU XINMANNI
                                                      (PRC Passport No.           7254)

                                                                                          ... Defendant(s)

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            1.     This Statement of Claim is without prejudice to the Plaintiff’s right to amend its

                   pleadings pending discovery, the administration of interrogatories, and any further

                   findings of the ongoing investigations referred to in paragraph 8 herein.



            A.     PARTIES TO THESE PROCEEDINGS



            I.     THE PLAINTIFF



            2.     The Plaintiff is a company incorporated in Singapore on or about 9 November 2015.

                   The Plaintiff’s registered address is 60 Paya Lebar Road #11-01, Paya Lebar

                   Square, Singapore 409051.



            3.     The Plaintiff is a wholly-owned subsidiary of 深圳国泰旗兴产业投资基金管理中心

                   （有限合伙） (also known as Shenzhen Guotaiqixing Industry Investment Fund
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                 Management Centre LLP “Shenzhen Guotai”), a limited partnership formed under

                 the laws of the People’s Republic of China (“China”). At all material times prior to 27

                 May 2019, the partners of Shenzhen Guotai were:



                 (a)   深圳前海国民投资管理有限公司 (also known as Shenzhen Qianhai Nations

                       Investment Management Co., Ltd., “Nations Investment”), a corporation

                       incorporated in China, as limited partner; and

                 (b)   北京旗隆医药控股有限公司 (also known as Beijing Khan Pharmaceutical

                       Holdings Co., Ltd., “Beijing Khan”), a corporation incorporated in China, as

                       general partner.



            4.   Shenzhen Guotai was the vehicle into which Nations Investment invested an

                 aggregate of some RMB 500 million which was to be managed by Beijing Khan

                 pursuant to a joint venture between Nations Investment and Beijing Khan (the “Joint

                 Venture”). The Joint Venture was formalised by:



                 (a)   a Partnership Agreement dated 23 November 2015 between Beijing Khan as

                       general partner and Nations Investment as limited partner (the “Partnership

                       Agreement”); and

                 (b)   an Agreement for Further Investment Regarding Shenzhen Guotaiqixing

                       Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 March 2016

                       between Nations Investment, Beijing Khan and Shenzhen Guotai (the

                       “Further Investment Agreement”).



                 Of these monies, USD 34,639,399.87 (approximately RMB 226 million at the material

                 time) was injected into the Plaintiff as share capital.
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            5.    Nations Investment was and is a wholly-owned subsidiary of 国民技术股份有限公司

                  (also known as Nations Technologies Inc, “Nations”), which was at all material times

                  a company listed on the Shenzhen Stock Exchange. Nations Investment was

                  primarily used as a vehicle for Nations to carry out investments.



            6.    By a Judgment dated 14 February 2019, the People’s Court of the Shenzhen Qianhai

                  Co-operation Zone held that Beijing Khan had “committed misconduct while

                  implementing matters for the partnership” , and ordered that Beijing Khan be

                  removed as a partner of Shenzhen Guotai. By a Notice of Change dated 14 August

                  2019, Nations Investment was appointed the liquidator of Shenzhen Guotai.



            7.    On or about 16 October 2019, Nations Investment as liquidator of Shenzhen Guotai

                  removed, inter alios, the 1st Defendant from his position as director of the Plaintiff,

                  and appointed new directors over the Plaintiff.



            8.    Investigations into the misconduct of the 1st Defendant along with the misconduct of

                  his associates, the 2nd and 3rd Defendants, are ongoing as of the date of this

                  Statement of Claim, including computer forensics of devices used by the 1st and 2nd

                  Defendants belonging to the Plaintiff.



            II.   THE DEFENDANTS



            9.    The 1st Defendant is a citizen of China and presently resides in the United States of

                  America (the “US”). The 1st Defendant is also known as “Eric”.



            10.   The 1st Defendant was a director of the Plaintiff at all material times from 9 November

                  2015 until 16 October 2019. Paragraph 7 herein is repeated.
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            11.   The 1st Defendant is the founder of, and at all material times controlled various

                  entities in diverse territories including China, the British Virgin Islands, the Cayman

                  Islands, the US and Singapore, which will be collectively referred to as the “Khan

                  Entities”. The Khan Entities included Beijing Khan, which is referred to in paragraphs

                  3(b) and 4 herein. The 1st Defendant is the ultimate beneficial owner of all or

                  substantially all of each of the Khan Entities.



            12.   The 2nd Defendant is a citizen of China and presently resides in the US. The 2nd

                  Defendant is also known as “Alice” and “Alice Chung”.



            13.   The 2nd Defendant was the General Manager and an officer of the Plaintiff from 15

                  November 2015 until December 2017.



            14.   The 2nd Defendant was at all material times a key member of the management of

                  various Khan Entities.



            15.   The 3rd Defendant is a citizen of China and presently resides in the US. The 3rd

                  Defendant was at all material times a key member of the management of various

                  Khan Entities. The 3rd Defendant is also known as “Sophie”.



            16.   At all material times, the 1st, 2nd and 3rd Defendants styled themselves as fund

                  managers, and purported to issue funds and carry out fund management using the

                  Khan Entities and other entities under their control (including the Plaintiff).



            17.   The 1st, 2nd and 3rd Defendants conceived of and carried out a scheme, under which

                  investment monies which were entrusted to Shenzhen Guotai and, by extension, the

                  Plaintiff, pursuant to the Joint Venture, were diverted for their own benefit. As part of
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                  the scheme, the 1st, 2nd and 3rd Defendants caused Shenzhen Guotai to inject USD

                  34,639,399.87 into the Plaintiff, and thereafter hollowed out the Plaintiff by diverting

                  substantial amounts from the Plaintiff to the 2nd Defendant and the Khan Entities (the

                  “Diversion”).



            18.   As a result of their misconduct, the 1st, 2nd and 3rd Defendants are on the wanted list

                  for criminal fugitives pursuant to a warrant of arrest issued by the Shenzhen

                  Municipal Public Security Bureau on or about 25 December 2018 for embezzlement.



            19.   The Plaintiff’s claims herein are for:



                  (a)   Loss and damage caused to the Plaintiff by the Diversion. The net amount of

                        this claim is USD 34,264,935.99.

                  (b)   Loss and damage caused to the Plaintiff by the 1st, 2nd and 3rd Defendants

                        procuring or permitting that Khan Fund Management Asia Pte. Ltd.

                        (“SGKFM”), use the Plaintiff’s office premises at 2 Shenton Way #17-02, SGX

                        Centre 1, Singapore 068804 (the “Plaintiff’s Office Premises”) as its

                        registered address, without payment to the Plaintiff. The amount of this claim

                        is SGD 290,153.97.



            B.    DUTIES OWED BY THE 1ST AND 2ND DEFENDANTS TO THE PLAINTIFF



            I.    DUTIES OWED BY THE 1ST DEFENDANT TO THE PLAINTIFF



            20.   Paragraph 9 herein is repeated. As a director of the Plaintiff, the 1st Defendant owed

                  fiduciary duties (including statutory duties under section 157 of the Companies Act

                  (Cap 50, 2006 Rev Ed)) to the Plaintiff that required him to:
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                  (a)    act honestly and in the interests of the Plaintiff;

                  (b)    use reasonable diligence in the discharge of his duties owed to the Plaintiff;

                  (c)    act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                         all duties, powers, responsibilities, obligations and functions assigned to or

                         vested in or attached to him;

                  (d)    ensure that each transaction that is undertaken by the Plaintiff is at arm's

                         length and, in any event, not place or allow himself to be placed in a situation

                         or position whereby any of his duties and obligations to the Plaintiff conflict or

                         potentially may conflict directly or indirectly with his personal interests;

                  (e)    not make any secret profit or receive any secret payment;

                  (f)    disclose any breaches (on his part) of duties owed to the Plaintiff; and/or

                  (g)    not make improper use of his position as a director of the Plaintiff or any

                         information acquired by virtue of his position as a director to gain, directly or

                         indirectly, an advantage for himself or for any other person or to cause

                         detriment to the Plaintiff.



            II.   DUTIES OWED BY THE 2ND DEFENDANT TO THE PLAINTIFF



            21.   Paragraph 13 herein is repeated. The 2nd Defendant was employed in an executive

                  capacity (see paragraphs 22 and 23 herein) and, inter alia, owed a contractual duty

                  (implied as a matter of law) of mutual trust and confidence, and fidelity, to act

                  faithfully in the best interests of the Plaintiff.



            22.   Pursuant to the terms of her employment with the Plaintiff, the 2nd Defendant also

                  owed express contractual duties to the Plaintiff and/or had the authority to:
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                 (a)   oversee the overall management, sales and operations of the Plaintiff, and

                       formulate and implement business strategies and policies of the Plaintiff;

                 (b)   do her utmost to maximise the financial returns of the Plaintiff by designing

                       optimal development strategies;

                 (c)   have general control and responsibility for the management of the business of

                       the Plaintiff;

                 (d)   do all in her power to promote, develop and extend the business of the Plaintiff;

                 (e)   be the “Legal Representative” of the Plaintiff whether throughout Singapore or

                       abroad and be entrusted with the direction and management of the company

                       businesses;

                 (f)   perform other legal and chartered functions and those assigned or delegated

                       by the Board of Directors;

                 (g)   not do or refrain from doing any act whereby her office as a General Manager

                       is or becomes liable to be vacated;

                 (h)   not do anything that would cause her to be disqualified from continuing to act

                       as a General Manager;

                 (i)   not do anything which may bring about disrepute to any holding company or

                       subsidiary of the Plaintiff or any subsidiary of any holding company of the

                       Plaintiff (other than the Plaintiff) (collectively, the “Group”) or anything which

                       infringes the laws and regulations of the countries in which the Group operates

                       in; and

                 (j)   declare all conflicts of interest and all direct and deemed interests (whether

                       financial or otherwise) which she may have in any company or companies

                       which are or which may from time to time be doing business with the Group or

                       which are or which may from time to time be in direct or indirect competition

                       with the Group (collectively the “Connected Companies”) and to ensure that

                       none of the Group Companies shall contract or deal with any Connected
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                        Company save with the prior written/verbal consent of the Board; and in any

                        event, without prejudice to the foregoing, any contract or transaction with any

                        Connected Company or otherwise any dealings, negotiations or other

                        transactions between the Group company and any Connected Company shall

                        be on terms that are strictly normal commercial terms and arm's length and

                        which have been entered into with the utmost good faith after due regard to

                        the interests of the Group;

                  (k)   disclose and obtain the prior written consent of the Board of the Plaintiff,

                        whether on her own, or jointly with others, or on behalf of any person, firm or

                        company, or as manager, agent consultant or employee of any person, firm or

                        company, directly or indirectly:

                        (i)    engage in any other business which is wholly or partly in competition

                               with any business carried on by any Group Company by itself or

                               themselves or in partnership, common ownership or as a joint venture

                               with any third party; or

                        (ii)   be concerned or interested in any other business of a similar nature to

                               or competitive with that carried on by any Group Company or by any

                               supplier or customer of any Group Company; and

                  (l)   to perform according to the highest standards of business ethics.



                  These terms are recorded in an unsigned “Employment Contract” dated 9 February

                  2017 uncovered in the course of the investigations referred to at paragraph 8 herein

                  (the “2nd Defendant’s Employment Contract”). Thus far, the ongoing investigations

                  have yet to uncover a signed version of the document.



            23.   Further to paragraph 22 herein, the 2nd Defendant was:
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                  (a)   a signatory to the Plaintiff’s bank accounts held with DBS Bank Limited

                        (“DBS”);

                  (b)   identified in a letter from the Plaintiff to the Ministry of Manpower in Singapore

                        (“MOM”) as a “crucial” employee with “substantial investment and

                        management experience in the financial sector” who had been “tasked to

                        transform [the Plaintiff] into a dynamic strategic investor” (the “Letter to

                        MOM”); and

                  (c)   purportedly conferred the power to sign “subscription form related documents”

                        for the purpose of share subscriptions on the Plaintiff’s behalf (see paragraph

                        51(3) herein).



            24.   By reason of the matters pleaded in paragraphs 22 and 23 herein, the 2nd Defendant

                  was an officer of the Plaintiff. As such, she also owed statutory duties under section

                  157(2) of the Companies Act to the Plaintiff to not make improper use of her position

                  as an officer of the Plaintiff or any information acquired by virtue of his position as an

                  officer to gain, directly or indirectly, an advantage for herself or for any other person

                  or to cause detriment to the Plaintiff.



            25.   By reason of the matters pleaded in paragraph 21 to 24 herein, at all material times,

                  the 2nd Defendant also owed fiduciary duties to the Plaintiff.



            26.   The 2nd Defendant’s fiduciary duties (including her statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff required her to:



                  (a)   act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                        all duties, powers, responsibilities, obligations and functions assigned to or

                        vested in or attached to her;
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                  (b)   ensure that each transaction that is undertaken by the Plaintiff is at arm's

                        length and in any event, not place or allow herself to be placed in a situation

                        or position whereby any of his duties and obligations to the Plaintiff conflict or

                        potentially may conflict directly or indirectly with his personal interests;

                  (c)   not make any secret profit or receive any secret payment;

                  (d)   disclose any breaches (on her part) of duties owed to the Plaintiff; and/or

                  (e)   not make improper use of her position as an officer of the Plaintiff or any

                        information acquired by virtue of her position as an officer to gain, directly or

                        indirectly, an advantage for herself or for any other person or to cause

                        detriment to the Plaintiff.



            C.    CIRCUMSTANCES LEADING TO THE PLAINTIFF’S CLAIMS



            I.    THE KHAN ENTITIES



            27.   The Plaintiffs are aware of the following Khan Entities:



                  (a)   Genghis Khan Investment, Inc. (“GKI”), which was incorporated in or around

                        February 2006 in the British Virgin Islands;

                  (b)   深圳市旗隆投资管理有限公司 (also known as Shenzhen Khan Investment

                        Management Co. Ltd., “SKI”), which was incorporated in China in or around

                        April 2006;

                  (c)   重庆市旗隆投资管理有限公司 (also known as Chongqing Khan Investment

                        Management Co. Ltd., “CQKIM”), which was incorporated in China in or

                        around July 2008;
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                  (d)   深圳前海旗隆基金管理有限公司 (also known as Shenzhen Qianhai Genghis

                        Khan Fund Management Co., Ltd. and Shenzhen Qianhai Khan Fund

                        Management Co., Ltd., “SQKFM”), which was incorporated in China on or

                        around 1 April 2014;

                  (e)   Khan Funds Management America, Inc. (“KFA”), which was incorporated in

                        the US under the laws of the State of New York on or about 15 October 2014;

                  (f)   Beijing Khan, referred to in paragraph 3(b) herein, which was incorporated on

                        or around 7 August 2015;

                  (g)   Khan Funds Global Limited (“KFG”), which was incorporated in the Cayman

                        Islands on or about 18 September 2015;

                  (h)   Khan Funds Oriental Medicine Fund SPC (“KOM”), which was a segregated

                        portfolio company incorporated in the Cayman Islands on or about 18

                        September 2015; and

                  (i)   SGKFM, referred to in paragraph 19(b) herein, which was incorporated in

                        Singapore on or about 31 March 2016.



            28.   GKI and SKI were incorporated in around 2006. According to marketing material

                  issued by the Khan Entities (the “Khan Marketing Material”) sometime in or after

                  February 2017, the 1st Defendant used GKI and SKI to “independently manage

                  overseas funds”. In the Khan Marketing Material, the 1st Defendant held himself out

                  as a specialist in investments in the biomedical industry, and aggressively promoted

                  himself as a fund manager investing in companies with “upright, honest, trustworthy

                  people who have a passion for life”.



            29.   In around July 2008, the 1st Defendant incorporated CQKIM, which was used as a

                  vehicle to:
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                  (a)   raise investment monies through issuing funds in China (“Khan-Issued

                        Funds”);

                  (b)   carry out investment management of Khan-Issued Funds; and

                  (c)   carry out investment management of venture capital and funds issued by third

                        parties including trust companies and investment banks (“Third Party

                        Funds”).



            30.   In around 2009, the 2nd and 3rd Defendants joined the Khan Entities. During the

                  material time:



                  (a)   the 2nd Defendant was a director in and held executive posts in various Khan

                        Entities including Investment Director of SQKFM, Chief Investment Officer and

                        Vice President;

                  (b)   the 3rd Defendant was a director in and held executive posts in various Khan

                        Entities including Managing Director of GKI and General Manager of SQKFM;

                        and

                  (c)   the 2nd and 3rd Defendants were key members of the management in various

                        the Khan Entities alongside the 1st Defendant, and part of the 1st Defendant’s

                        inner circle.



            II.   EVENTS LEADING TO THE JOINT VENTURE



            31.   By an Announcement No. 2013-010 titled “Announcement of the Resolutions of the

                  8th Meeting of the 2nd Board of Directors” dated 17 April 2013, Nations announced

                  that it was considering possible avenues for investment of its “spare monies” by way

                  of purchasing “wealth management products” (“Nations Announcement 2013-

                  010”). The 1st Defendant was aware of Nations Announcement 2013-010, or was
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                  otherwise aware that Nations was considering possible avenues for investment of its

                  cash reserves by way of purchasing investment products. He thus sought to cultivate

                  Nations to become a substantial investor in Khan-Issued Funds.



            32.   In around early-2014, the 1st Defendant was introduced to and met with Mr Luo

                  Zhaoxue (“Mr Luo”) (the “First Meeting”). At the time, Mr Luo was the Chief

                  Executive Officer of Nations.



            33.   During the First Meeting, the 1st Defendant and Mr Luo discussed the prospects of

                  making investments into the biomedical industry outside of China, and particularly in

                  the US and Europe, through the purchase of investment products offered by Khan

                  Entities.



            34.   After the First Meeting, the 1st Defendant continued to cultivate Nations to become a

                  substantial investor in Khan-Issued Funds, and from time to time proposed various

                  avenues for Nations to carry out investments through the purchase of Khan-Issued

                  Funds.



            35.   On or about 1 April 2014, SQKFM was incorporated. The 1st, 2nd and 3rd Defendants

                  held the positions of “President and Investment Decision Committee Chairman”,

                  “Investment Director & Head of Quantitative Trading” and “General Manager and

                  Head of Macro Research”, respectively.



            36.   According to the Khan Marketing Material, the incorporation of SQKFM was to

                  “conduct[] private equity securities investment, equity investment, venture capital

                  investment and other private equity fund businesses [and] to independently issue

                  Khan-issued private equity funds”. After the incorporation of SQKFM, there was a
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                  substantial increase in the number of Khan-Issued Funds. Pending discovery, the

                  administration of interrogatories and any further findings of the ongoing

                  investigations, to the Plaintiff’s knowledge:



                  (a)   A total of four Khan-Issued Funds were issued in the 69 months between July

                        2008 and 31 March 2014.

                  (b)   At least 11 Khan-Issued Funds were issued in the 16 months between 1 April

                        2014 and 18 September 2015.



            37.   On or about 15 October 2014, KFA was incorporated in the US. Pending discovery,

                  the administration of interrogatories and any further findings of the ongoing

                  investigations, to the Plaintiff’s knowledge, the 1st Defendant was the sole

                  shareholder of all of KFA’s shares and the Chief Executive Officer of KFA. The 1 st,

                  2nd and 3rd Defendants are and were at all material times members of KFA’s

                  “Executive Team”.



            38.   In around November 2014, Nations agreed to make a preliminary investment of RMB

                  200 million into a Khan-Issued Fund known as 前海旗隆量化分级基金 (also known

                  as the Qianhai Khan Quantitative Diversified Fund, the “Khan QD Fund”). SQKFM

                  was the fund management company of the Khan QD Fund. The 2nd Defendant

                  managed SQKFM’s quantitative funds and was “responsible for the realisation and

                  implementation of SQKFM’s quantitative investment strategy”.



            39.   After Nations’ investment into the Khan QD Fund, the 1st Defendant continued to

                  propose that Nations either increase its investments into Khan-Issued Funds, or

                  make other investments through the Khan Entities into potential investment targets.
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            40.    In around July or August 2015, Nations provisionally agreed to a proposal made by

                   the 1st Defendant for Nations to invest further monies into a joint venture with 1st

                   Defendant and one or more of the Khan Entities to invest in the biomedical industry,

                   which the 1st Defendant had purportedly identified as a viable investment target. This

                   was the Joint Venture, which was referred to in paragraph 4 herein.



            41.    The Joint Venture was to be carried out through the formation of a limited partnership

                   between Nations Investment (which was a wholly-owned subsidiary of Nations) and

                   Beijing Khan, with the 1st, 2nd and 3rd Defendants acting as fund managers. This

                   limited partnership was Shenzhen Guotai.



            III.   THE DIVERSION



            42.    Paragraph 17 herein is repeated.



            43.    On or about 6 November 2015, the Board of Directors of Nations resolved to invest

                   RMB 300 million in the Joint Venture through Nations Investment.



            44.    On or about 9 November 2015, the 1st, 2nd and/or 3rd Defendants incorporated the

                   Plaintiff, or procured that the Plaintiff be incorporated, as a wholly-owned subsidiary

                   of Shenzhen Guotai. At all material times, the Plaintiff’s capital was USD 35 million

                   divided into 35 million equal shares. Paragraphs 10 and 13 herein are repeated.



            45.    In the course of negotiating the terms of the agreement to formalise the Joint

                   Venture, Nations proposed that a custodian bank be appointed to take custody of

                   the monies and assets invested by Nations Investment pursuant to the Joint Venture.
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                  Nations proposed this arrangement as a safeguard against the risk of

                  misappropriation of investment monies.



            46.   To facilitate the Diversion, the 1st Defendant resisted Nations’ request for a custodian

                  bank, and counter-proposed that SQKFM provide to Nations Investment a guarantee

                  for the principal investment of RMB 300 million with a return on investment of 5% per

                  annum which he represented would provide the same level of security.



            47.   Accordingly:



                  (a)   By the Partnership Agreement dated 23 November 2015: (i) Nations

                        Investment agreed to, inter alia, invest RMB 300 million into Shenzhen Guotai;

                        and (ii) Beijing Khan agreed to, inter alia, invest RMB 500,000 into Shenzhen

                        Guotai and to honestly and diligently maximise returns on the investment

                        monies through equity, debenture and other investments. The Partnership

                        Agreement conferred upon Beijing Khan, which was controlled by the 1st, 2nd

                        and 3rd Defendants, the exclusive power to manage the operations of

                        Shenzhen Guotai and to make all investment decisions without interference

                        from Nations Investment.

                  (b)   By a Supplemental Partnership Agreement Regarding Shenzhen Guotaiqixing

                        Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 November

                        2015 between Nations Investment and SQKFM, SQKFM provided a guarantee

                        to Nations Investment for the investment of RMB 300 million with a return on

                        investment of 5% per annum.

                  (c)   In pursuance of the Partnership Agreement, on or about 30 November 2015,

                        Nations Investment paid the sum of RMB 300 million to Shenzhen Guotai (the

                        “RMB 300 Million Investment”).
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                  (d)   On or about 23 December 2015, the 1st, 2nd and/or 3rd Defendants caused

                        Shenzhen Guotai to transfer a substantial part of the RMB 300 Million

                        Investment to the Plaintiff for subscription of the Plaintiff’s shares. The sum of

                        USD 34,639,399.87 was received by the Plaintiff in its USD-denominated

                        account held with DBS in Singapore (the “Plaintiff’s DBS Account (USD)”).

                        As with the RMB 300 Million Investment, the USD 34,639,399.87 was

                        transferred to the Plaintiff to be invested into equity, debenture and other

                        investments.

                  (e)   On or about 9 November 2015, Mr Luo was appointed as a director of the

                        Plaintiff. Notwithstanding his directorship, Mr Luo was not involved in the

                        operations of the Plaintiff and the 1st, 2nd and/or 3rd Defendants concealed the

                        Diversion from him. The 1st, 2nd and/or 3rd Defendants forged Mr Luo’s

                        signature on at least one document in the course of concealing and concealing

                        the nature of the Diversion, which is further particularised in paragraph 51

                        herein.



            48.   The 1st, 2nd and 3rd Defendants used the Khan Entities, including KFA, KFG, KOM

                  and SGKFM, as conduits for funds transfers which ultimately benefited themselves.



                                                     PARTICULARS



                  Pending discovery, the administration of interrogatories and any further findings of

                  the ongoing investigations, these are the best particulars that the Plaintiff is able to

                  provide based on the information uncovered from the investigations:

                  (1)   The transfers made pursuant to the Diversion were without genuine

                        commercial basis and not at arm’s length.

                  (2)   Paragraphs 11, 14, 16 and 30 herein are repeated.
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                 (3)   Paragraph 37 herein is repeated. Four “Research Consultancy Contract[s]”

                       between KFA and SQKFM, dated 15 November 2014, 14 January 2015, 3

                       June 2015 and 1 July 2015, which provided for substantial “consultancy fee[s]”

                       of between USD 30,001 and USD 31,106 per month to be paid by SQKFM to

                       KFA for a tenure of 6 months or 1 year (the “Research Consultancy

                       Contracts”), were manufactured to provide justification for remittances to

                       KFA. The 1st, 2nd and 3rd Defendants were employees of both KFA and

                       SQKFM and there was no commercial basis for such “consultancy fee[s]”, the

                       tenure of the various Research Consultancy Contracts overlapped with each

                       other, and the Plaintiff has not found any evidence that any services were

                       provided under the Research Consultancy Contracts.

                 (4)   On 24 April 2017, a former employee of KFA, Mr Robert Polite (“Mr Polite”)

                       filed a Federal discrimination and whistleblower lawsuit against KFA in the

                       District Court of the Southern District of New York. According to paragraph 12

                       of the Complaint filed by Mr Polite in that lawsuit, the 1st Defendant “was

                       pilfering company funds for his personal benefit - such as purchasing furniture

                       and paying rent for an apartment”.

                 (5)   At the time of the incorporation of KFG and KOM, the 1st Defendant was the

                       sole shareholder of all of the shares of KFG, and KFG was in turn the sole

                       shareholder of all of the shares of KOM. The 1st, 2nd and 3rd Defendants were

                       each directors of KFG and KOM.

                 (6)   On or about 18 December 2017, the 1st Defendant remitted USD 3 million to

                       KFG from his personal JPMorgan Chase Bank, N.A. bank account, which was

                       held with his ex-wife Liu Xiayu.

                 (7)   Between about 21 and 26 December 2017, five transfers of USD 900,000 each

                       (i.e. an aggregate of USD 4.5 million) was transferred from SGKFM to Wang

                       Guoli, who is the 1st Defendant’s mother.
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                  (8)    On or about 26 December 2017, the sum of USD 400,000 was transferred

                         from KFG to Wang Jing, who is the 1st Defendant’s sister.

                  (9)    On or about 26 December 2017, the 1st Defendant remitted to KFG USD 3.5

                         million from his personal JPMorgan Chase Bank, N.A. bank account, which

                         was held with his ex-wife Liu Xiayu.



            49.   The 1st, 2nd and 3rd Defendants effected the Diversion through multiple withdrawals

                  made from time to time between 29 December 2015 and 6 April 2017 from the

                  Plaintiff’s DBS Account (USD). These sums were transferred to the 2nd Defendant,

                  or to KFA, KFG or KOM as conduits for the Diversion. These entities were owned by

                  the 1st Defendant and controlled by the 1st, 2nd and 3rd Defendants. The substantial

                  withdrawals made from and deposits made into the Plaintiff’s DBS Account (USD)

                  were as follows:



                                         PARTICULARS OF DIVERSION



          Date of              Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /         of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                          the Plaintiff (USD)                 Reference
          29 December 2015 KOM                       33,600,000.00                   - According to the 2016
          Withdrawal                                                                   Management
                                                                                       Accounts: “The
                                                                                       Company had funded
                                                                                       3300 shares at the
                                                                                       values of US$33
                                                                                       million in KHAN
                                                                                       FUNDS ORIENTAL
                                                                                       MEDICINE FUND on
                                                                                       29th Dec 2015 as 2%
                                                                                       is the subscribe fee.”
          6 January 2016       KFA                      310,000.00           179.24 Characterised as a
          Withdrawal                                                                “loan [at] 3 years loan
                                                                                    tenure and 3% per
                                                                                    interest annum” in the
                                                                                    2016 Management
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          Date of           Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /      of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                       the Plaintiff (USD)                 Reference
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          30 August 2016    KFA                 250,000.00        203.53 Characterised as a
          Withdrawal                                                     “loan [at] 3 years loan
                                                                         tenure and 3% per
                                                                         interest annum” in the
                                                                         2016 Management
                                                                         Accounts and in an
                                                                         Excel spreadsheet
                                                                         recovered in the
                                                                         ongoing investigations
          18 November 2016 KOM              (10,000,000.00)             - Characterised as a
          Deposit                                                         “REDEMPTION OF
                                                                          1,381.3223. SHARES”
                                                                          in the relevant
                                                                          Transaction Advice
                                                                          and also a
                                                                          “redemption [of] 1382
                                                                          shares at the value of
                                                                          US$10 million so
                                                                          company loss US$3.82
                                                                          million in investment
                                                                          [sic]” in the 2016
                                                                          Management Accounts
          18 November 2016 KFG                  500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          18 November 2016 KFG                  500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          1 December 2016   KFG                 500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
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          Date of           Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /      of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                       the Plaintiff (USD)                 Reference
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          1 December 2016   KFG                 500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          5 December 2016   KFA                 550,025.00        195.18 Characterised as a
          Withdrawal                                                     “CONSULTANCY
                                                                         FEE” with no further
                                                                         details in the relevant
                                                                         Transaction Advice
                                                                         and also a “loan [at] 3
                                                                         years loan tenure and
                                                                         3% per interest annum”
                                                                         in the 2016
                                                                         Management Accounts
                                                                         and in an Excel
                                                                         spreadsheet recovered
                                                                         in the ongoing
                                                                         investigations
          27 December 2016 KFA                  500,000.00        192.14 Characterised as a
          Withdrawal                                                     “loan [at] 3 years loan
                                                                         tenure and 3% per
                                                                         interest annum” in the
                                                                         2016 Management
                                                                         Accounts and in an
                                                                         Excel spreadsheet
                                                                         recovered in the
                                                                         ongoing investigations
          28 December 2016 KFG                6,000,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
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           Date      of                              Recipient                   Sum          Transferred                         Bank        Charges                Purported                Reason         for
          Withdrawal               /                 of Transfer                 out        of / Returned                to       Incurred           (USD)           Transfer            and
           Deposit                                                               the        Plaintiff           (USD)                                                Reference

                                                                                                                                                                     recovered               in the
                                                                                                                                                                     ongoing            investigations

          4 January              2017                KFA                                                400,000.00                                  192.48           Characterised                    as a
          Withdrawal                                                                                                                                                 "CONSULTANCY
                                                                                                                                                                     FEE"
                                                                                                                                                                                 with       no further
                                                                                                                                                                     details       in the        relevant
                                                                                                                                                                     Transaction               Advice

                                                     2nd
          22  February             2017                                                                 353,356.89                                                   Characterised                    as
                                                                                                                                                                     "BONUS"
          Withdrawal                                 Defendant

          9 March           2017                     KFA                                                200,000.00                                  195.75           No   stated            reasons
          Withdrawal                                                                                                                                                 provided

          21    March        2017                    KFG                                                100,000.00                                                   No   stated            reasons
          Withdrawal                                                                                                                                                 provided

          6 April         2017                       KOM                                                                                                         -   No   stated            reasons
                                                                                                 (1,000,000.00)
           Deposit                                                                                                                                                   provided

          6 April         2017                       KFA                                                500,000.00                                  197.89           No   stated            reasons
          Withdrawal                                                                                                                                                 provided

          6 April         2017                       KFA                                                500,000.00                                  197.89           No       stated        reasons
          Withdrawal                                                                                                                                                 provided

                                                      Sub-Totals:                                34,263,381.89                                 1,554.10

                                                                    Net      Sum          Misappropriated:                           34,264,935.99



                                                                                                                                                                "BONUS"
               50.         In truth,         the     transfers        were          not      "loans",           "consultancy             fee[sf         or                        as     falsely

                                                            Plaintiffs'
                           recorded            in the                           records             (see        paragraphs            51(4)        to 51(6)          herein).          By     April


                           2017,         the       funds      in    the      Plaintiff's            DBS          Account          (USD)           had        been      almost           entirely


                           depleted            and     only        a balance           of USD              5,793.53            remained           as    of 30 April             2017.        After

                                                                                                         2nd             3rd
                           misappropriating                   these         sums,         the    18,             and             Defendants             absconded               from        China

                                                                                       18               2nd
                           in late       2017.        Thereafter,            the              and               Defendants            also     ceased            to carry        out        duties


                           or functions              owed      to the        Plaintiff,         and      did     not    return       to the       Plaintiff's        Office      Premises.




                                             2nd            3rd
               51.         The         18,          and            Defendant              took      steps         to conceal          the     nature          and     existence             of the


                           Diversion            and        gave       the      false         impression                that    the     monies           transferred              out     of     the
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                 Plaintiff to the 2nd Defendant was for “BONUS”, and that the monies transferred to

                 KFA, KFG and KOM were being used in relation to genuine investments.



                                                PARTICULARS



                 Pending discovery, the administration of interrogatories and any further findings of

                 the ongoing investigations, these are the best particulars the Plaintiff is able to

                 provide:

                 (1)   In or around end-2015, the 1st, 2nd and/or 3rd Defendants created or caused to

                       be created various documents which were designed to create the false

                       impression that the Plaintiff had serious plans to be involved in research and

                       development, technology and innovation in “gene chip and peptide synthesis”

                       in Singapore. These documents included:

                       (a)   A report assessing the viability of having the Plaintiff carry out these

                             tasks, and setting out a breakdown of the Plaintiff’s purported costs in

                       (b)   doing so. This report did not and was never intended by the 1st, 2nd

                             and/or 3rd Defendants to reflect their true intentions for using the USD

                             35 million that was injected into the Plaintiff. Paragraphs 17, 42 and 50

                             herein are repeated.

                       (c)   Unsigned memoranda of understanding, letters of intent or agreements

                             with fictitious research organisations such as the “Biopolis Bio-Medical

                             Science Institute” and the “Singapore General Hospital Pathology

                             Laboratory”.

                 (2)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that the transfer of USD 33,600,000 to KOM

                       on or around 29 December 2015 was for the subscription of 3,300 “shares” in

                       KOM. There was no genuine agreement for the Plaintiff to subscribe to KOM’s
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                       shares, and no such agreement or share certificates have been uncovered in

                       the Plaintiff’s records in the course of the ongoing investigations.

                       (a)   Tthere was no commercial basis for the purported subscription of

                             shares. KOM was incorporated shortly before the purported subscription

                             on or about 18 September 2015 with a paid-up capital of USD 1.

                       (b)   According to an Investment Management Agreement dated 23

                             December 2015 signed by the 2nd Defendant on behalf of KOM and KFG

                             (“IMA”), KFG was purportedly appointed as the “Investment Manager”

                             of KOM. The date of the IMA was the same day on which USD

                             33,600,000 was transferred from the Plaintiff to KOM pursuant to the

                             Diversion (paragraph 49 herein is repeated). Pursuant to clause 7.2,

                             KFG would receive a monthly “Management Fee” that was “equal to 1/12

                             x 2.5% of the Net Asset Value of [KOM form that month].” Further, KFG

                             would be remunerated regardless of its performance – the IMA provided

                             for a separate “Performance Fee” under clause 7.3. For instance,

                             according to the information uncovered from the ongoing investigations,

                             for April 2016, KFG received a Management Fee of USD 78,784.74 and

                             a Performance Fee of just USD 636.70. There is no apparent

                             commercial justification for the Management Fee when KOM and KFG

                             were both ultimately owned and controlled by the 1st Defendant.

                             Paragraphs 17, 42 and 50 herein are repeated.

                 (3)   The 1st, 2nd and/or 3rd Defendants created or caused to be created a document

                       titled “Authorized Person” dated 29 December 2015 which purported to confer

                       upon the 2nd Defendant the power to sign “subscription form related

                       documents” on the Plaintiff’s behalf. This served to create the false impression

                       that one or more of the transfers made pursuant to the Diversion was or were
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                       for the purpose of share subscriptions. The aforesaid document was signed

                       by the 1st Defendant and contained a forgery of Mr Luo’s signature.

                 (4)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that transfers of monies out of the Plaintiff

                       were “loan[s]” to KFA (for an aggregate sum of as much as USD 1,610,025)

                       and KFG (for an aggregate sum of as much as USD 8,000,000) or

                       “consultancy fee[s]” paid to KFA (for an aggregate sum of as much as

                       USD950,025). There were no genuine loan agreements or consultancy

                       agreements between the Plaintiff and KFA or KFG, and no such agreements

                       have been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (5)   With regards to the purported “loan[s]” to KFA and KFG, according to the

                       Plaintiff’s management accounts for the financial year ended 31 December

                       2016 (the “2016 Management Accounts”), those loans had a “3 years loan

                       tenure and 3% interest per annum”. However, notwithstanding that the tenures

                       for the purported loans have all expired, none of those purported loans have

                       been repaid to-date and no interest has been paid to the Plaintiff thereon.

                       Further, it appears from representations made by KFA itself that there was no

                       commercial basis for KFA to be taking such a substantial loan (for an

                       aggregate sum as much as USD 8,000,000 in aggregate): (i) in a letter from

                       KFA dated 1 May 2016 that purported to authorise “China Merchants Bank,

                       New York Branch to search for pharmaceutical projects”, which was signed by

                       the 1st Defendant, KFA represented that it had “$2 billion assets under

                       management”; and (ii) according to the Khan Funds website, in 2015, KFA had

                       “signed a 15-year lease agreement with One World Trade Center”.

                 (6)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that the transfer of USD 353,356.89
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                      (approximately SGD 487,632.51 at an exchange rate off USD 1 to SGD 1.38)

                      to the 2nd Defendant on 22 February 2017 was a “BONUS” payment.

                      According to clause 5.1 of the 2nd Defendant’s Employment Contract dated 8

                      February 2017, the 2nd Defendant’s basic monthly salary was SGD 8,500 and

                      was to be increased to SGD 12,000 after “completing six months of

                      employment”. According to clause 5.4 of the 2nd Defendant’s Employment

                      Contract, the Plaintiff also had the “absolute discretion [to] pay the [2nd

                      Defendant] a bonus in accordance with the bonus schemes or policies from

                      time to time prevailing in the [Plaintiff]”. According to clause 4.3 of the Plaintiff’s

                      Employee Handbook: “Employees who have completed one year’s service as

                      at 31st December may be paid an annual bonus each year. The quantum shall

                      be at the absolute discretion of the Management and be based on the

                      employee’s last drawn basic salary as at 31st December of that year.” The

                      aforementioned transfer would have been equivalent to between 40.6 months

                      (assuming a basic salary of SGD 12,000) and 57.4 months (assuming a basic

                      salary of SGD 8,500) of bonus paid to the 2nd Defendant. Considering that

                      there were no genuine investments being made by the Plaintiff, and in any

                      event that the 2016 Management Accounts showed that the Plaintiff had

                      incurred an operating loss of SGD 6,574,262.96 for the financial year ending

                      31 December 2016, it was unjustifiable for the 2nd Defendant to have been

                      paid a bonus, much less a bonus of 40.6 to 57.4 months, and it is evident that

                      the characterisation of the aforesaid payment as a “BONUS” was false and to

                      justify or conceal the unjustified diversion of monies to benefit the 2nd

                      Defendant. In any event, there were no board resolutions, payslips or other

                      documents justifying or approving a “BONUS” payment to the 2nd Defendant,

                      and no such documents have been uncovered in the Plaintiff’s records

                      pursuant to the ongoing investigations.
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                 (7)   The 1st, 2nd and/or 3rd Defendants purported to commence negotiations with

                       various purported investment targets in the biomedical industry in the US,

                       which they alleged had to be prolonged due to complications relating to foreign

                       exchange controls in China, changes to China’s regulations on outbound

                       investment monies, the global economic downturn and issues with corporate

                       governance in the investment targets. No evidence of such negotiations have

                       been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (8)   In the Letter to MOM that was drafted by, drafted under the supervision of,

                       and/or reviewed and approved by, the 2nd Defendant and dated 29 January

                       2016, the 2nd Defendant caused the Plaintiff to falsely state that: “Our [GTQX's]

                       vision is to be the leading investor in biomedical science industry and intend

                       to invest to shape the future-industries of Singapore in the demanding sectors

                       of biomedical science. We encourage the development, expansion and

                       revolution of successful industries to enhance economic progress and

                       generate employment opportunities in Singapore.” Paragraphs 17, 42, 50 and

                       51(1) herein are repeated.

                 (9)   On or about 18 November 2016, the 1st, 2nd and/or 3rd Defendants caused

                       KOM to transfer the sum of USD 10 million to the Plaintiff. This was falsely

                       recorded in the 2016 Management Accounts to be for the “redemption” of

                       1,832 shares of KOM. There was no genuine subscription or redemption of

                       shares of KOM by the Plaintiff, and no agreements for the subscription or

                       redemption of shares of KOM by the Plaintiff have been uncovered in the

                       Plaintiff’s records pursuant to the ongoing investigations. Paragraphs 51(2)

                       and 51(3) herein are repeated.

                 (10) In any event, even if the monies were in fact the proceeds from “redemption”

                       of a fund that the Plaintiff had invested in through KOM, there was no
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                      commercial basis for such a “redemption” and no documents evincing any

                      possible commercial basis have been uncovered in the Plaintiff’s records

                      pursuant to the ongoing investigations. According to the Plaintiff’s 2016

                      Management Accounts, the “redemption” (less than one year after the

                      purported subscription) resulted in a loss of “USD 3.82 million” to the Plaintiff,

                      which contributed to an overall “Loss in investment loss” of SGD 5,211,740

                      and an operating loss of SGD 6,574,262.96 for the financial year ending 31

                      December 2016. Further and in any event, substantially all of the proceeds of

                      the purported “redemption” were transferred on the very same day (i.e.18

                      November 2016) from the Plaintiff to KFG and KFA for the purported “loans”

                      referred to in paragraph 51(4) herein. Paragraph 49 herein is repeated.

                 (11) The 1st, 2nd and/or 3rd Defendants systematically effected the Diversion

                      through numerous deposits into and withdrawals from the Plaintiff’s DBS

                      Account (USD) over more than 27 months between 29 December 2015 and 6

                      April 2017. Paragraph 49 herein is repeated. By April 2017, the funds in the

                      Plaintiff’s DBS Account (USD) had been almost entirely depleted and only a

                      balance of USD 5,793.53 remained as of 30 April 2017. Paragraph 50 herein

                      is repeated.

                 (12) On or about 12 December 2016, the 1st, 2nd and/or 3rd Defendants caused

                      Shenzhen Guotai to resolve to distribute a “bonus dividend” of RMB 50 million

                      to Nations Investment. Some part of the monies were in fact paid out of the

                      RMB 200 Million Investment made by Nations Investment, and not genuine

                      returns on genuine investment carried out by Beijing Khan through Shenzhen

                      Guotai and, by extension, the Plaintiff.
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            IV.   FURTHER INVESTMENT INTO SHENZHEN GUOTAI



            52.   On or around 29 February 2016, the Board of Directors of Nations resolved to invest

                  a further RMB 200 million into Shenzhen Guotai through Nations Investment.



            53.   Accordingly:



                  (a)   By a Further Investment Agreement dated 25 March 2016, Nations Investment

                        agreed to, inter alia, invest a further RMB 200 million into Shenzhen Guotai on

                        substantially similar terms as under the Partnership Agreement.

                  (b)   By a Supplemental Partnership Agreement Regarding Shenzhen Guotaiqixing

                        Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 March 2016

                        between Nations Investment and SQKFM, SQKFM provided a guarantee to

                        Nations Investment for the further investment of RMB 200 million with a return

                        on investment of 5% per annum.

                  (c)   In pursuance of the Further Investment Agreement, on or about 4 July 2016,

                        Nations Investment paid the sum of RMB 200 million to Shenzhen Guotai (the

                        “RMB 200 Million Investment”).



            V.    EVENTS LEADING TO THE 1ST, 2ND AND 3RD DEFENDANTS ABSCONDING IN

                  NOVEMBER 2017



            54.   Beginning in late 2016, evidence of the 1st, 2nd and 3rd Defendants’ misconduct

                  began to come to light.



            55.   In around December 2016, Shenzhen Huilong Certified Public Accountants (General

                  Partnership) (“Huilong CPA”) carried out a routine audit of Shenzhen Guotai for the
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                  period 1 January 2016 to 30 November 2016. Following the audit, Huilong CPA

                  issued an Audit Report dated 21 December 2016, which bore the stamp of the 2nd

                  Defendant as the legal representative of Shenzhen Guotai (the “Audit Report”).



            56.   The audit revealed that;



                  (a)   apart from its subscription to the Plaintiff’s shares, Shenzhen Guotai had only

                        invested RMB 120 million into derivatives trading through 中国国际期货有限

                        公司 (also known as China International Futures Co., Ltd.);

                  (b)   SQKFM owed RMB 196,344,553.50 to Shenzhen Guotai; and

                  (c)   Shenzhen Guotai owed RMB 82,370,561.25 to SQKFM.



            57.   By an email dated 12 January 2017, Nations received a copy of the Audit Report

                  from SQKFM. Thereafter, Nations sought clarification from the 1st, 2nd and/or 3rd

                  Defendants as to:



                  (a)   whether and which investments into the CROs in the US and EU that was the

                        basis of the original proposal for investment had been made by the 1st

                        Defendant; and

                  (b)   the nature of the monies owed by SQKFM to Shenzhen Guotai and vice versa.



            58.   Nations did not receive any satisfactory clarification to its queries. Accordingly, in

                  around mid-2017, Nations proposed that there be a change to the structure of its

                  investment in Shenzhen Guotai to ensure better governance of its investment. In

                  order to stall any action by Nations, the 1st Defendant purported to agree to Nations’
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                  proposal, and represented that he would return to China in end-2017 to discuss

                  further details of the proposal with Nations.



            59.   Paragraph 48(4) herein is repeated. In the Complaint dated 24 April 2017, which was

                  and is a publicly accessible document, Mr Polite asserted that the 1st Defendant had

                  been using KFA’s funds for his own personal use, such as paying rent and

                  purchasing furniture, that contracts with foreign entities (i.e. outside of the US) were

                  repeatedly breached by shortfalls in payments which KFA ignored, and that it

                  appeared that KFA was being used for money laundering.



            60.   As the evidence of their misconduct began to come to light, the 1st, 2nd and/or 3rd

                  Defendants took steps to abscond from China and to reside in a jurisdiction outside

                  of China.



                                                     PARTICULARS



                  (1)   On or about 21 November 2016, the 1st Defendant incorporated Daibenewise

                        Limited in the Cayman Islands (“Daibenewise”). At all material times, the 1st

                        Defendant was the sole shareholder and controller of Daibenewise. On or

                        about, the 1st Defendant used Daibenewise as a vehicle to purchase the

                        property at 249 Cleft Rd, Mill Neck, New York 11765-1003 (Nassau County)

                        in the US. This is the property at which the 1st Defendant now resides. The 1st

                        Defendant used Daibenewise to purchase the property in order to conceal his

                        ownership of the property.

                  (2)   Beginning from around early-2017, the 1st, 2nd and/or 3rd Defendants carried

                        out or caused to be carried out investigations into visa and immigration
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                        requirements for, and regulations surrounding the setting up of family trusts in,

                        diverse territories including the US, Korea and New Zealand.

                        (a)   In around January 2017, the 2nd Defendant instructed an employee of

                              the Plaintiff to carry out research on Korean citizenship requirements.

                        (b)   In around February 2017, a law firm in New York, Wildes & Weinberg,

                              P.C., was engaged by the 1st, 2nd and/or 3rd Defendants to provide

                              advice on how to obtain a visa for residence in the US, and to make one

                              or more applications for the same.

                        (c)   In around May 2017, the 2nd Defendant instructed an employee of the

                              Plaintiff to carry out research on immigration to the US.

                        (d)   In around July 2017, the 1st, 2nd and/or 3rd Defendants inquired with a

                              law firm in New York, Kleinberg, Kaplan, Wolff & Cohen, P.C., as to

                              setting up a domestic hedge fund in the US in order to obtain a visa for

                              residence in the US.

                        (e)   In around September 2017, the 2nd Defendant instructed an employee

                              of the Plaintiff to carry out research on how to set up an irrevocable

                              family trust in the US, and to source for lawyers who would be able to

                              carry out such work.

                        (f)   Notes on obtaining permanent residence in New Zealand were also

                              found in an undated document recovered in the course of the ongoing

                              investigations, from a computer seized from the Plaintiff’s office that was

                              used by the 2nd Defendant.



            61.   In around July 2017, the 1st Defendant was issued with an EB-1 visa permitting him

                  to reside in the US.
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            62.   From around 3 to 16 November 2017, Nations wrote to the 2nd Defendant to request

                  an update on the payment of investment returns for the year ending 2017. The 2nd

                  Defendant falsely represented to Nations that Shenzhen Guotai was calculating the

                  amount of investment returns to be paid.



            63.   On around 11 November 2017, the 1st Defendant announced that he would be

                  shutting down a Wechat group which he used to communicate with investors and

                  potential investors. Subsequently, the 1st Defendant became in communicado and

                  could not be reached by Wechat or otherwise.



            64.   After around 16 November 2017, the 2nd and 3rd Defendants also became in

                  communicado and could not be reached by Wechat or otherwise.



            65.   In around end-November 2017, Nations discovered that the Khan Entities including

                  SQKFM and Shenzhen Guotai had vacated their offices in Shenzhen in early-

                  November 2017.



            66.   The 1st and 2nd Defendants thereafter also ceased to carry out duties or functions

                  owed to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                  November 2017.



            D.    SGKFM’S OCCUPATION OF THE PLAINTIFF’S PREMISES



            67.   Paragraph 27(i) herein is repeated. At all material times:



                  (a)   the 1st, 2nd and 3rd Defendants were and are directors of SGKFM;

                  (b)   SGKFM’s registered address was the Plaintiff’s Office Premises; and
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                  (c)     the 1st and 2nd Defendants transacted business for SGKFM from the Plaintiff’s

                          Office Premises.



            68.   The 1st and 2nd Defendants did not require, and the 1st, 2nd and 3rd Defendants did

                  not procure, that SGKFM pay the Plaintiff or any other person for the use of the

                  Plaintiff’s Office Premises. At all material times, the rental and service charges for

                  the Plaintiff’s Office Premises were entirely paid by the Plaintiff.



            69.   The aggregate amount of rental and service charges paid by the Plaintiff for the

                  period from 31 March 2016 to 30 November 2017 was SGD 290,153.97.



                                                      PARTICULARS



                   Year         Month                             Amount paid by the Plaintiff (SGD)
                   2016         March (only 30th and 31st)                          932.97 (pro-rated)
                                April                                                       14,461.05
                                May                                                         14,461.05
                                June                                                        14,461.05
                                July                                                        14,461.05
                                August                                                      14,461.05
                                September                                                   14,461.05
                                October                                                     14,461.05
                                November                                                    14,461.05
                                December                                                    14,461.05
                   2017         January                                                     14,461.05
                                February                                                    14,461.05
                                March                                                       14,461.05
                                April                                                       14,461.05
                                May                                                         14,461.05
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                  Year          Month                           Amount paid by the Plaintiff (SGD)
                                June                                                       14,461.05
                                July                                                       14,461.05
                                August                                                     14,461.05
                                September                                                  14,461.05
                                October                                                    14,461.05
                                November                                                   14,461.05



            E.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST DEFENDANT: BREACHES OF

                  DUTIES



            70.   By reason of the matters set out in paragraphs 27 to 66 herein (i.e. the Diversion),

                  the 1st Defendant was in breach of his fiduciary duties (including statutory duties

                  under section 157 of the Companies Act) to the Plaintiff. As a result, the Plaintiff has

                  suffered loss and damage for which the 1st Defendant is liable.



                                                  PARTICULARS



                  (1)    The net amount of loss suffered by the Plaintiff in this respect is USD

                         34,264,935.99. Paragraph 49 herein is repeated.



            71.   By reason of the matters set out in paragraphs 67 to 69 herein (i.e. SGKFM’s

                  occupation of the Plaintiff’s premises), the 1st Defendant was in breach of his

                  fiduciary duties (including statutory duties under section 157 of the Companies Act)

                  to the Plaintiff. As a result, the Plaintiff has suffered loss and damage for which the

                  1st Defendant is liable.
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                                                  PARTICULARS



                  (1)    The rental and service charges paid by the Plaintiff for the period from 31

                         March 2016 to 30 November 2017 that SGKFM should have paid for the use

                         of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                         68 herein is repeated.



            F.    THE PLAINTIFF’S CLAIMS AGAINST THE 2ND DEFENDANT: BREACHES OF

                  DUTIES



            72.   By reason of the matters set out in paragraphs 27 to 66 herein (i.e. the Diversion),

                  the 2nd Defendant was in breach of her contractual duties and/or fiduciary duties

                  (including statutory duties under section 157(2) of the Companies Act) to the Plaintiff.

                  As a result, the Plaintiff has suffered loss and damage for which the 2nd Defendant

                  is liable.



                                                  PARTICULARS



                  (1)    The net amount of loss suffered by the Plaintiff in this respect is USD

                         34,264,935.99. Paragraph 49 herein is repeated.



            73.   By reason of the matters set out in paragraphs 67 to 69 herein (i.e. SGKFM’s

                  occupation of the Plaintiff’s premises), the 2nd Defendant was in breach of her

                  contractual duties and/or fiduciary duties (including statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff. As a result, the Plaintiff has suffered

                  loss and damage for which the 2nd Defendant is liable.
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                                                  PARTICULARS



                  (1)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            G.    THE PLAINTIFF’S CLAIMS AGAINST THE 2ND AND 3RD DEFENDANTS:

                  DISHONEST ASSISTANCE



            74.   By reason of the matters set out in paragraphs 27 to 69 herein (i.e. the Diversion),

                  the 2nd and 3rd Defendants dishonestly assisted the 1st Defendant’s breaches of his

                  fiduciary duties owed to the Plaintiff. The breaches of the 1st Defendant’s fiduciary

                  duties are set out in paragraphs 70 and 71 herein.



            75.   The 2nd and 3rd Defendants had assisted in or procured the aforesaid breaches of

                  the 1st Defendant’s fiduciary duties in that:



                  (a)   As persons holding executive positions in or otherwise controlling Beijing

                        Khan, Shenzhen Guotai, KOM, KFG and KFA, the 2nd and 3rd Defendants

                        assisted in, procured and/or omitted to prevent the transfers made pursuant to

                        the Diversion, which did not benefit but were detrimental to the Plaintiff.

                        Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 2nd and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.
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                  (c)   As persons holding executive positions or controlling the Plaintiff and SGKFM,

                        the 2nd and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person. Paragraphs 67 to 69 herein are repeated.



            76.   The 2nd and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 1st Defendant were dishonest in that:



                  (a)   Paragraphs 75(a), 75(b) and 75(c) herein are repeated.

                  (b)   The 2nd and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light. Paragraph 60 herein is repeated.

                  (c)   The 2nd and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.

                  (d)   The 2nd Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017. Paragraph 66 herein is repeated.



            77.   As a result, the Plaintiff has suffered loss and damage.



                                                  PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.

                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use
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                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            H.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST AND 3RD DEFENDANTS:

                  DISHONEST ASSISTANCE



            78.   By reason of the matters set out in paragraphs 27 to 69 herein, the 1st and 3rd

                  Defendants dishonestly assisted the 2nd Defendant’s breaches her fiduciary duties

                  against the Plaintiff. The breaches of the 2nd Defendant’s fiduciary duties are pleaded

                  in paragraphs 72 and 73 herein.



            79.   The 1st and 3rd Defendants had assisted in or procured the aforesaid breaches of the

                  2nd Defendant in that:



                  (a)   As persons holding executive positions in or otherwise controlling the Plaintiff,

                        Beijing Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st and 3rd

                        Defendants assisted in, procured and/or omitted to prevent the transfers made

                        pursuant to the Diversion, which did not benefit but were detrimental to the

                        Plaintiff. Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 1st and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.

                  (c)   As person holding executive positions or controlling the Plaintiff and SGKFM,

                        the 1st and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person. Paragraphs 67 to 69 herein are repeated.
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            80.   The 1st and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 2nd Defendant were dishonest in that:



                  (a)   Paragraphs 79(a), 79(b) and 79(c) herein are repeated.

                  (b)   The 1st and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light. Paragraph 60 herein is repeated.

                  (c)   The 1st and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.

                  (d)   The 1st Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017. Paragraph 66 herein is repeated.



            81.   As a result, the Plaintiff has suffered loss and damage.



                                                  PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.



                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.
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            I.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST, 2ND AND 3RD DEFENDANTS:

                  CONSPIRACY BY LAWFUL AND UNLAWFUL MEANS



                  (1)   Lawful Means Conspiracy



            82.   The 1st, 2nd and 3rd Defendants wrongfully and with the predominant purpose of

                  injuring the Plaintiff conspired and combined together to injure the Plaintiff by lawful

                  means by:



                  (a)   effecting the Diversion pleaded in paragraph 49 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person as pleaded in

                        paragraphs 67 to 69 herein.



            83.   The 1st, 2nd and 3rd Defendants intended to cause damage to the Plaintiff in that they

                  intended that:



                  (a)   the monies that were transferred from Shenzhen Guotai to the Plaintiff for the

                        subscription of the Plaintiff’s shares referred to in paragraph 47(d) herein

                        would not be used for the benefit of the Plaintiff but were to be diverted from

                        the Plaintiff to the 2e Defendant or the various Khan Entities for their own

                        benefit pursuant to the Diversion. Paragraphs 9 to 18, 27 to 30, 47 to 50 and

                        51 herein are repeated; and

                  (b)   the Plaintiff’s Office Premises would not be used for the benefit of the Plaintiff

                        but was to be used for the benefit of SGKFM and, by extension, the 1st, 2nd

                        and/or 3rd Defendants’ own benefit. Paragraphs 10, 16 and 30 herein are

                        repeated.
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            84.   The common intention of the 1st, 2nd and 3rd Defendants may be seen from the

                  matters pleaded in paragraphs 27 to 69 herein. In particular:



                  (a)   As persons holding executive positions or controlling the Plaintiff, Beijing

                        Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st, 2nd and 3rd Defendants

                        knew or ought to have known of the transfers made pursuant to the Diversion.

                        Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 1st, 2nd and 3rd Defendants took steps to conceal the nature and existence

                        of the Diversion and gave the false impression that the monies transferred out

                        of the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.

                  (c)   The 1st, 2nd and 3rd Defendants took steps to abscond from China and to reside

                        in a jurisdiction outside China as evidence of their misconduct began to come

                        to light. Paragraph 60 herein is repeated.

                  (d)   The 1st, 2nd and 3rd Defendants became in communicado since November

                        2017 and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.

                  (e)   The 1st, 2nd and 3rd Defendants thereafter also ceased to carry out duties or

                        functions owed to the Plaintiff, and did not return to the Plaintiff’s Office

                        Premises after around November 2017. Paragraph 66 herein is repeated.

                  (f)   As persons holding executive positions in or otherwise controlling the Plaintiff

                        and SGKFM, the 1st, 2nd and 3rd Defendants knew or ought to have known that

                        SGKFM was occupying the Plaintiff’s Office Premises without payment to the

                        Plaintiff or any other person. Paragraphs 67 to 69 herein are repeated.
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                  (2)   Unlawful Means Conspiracy



            85.   Further or in the alternative to paragraph 81(1) herein, the 1st, 2nd and 3rd Defendants

                  wrongfully and with intent to injure the Plaintiff by unlawful means conspired and

                  combined together to injure the Plaintiff by:



                  (a)   effecting the Diversion pleaded in paragraph 49 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person as pleaded in

                        paragraphs 67 to 69 herein.



            86.   Paragraphs 83 and 84 herein are repeated.



            87.   The unlawful means referred to in paragraph 85 are:



                  (a)   the 1st Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157 of the Companies Act) to the Plaintiff, which are pleaded to

                        in paragraphs 70 and 71 herein;

                  (b)   the 2nd and 3rd Defendants’ dishonest assistance of the 1st Defendant’s

                        breaches, which is pleaded to in paragraphs 74 and 77 herein;

                  (c)   the 2nd Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157(2) of the Companies Act) to the Plaintiff, which are pleaded

                        to in paragraphs 72 and 73 herein; and/or

                  (d)   the 1st and 3rd Defendants’ dishonest assistance of the 2nd Defendant’s

                        breaches, which is pleaded to in paragraphs 78 and 81 herein.
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            88.   By reason of the matters set out in paragraphs 82 to 87 herein, the Plaintiff has

                  suffered loss and damage.



                                                      PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.



                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            J.    RELIEFS



            AND THE PLAINTIFF CLAIMS:



            (1)   As against the 1st Defendant, for the breaches of the 1st Defendant’s fiduciary duties

                  (including statutory duties under section 157 of the Companies Act):

                  (a)   pursuant to paragraph 70 herein, the amount of USD 34,264,935.99;

                  (b)   pursuant to paragraph 71 herein, the amount of SGD 290,153.97; and

                  (c)   further or in the alternative to Reliefs 1(a) and 1(b) above, equitable

                        compensation / damages to be assessed for breaches of the 1st Defendant’s

                        fiduciary duties (including statutory duties under section 157 of the Companies

                        Act) owed to the Plaintiff.
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            (2)   As against the 2nd Defendant, for the breaches of the 2nd Defendant’s contractual

                  duties and/or fiduciary duties (including statutory duties under section 157(2) of the

                  Companies Act):

                  (a)   pursuant to paragraph 72 herein, the amount of USD 34,264,935.99;

                  (b)   pursuant to paragraph 73 herein, the amount of SGD 290,153.97; and

                  (c)   further or in the alternative to Reliefs 2(a) and 2(b) above, equitable

                        compensation / damages to be assessed for breaches of the 2nd Defendant’s

                        contractual duties and/or fiduciary duties (including statutory duties under

                        section 157(2) of the Companies Act) owed to the Plaintiff.



            (3)   As against the 2nd and 3rd Defendants, for the 2nd and 3rd Defendants’ dishonest

                  assistance of the 1st Defendant’s breaches of fiduciary duties (including statutory

                  duties under section 157 of the Companies Act):

                  (a)   pursuant to paragraphs 74 to 77 herein, the sums of USD 34,264,935.99 and

                        SGD 290,153.97 for the 2nd and 3rd Defendants’ dishonest assistance of the

                        1st Defendant’s breaches; and

                  (b)   further or in the alternative to Relief 3(a) above, equitable compensation /

                        damages to be assessed for the 2nd and 3rd Defendants’ dishonest assistance

                        of the 1st Defendant’s breaches.



            (4)   As against the 1st and 3rd Defendants, for the 1st and 3rd Defendants’ dishonest

                  assistance of the 2nd Defendant’s breaches of fiduciary duties (including statutory

                  duties under section 157(2) of the Companies Act):

                  (a)   pursuant to paragraphs 78 to 81 herein, the sums of USD 34,264,935.99 and

                        SGD 290,153.97 for the 1st and 3rd Defendants’ dishonest assistance of the

                        2nd Defendant’s breaches; and
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                  (b)   further or in the alternative to Relief 4(a) above, equitable compensation /

                        damages to be assessed for the 1st and 3rd Defendants’ dishonest assistance

                        of the 2nd Defendant’s breaches.



            (5)   As against the 1st, 2nd and 3rd Defendants:

                  (a)   pursuant to paragraphs 82 to 84 and 88 herein, in the tort of conspiracy by

                        lawful means, the sums of USD 34,264,935.99 and SGD 290,153.97;

                  (b)   in the alternative to Relief 5(a) above, damages to be assessed for conspiracy

                        by lawful means to injure the Plaintiff; and

                  (c)   further or in the alternative to Reliefs 5(a) and 5(b) above:

                        (i)    pursuant to paragraphs 85 to 88 herein, in the tort of conspiracy by

                               unlawful means the sums of USD 34,264,935.99 and SGD 290,153.97;

                               and

                        (ii)   in the alternative to Relief 5(c)(i) above, damages to be assessed for

                               conspiracy by unlawful means to injure the Plaintiff.



            (6)   Further to Reliefs 1 to 5 above, as against the 1st, 2nd and 3rd Defendants:

                  (a)   interest;

                  (b)   costs; and

                  (c)   such further or other relief as this Honourable Court deems fit.



                                       Dated this 27th day of October 2020




                                                                _______________________________
                                                                          Solicitors for the Plaintiff
                                                                              Ark Law Corporation
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                                     EXHIBIT 2
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                                IN THE GENERAL DIVISION OF THE HIGH COURT
                                      OF THE REPUBLIC OF SINGAPORE

             HC/S 1027/2020
                                                   Between

          Amended as underlined and                GUOTAIQIXING BIOMEDICAL INTERNATIONAL
          deleted in black pursuant to             (S) PTE. LTD.
          Order of Court made on 12                (UEN No. 20150039K)
          December 2022
                                                                                              ... Plaintiff(s)
          Dated this 12    th
                                day      of        And
          December 2022
                                                   (1) DAI XUEFENG
                                                       (PRC Passport No.           2878)
          _____________________
          Solicitors for the Plaintiff             (2) ZHANG JUNQI
          Ark Law Corporation                          (PRC Passport No.           9520)

                                                   (3) XU XINMANNI
                                                       (PRC Passport No.           7254)

                                                                                           ... Defendant(s)

                      

             1.     This Statement of Claim is without prejudice to the Plaintiff’s right to amend its

                    pleadings pending discovery, the administration of interrogatories, and any further

                    findings of the ongoing investigations referred to in paragraph 8 herein.



             A.     PARTIES TO THESE PROCEEDINGS



             I.     THE PLAINTIFF



             2.     The Plaintiff is a company incorporated in Singapore on or about 9 November 2015.

                    The Plaintiff’s registered address is 60 Paya Lebar Road #11-01, Paya Lebar

                    Square, Singapore 409051.
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            3.   The Plaintiff is a wholly-owned subsidiary of 深圳国泰旗兴产业投资基金管理中心

                 （有限合伙） (also known as Shenzhen Guotaiqixing Industry Investment Fund

                 Management Centre LLP “Shenzhen Guotai”), a limited partnership formed under

                 the laws of the People’s Republic of China (“China”). At all material times prior to 27

                 May 2019, the partners of Shenzhen Guotai were:



                 (a)   深圳前海国民投资管理有限公司 (also known as Shenzhen Qianhai Nations

                       Investment Management Co., Ltd., “Nations Investment”), a corporation

                       incorporated in China, as limited partner; and

                 (b)   北京旗隆医药控股有限公司 (also known as Beijing Khan Pharmaceutical

                       Holdings Co., Ltd., “Beijing Khan”), a corporation incorporated in China, as

                       general partner.



            4.   Shenzhen Guotai was the vehicle into which Nations Investment invested an

                 aggregate of some RMB 500 million which was to be managed by Beijing Khan

                 pursuant to a joint venture between Nations Investment and Beijing Khan (the “Joint

                 Venture”). The Joint Venture was formalised by:



                 (a)   a Partnership Agreement dated 23 November 2015 between Beijing Khan as

                       general partner and Nations Investment as limited partner (the “Partnership

                       Agreement”); and

                 (b)   an Agreement for Further Investment Regarding Shenzhen Guotaiqixing

                       Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 March 2016

                       between Nations Investment, Beijing Khan and Shenzhen Guotai (the

                       “Further Investment Agreement”).
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                  Of these monies, USD 34,639,399.87 (approximately RMB 226 million at the material

                  time) was injected into the Plaintiff as share capital.



            5.    Nations Investment was and is a wholly-owned subsidiary of 国民技术股份有限公司

                  (also known as Nations Technologies Inc, “Nations”), which was at all material times

                  a company listed on the Shenzhen Stock Exchange. Nations Investment was

                  primarily used as a vehicle for Nations to carry out investments.



            6.    By a Judgment dated 14 February 2019, the People’s Court of the Shenzhen Qianhai

                  Co-operation Zone held that Beijing Khan had “committed misconduct while

                  implementing matters for the partnership” , and ordered that Beijing Khan be

                  removed as a partner of Shenzhen Guotai. By a Notice of Change dated 14 August

                  2019, Nations Investment was appointed the liquidator of Shenzhen Guotai.



            7.    On or about 16 October 2019, Nations Investment as liquidator of Shenzhen Guotai

                  removed, inter alios, the 1st Defendant from his position as director of the Plaintiff,

                  and appointed new directors over the Plaintiff.



            8.    Investigations into the misconduct of the 1st Defendant along with the misconduct of

                  his associates, the 2nd and 3rd Defendants, are ongoing as of the date of this

                  Statement of Claim, including computer forensics of devices used by the 1st and 2nd

                  Defendants belonging to the Plaintiff.



            II.   THE DEFENDANTS



            9.    The 1st Defendant is a citizen of China and presently resides in the United States of

                  America (the “US”). The 1st Defendant is also known as “Eric”.
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            10.   The 1st Defendant was a director of the Plaintiff at all material times from 9 November

                  2015 until 16 October 2019. Paragraph 7 herein is repeated.



            11.   The 1st Defendant is the founder of, and at all material times controlled various

                  entities in diverse territories including China, the British Virgin Islands, the Cayman

                  Islands, the US and Singapore, which will be collectively referred to as the “Khan

                  Entities”. The Khan Entities included Beijing Khan, which is referred to in paragraphs

                  3(b) and 4 herein. The 1st Defendant is the ultimate beneficial owner of all or

                  substantially all of each of the Khan Entities.



            12.   The 2nd Defendant is a citizen of China and presently resides in the US. The 2nd

                  Defendant is also known as “Alice” and “Alice Chung”.



            13.   The 2nd Defendant was the General Manager and an officer of the Plaintiff from 15

                  November 2015 until December 2017.



            14.   The 2nd Defendant was at all material times a key member of the management of

                  various Khan Entities.



            15.   The 3rd Defendant is a citizen of China and presently resides in the US. The 3rd

                  Defendant was at all material times a key member of the management of various

                  Khan Entities. The 3rd Defendant is also known as “Sophie”.



            16.   At all material times, the 1st, 2nd and 3rd Defendants styled themselves as fund

                  managers, and purported to issue funds and carry out fund management using the

                  Khan Entities and other entities under their control (including the Plaintiff).
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            17.   The 1st, 2nd and 3rd Defendants conceived of and carried out a scheme, under which

                  investment monies which were entrusted to Shenzhen Guotai and, by extension, the

                  Plaintiff, pursuant to the Joint Venture, were diverted for their own benefit. As part of

                  the scheme, the 1st, 2nd and 3rd Defendants caused Shenzhen Guotai to inject USD

                  34,639,399.87 into the Plaintiff, and thereafter hollowed out the Plaintiff by diverting

                  substantial amounts from the Plaintiff to the 2nd Defendant and the Khan Entities (the

                  “Diversion”).



            18.   As a result of their misconduct, the 1st, 2nd and 3rd Defendants are on the wanted list

                  for criminal fugitives pursuant to a warrant of arrest issued by the Shenzhen

                  Municipal Public Security Bureau on or about 25 December 2018 for embezzlement.



            19.   The Plaintiff’s claims herein are for:



                  (a)   Loss and damage caused to the Plaintiff by the Diversion. The net amount of

                        this claim is USD 34,264,935.99.

                  (b)   Loss and damage caused to the Plaintiff by the 1st, 2nd and 3rd Defendants

                        procuring or permitting that Khan Fund Management Asia Pte. Ltd.

                        (“SGKFM”), use the Plaintiff’s office premises at 2 Shenton Way #17-02, SGX

                        Centre 1, Singapore 068804 (the “Plaintiff’s Office Premises”) as its

                        registered address, without payment to the Plaintiff. The amount of this claim

                        is SGD 290,153.97.



            B.    DUTIES OWED BY THE 1ST AND 2ND DEFENDANTS TO THE PLAINTIFF



            I.    DUTIES OWED BY THE 1ST DEFENDANT TO THE PLAINTIFF
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            20.   Paragraph 9 herein is repeated. As a director of the Plaintiff, the 1st Defendant owed

                  fiduciary duties (including statutory duties under section 157 of the Companies Act

                  (Cap 50, 2006 Rev Ed)) to the Plaintiff that required him to:



                  (a)    act honestly and in the interests of the Plaintiff;

                  (b)    use reasonable diligence in the discharge of his duties owed to the Plaintiff;

                  (c)    act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                         all duties, powers, responsibilities, obligations and functions assigned to or

                         vested in or attached to him;

                  (d)    ensure that each transaction that is undertaken by the Plaintiff is at arm's

                         length and, in any event, not place or allow himself to be placed in a situation

                         or position whereby any of his duties and obligations to the Plaintiff conflict or

                         potentially may conflict directly or indirectly with his personal interests;

                  (e)    not make any secret profit or receive any secret payment;

                  (f)    disclose any breaches (on his part) of duties owed to the Plaintiff; and/or

                  (g)    not make improper use of his position as a director of the Plaintiff or any

                         information acquired by virtue of his position as a director to gain, directly or

                         indirectly, an advantage for himself or for any other person or to cause

                         detriment to the Plaintiff.



            II.   DUTIES OWED BY THE 2ND DEFENDANT TO THE PLAINTIFF



            21.   Paragraph 13 herein is repeated. The 2nd Defendant was employed in an executive

                  capacity (see paragraphs 22 and 23 herein) and, inter alia, owed a contractual duty

                  (implied as a matter of law) of mutual trust and confidence, and fidelity, to act

                  faithfully in the best interests of the Plaintiff.
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            22.   Pursuant to the terms of her employment with the Plaintiff, the 2nd Defendant also

                  owed express contractual duties to the Plaintiff and/or had the authority to:



                  (a)   oversee the overall management, sales and operations of the Plaintiff, and

                        formulate and implement business strategies and policies of the Plaintiff;

                  (b)   do her utmost to maximise the financial returns of the Plaintiff by designing

                        optimal development strategies;

                  (c)   have general control and responsibility for the management of the business of

                        the Plaintiff;

                  (d)   do all in her power to promote, develop and extend the business of the Plaintiff;

                  (e)   be the “Legal Representative” of the Plaintiff whether throughout Singapore or

                        abroad and be entrusted with the direction and management of the company

                        businesses;

                  (f)   perform other legal and chartered functions and those assigned or delegated

                        by the Board of Directors;

                  (g)   not do or refrain from doing any act whereby her office as a General Manager

                        is or becomes liable to be vacated;

                  (h)   not do anything that would cause her to be disqualified from continuing to act

                        as a General Manager;

                  (i)   not do anything which may bring about disrepute to any holding company or

                        subsidiary of the Plaintiff or any subsidiary of any holding company of the

                        Plaintiff (other than the Plaintiff) (collectively, the “Group”) or anything which

                        infringes the laws and regulations of the countries in which the Group operates

                        in; and

                  (j)   declare all conflicts of interest and all direct and deemed interests (whether

                        financial or otherwise) which she may have in any company or companies

                        which are or which may from time to time be doing business with the Group or
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                       which are or which may from time to time be in direct or indirect competition

                       with the Group (collectively the “Connected Companies”) and to ensure that

                       none of the Group Companies shall contract or deal with any Connected

                       Company save with the prior written/verbal consent of the Board; and in any

                       event, without prejudice to the foregoing, any contract or transaction with any

                       Connected Company or otherwise any dealings, negotiations or other

                       transactions between the Group company and any Connected Company shall

                       be on terms that are strictly normal commercial terms and arm's length and

                       which have been entered into with the utmost good faith after due regard to

                       the interests of the Group;

                 (k)   disclose and obtain the prior written consent of the Board of the Plaintiff,

                       whether on her own, or jointly with others, or on behalf of any person, firm or

                       company, or as manager, agent consultant or employee of any person, firm or

                       company, directly or indirectly:

                       (i)    engage in any other business which is wholly or partly in competition

                              with any business carried on by any Group Company by itself or

                              themselves or in partnership, common ownership or as a joint venture

                              with any third party; or

                       (ii)   be concerned or interested in any other business of a similar nature to

                              or competitive with that carried on by any Group Company or by any

                              supplier or customer of any Group Company; and

                 (l)   to perform according to the highest standards of business ethics.



                 These terms are recorded in an unsigned “Employment Contract” dated 9 February

                 2017 uncovered in the course of the investigations referred to at paragraph 8 herein

                 (the “2nd Defendant’s Employment Contract”). Thus far, the ongoing investigations

                 have yet to uncover a signed version of the document.
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            23.   Further to paragraph 22 herein, the 2nd Defendant was:



                  (a)   a signatory to the Plaintiff’s bank accounts held with DBS Bank Limited

                        (“DBS”);

                  (b)   identified in a letter from the Plaintiff to the Ministry of Manpower in Singapore

                        (“MOM”) as a “crucial” employee with “substantial investment and

                        management experience in the financial sector” who had been “tasked to

                        transform [the Plaintiff] into a dynamic strategic investor” (the “Letter to

                        MOM”); and

                  (c)   purportedly conferred the power to sign “subscription form related documents”

                        for the purpose of share subscriptions on the Plaintiff’s behalf (see paragraph

                        51(3) herein).



            24.   By reason of the matters pleaded in paragraphs 22 and 23 herein, the 2nd Defendant

                  was an officer of the Plaintiff. As such, she also owed statutory duties under section

                  157(2) of the Companies Act to the Plaintiff to not make improper use of her position

                  as an officer of the Plaintiff or any information acquired by virtue of his position as an

                  officer to gain, directly or indirectly, an advantage for herself or for any other person

                  or to cause detriment to the Plaintiff.



            25.   By reason of the matters pleaded in paragraph 21 to 24 herein, at all material times,

                  the 2nd Defendant also owed fiduciary duties to the Plaintiff.



            26.   The 2nd Defendant’s fiduciary duties (including her statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff required her to:
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                  (a)   act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                        all duties, powers, responsibilities, obligations and functions assigned to or

                        vested in or attached to her;

                  (b)   ensure that each transaction that is undertaken by the Plaintiff is at arm's

                        length and in any event, not place or allow herself to be placed in a situation

                        or position whereby any of his duties and obligations to the Plaintiff conflict or

                        potentially may conflict directly or indirectly with his personal interests;

                  (c)   not make any secret profit or receive any secret payment;

                  (d)   disclose any breaches (on her part) of duties owed to the Plaintiff; and/or

                  (e)   not make improper use of her position as an officer of the Plaintiff or any

                        information acquired by virtue of her position as an officer to gain, directly or

                        indirectly, an advantage for herself or for any other person or to cause

                        detriment to the Plaintiff.



            C.    CIRCUMSTANCES LEADING TO THE PLAINTIFF’S CLAIMS



            I.    THE KHAN ENTITIES



            27.   The Plaintiffs are aware of the following Khan Entities:



                  (a)   Genghis Khan Investment, Inc. (“GKI”), which was incorporated in or around

                        February 2006 in the British Virgin Islands;

                  (b)   深圳市旗隆投资管理有限公司 (also known as Shenzhen Khan Investment

                        Management Co. Ltd., “SKI”), which was incorporated in China in or around

                        April 2006;
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                  (c)   重庆市旗隆投资管理有限公司 (also known as Chongqing Khan Investment

                        Management Co. Ltd., “CQKIM”), which was incorporated in China in or

                        around July 2008;

                  (d)   深圳前海旗隆基金管理有限公司 (also known as Shenzhen Qianhai Genghis

                        Khan Fund Management Co., Ltd. and Shenzhen Qianhai Khan Fund

                        Management Co., Ltd., “SQKFM”), which was incorporated in China on or

                        around 1 April 2014;

                  (e)   Khan Funds Management America, Inc. (“KFA”), which was incorporated in

                        the US under the laws of the State of New York on or about 15 October 2014;

                  (f)   Beijing Khan, referred to in paragraph 3(b) herein, which was incorporated on

                        or around 7 August 2015;

                  (g)   Khan Funds Global Limited (“KFG”), which was incorporated in the Cayman

                        Islands on or about 18 September 2015;

                  (h)   Khan Funds Oriental Medicine Fund SPC (“KOM”), which was a segregated

                        portfolio company incorporated in the Cayman Islands on or about 18

                        September 2015; and

                  (i)   SGKFM, referred to in paragraph 19(b) herein, which was incorporated in

                        Singapore on or about 31 March 2016.



            28.   GKI and SKI were incorporated in around 2006. According to marketing material

                  issued by the Khan Entities (the “Khan Marketing Material”) sometime in or after

                  February 2017, the 1st Defendant used GKI and SKI to “independently manage

                  overseas funds”. In the Khan Marketing Material, the 1st Defendant held himself out

                  as a specialist in investments in the biomedical industry, and aggressively promoted

                  himself as a fund manager investing in companies with “upright, honest, trustworthy

                  people who have a passion for life”.
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            29.   In around July 2008, the 1st Defendant incorporated CQKIM, which was used as a

                  vehicle to:



                  (a)   raise investment monies through issuing funds in China (“Khan-Issued

                        Funds”);

                  (b)   carry out investment management of Khan-Issued Funds; and

                  (c)   carry out investment management of venture capital and funds issued by third

                        parties including trust companies and investment banks (“Third Party

                        Funds”).



            30.   In around 2009, the 2nd and 3rd Defendants joined the Khan Entities. During the

                  material time:



                  (a)   the 2nd Defendant was a director in and held executive posts in various Khan

                        Entities including Investment Director of SQKFM, Chief Investment Officer and

                        Vice President;

                  (b)   the 3rd Defendant was a director in and held executive posts in various Khan

                        Entities including Managing Director of GKI and General Manager of SQKFM;

                        and

                  (c)   the 2nd and 3rd Defendants were key members of the management in various

                        the Khan Entities alongside the 1st Defendant, and part of the 1st Defendant’s

                        inner circle.



            II.   EVENTS LEADING TO THE JOINT VENTURE



            31.   By an Announcement No. 2013-010 titled “Announcement of the Resolutions of the

                  8th Meeting of the 2nd Board of Directors” dated 17 April 2013, Nations announced
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                  that it was considering possible avenues for investment of its “spare monies” by way

                  of purchasing “wealth management products” (“Nations Announcement 2013-

                  010”). The 1st Defendant was aware of Nations Announcement 2013-010, or was

                  otherwise aware that Nations was considering possible avenues for investment of its

                  cash reserves by way of purchasing investment products. He thus sought to cultivate

                  Nations to become a substantial investor in Khan-Issued Funds.



            32.   In around early-2014, the 1st Defendant was introduced to and met with Mr Luo

                  Zhaoxue (“Mr Luo”) (the “First Meeting”). At the time, Mr Luo was the Chief

                  Executive Officer of Nations.



            33.   During the First Meeting, the 1st Defendant and Mr Luo discussed the prospects of

                  making investments into the biomedical industry outside of China, and particularly in

                  the US and Europe, through the purchase of investment products offered by Khan

                  Entities.



            34.   After the First Meeting, the 1st Defendant continued to cultivate Nations to become a

                  substantial investor in Khan-Issued Funds, and from time to time proposed various

                  avenues for Nations to carry out investments through the purchase of Khan-Issued

                  Funds.



            35.   On or about 1 April 2014, SQKFM was incorporated. The 1st, 2nd and 3rd Defendants

                  held the positions of “President and Investment Decision Committee Chairman”,

                  “Investment Director & Head of Quantitative Trading” and “General Manager and

                  Head of Macro Research”, respectively.
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            36.   According to the Khan Marketing Material, the incorporation of SQKFM was to

                  “conduct[] private equity securities investment, equity investment, venture capital

                  investment and other private equity fund businesses [and] to independently issue

                  Khan-issued private equity funds”. After the incorporation of SQKFM, there was a

                  substantial increase in the number of Khan-Issued Funds. Pending discovery, the

                  administration of interrogatories and any further findings of the ongoing

                  investigations, to the Plaintiff’s knowledge:



                  (a)   A total of four Khan-Issued Funds were issued in the 69 months between July

                        2008 and 31 March 2014.

                  (b)   At least 11 Khan-Issued Funds were issued in the 16 months between 1 April

                        2014 and 18 September 2015.



            37.   On or about 15 October 2014, KFA was incorporated in the US. Pending discovery,

                  the administration of interrogatories and any further findings of the ongoing

                  investigations, to the Plaintiff’s knowledge, the 1st Defendant was the sole

                  shareholder of all of KFA’s shares and the Chief Executive Officer of KFA. The 1 st,

                  2nd and 3rd Defendants are and were at all material times members of KFA’s

                  “Executive Team”.



            38.   In around November 2014, Nations agreed to make a preliminary investment of RMB

                  200 million into a Khan-Issued Fund known as 前海旗隆量化分级基金 (also known

                  as the Qianhai Khan Quantitative Diversified Fund, the “Khan QD Fund”). SQKFM

                  was the fund management company of the Khan QD Fund. The 2nd Defendant

                  managed SQKFM’s quantitative funds and was “responsible for the realisation and

                  implementation of SQKFM’s quantitative investment strategy”.
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            39.    After Nations’ investment into the Khan QD Fund, the 1st Defendant continued to

                   propose that Nations either increase its investments into Khan-Issued Funds, or

                   make other investments through the Khan Entities into potential investment targets.



            40.    In around July or August 2015, Nations provisionally agreed to a proposal made by

                   the 1st Defendant for Nations to invest further monies into a joint venture with 1st

                   Defendant and one or more of the Khan Entities to invest in the biomedical industry,

                   which the 1st Defendant had purportedly identified as a viable investment target. This

                   was the Joint Venture, which was referred to in paragraph 4 herein.



            41.    The Joint Venture was to be carried out through the formation of a limited partnership

                   between Nations Investment (which was a wholly-owned subsidiary of Nations) and

                   Beijing Khan, with the 1st, 2nd and 3rd Defendants acting as fund managers. This

                   limited partnership was Shenzhen Guotai.



            III.   THE DIVERSION



            42.    Paragraph 17 herein is repeated.



            43.    On or about 6 November 2015, the Board of Directors of Nations resolved to invest

                   RMB 300 million in the Joint Venture through Nations Investment.



            44.    On or about 9 November 2015, the 1st, 2nd and/or 3rd Defendants incorporated the

                   Plaintiff, or procured that the Plaintiff be incorporated, as a wholly-owned subsidiary

                   of Shenzhen Guotai. At all material times, the Plaintiff’s capital was USD 35 million

                   divided into 35 million equal shares. Paragraphs 10 and 13 herein are repeated.
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            45.   In the course of negotiating the terms of the agreement to formalise the Joint

                  Venture, Nations proposed that a custodian bank be appointed to take custody of

                  the monies and assets invested by Nations Investment pursuant to the Joint Venture.

                  Nations proposed this arrangement as a safeguard against the risk of

                  misappropriation of investment monies.



            46.   To facilitate the Diversion, the 1st Defendant resisted Nations’ request for a custodian

                  bank, and counter-proposed that SQKFM provide to Nations Investment a guarantee

                  for the principal investment of RMB 300 million with a return on investment of 5% per

                  annum which he represented would provide the same level of security.



            47.   Accordingly:



                  (a)   By the Partnership Agreement dated 23 November 2015: (i) Nations

                        Investment agreed to, inter alia, invest RMB 300 million into Shenzhen Guotai;

                        and (ii) Beijing Khan agreed to, inter alia, invest RMB 500,000 into Shenzhen

                        Guotai and to honestly and diligently maximise returns on the investment

                        monies through equity, debenture and other investments. The Partnership

                        Agreement conferred upon Beijing Khan, which was controlled by the 1st, 2nd

                        and 3rd Defendants, the exclusive power to manage the operations of

                        Shenzhen Guotai and to make all investment decisions without interference

                        from Nations Investment.

                  (b)   By a Supplemental Partnership Agreement Regarding Shenzhen Guotaiqixing

                        Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 November

                        2015 between Nations Investment and SQKFM, SQKFM provided a guarantee

                        to Nations Investment for the investment of RMB 300 million with a return on

                        investment of 5% per annum.
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                  (c)   In pursuance of the Partnership Agreement, on or about 30 November 2015,

                        Nations Investment paid the sum of RMB 300 million to Shenzhen Guotai (the

                        “RMB 300 Million Investment”).

                  (d)   On or about 23 December 2015, the 1st, 2nd and/or 3rd Defendants caused

                        Shenzhen Guotai to transfer a substantial part of the RMB 300 Million

                        Investment to the Plaintiff for subscription of the Plaintiff’s shares. The sum of

                        USD 34,639,399.87 was received by the Plaintiff in its USD-denominated

                        account held with DBS in Singapore (the “Plaintiff’s DBS Account (USD)”).

                        As with the RMB 300 Million Investment, the USD 34,639,399.87 was

                        transferred to the Plaintiff to be invested into equity, debenture and other

                        investments.

                  (e)   On or about 9 November 2015, Mr Luo was appointed as a director of the

                        Plaintiff. Notwithstanding his directorship, Mr Luo was not involved in the

                        operations of the Plaintiff and the 1st, 2nd and/or 3rd Defendants concealed the

                        Diversion from him. The 1st, 2nd and/or 3rd Defendants forged Mr Luo’s

                        signature on at least one document in the course of concealing and concealing

                        the nature of the Diversion, which is further particularised in paragraph 51

                        herein.



            48.   The 1st, 2nd and 3rd Defendants used the Khan Entities, including KFA, KFG, KOM

                  and SGKFM, as conduits for funds transfers which ultimately benefited themselves.



                                                     PARTICULARS



                  Pending discovery, the administration of interrogatories and any further findings of

                  the ongoing investigations, these are the best particulars that the Plaintiff is able to

                  provide based on the information uncovered from the investigations:
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                 (1)   The transfers made pursuant to the Diversion were without genuine

                       commercial basis and not at arm’s length.

                 (2)   Paragraphs 11, 14, 16 and 30 herein are repeated.

                 (3)   Paragraph 37 herein is repeated. Four “Research Consultancy Contract[s]”

                       between KFA and SQKFM, dated 15 November 2014, 14 January 2015, 3

                       June 2015 and 1 July 2015, which provided for substantial “consultancy fee[s]”

                       of between USD 30,001 and USD 31,106 per month to be paid by SQKFM to

                       KFA for a tenure of 6 months or 1 year (the “Research Consultancy

                       Contracts”), were manufactured to provide justification for remittances to

                       KFA. The 1st, 2nd and 3rd Defendants were employees of both KFA and

                       SQKFM and there was no commercial basis for such “consultancy fee[s]”, the

                       tenure of the various Research Consultancy Contracts overlapped with each

                       other, and the Plaintiff has not found any evidence that any services were

                       provided under the Research Consultancy Contracts.

                 (4)   On 24 April 2017, a former employee of KFA, Mr Robert Polite (“Mr Polite”)

                       filed a Federal discrimination and whistleblower lawsuit against KFA in the

                       District Court of the Southern District of New York. According to paragraph 12

                       of the Complaint filed by Mr Polite in that lawsuit, the 1st Defendant “was

                       pilfering company funds for his personal benefit - such as purchasing furniture

                       and paying rent for an apartment”.

                 (5)   At the time of the incorporation of KFG and KOM, the 1st Defendant was the

                       sole shareholder of all of the shares of KFG, and KFG was in turn the sole

                       shareholder of all of the shares of KOM. The 1st, 2nd and 3rd Defendants were

                       each directors of KFG and KOM.

                 (6)   On or about 18 December 2017, the 1st Defendant remitted USD 3 million to

                       KFG from his personal JPMorgan Chase Bank, N.A. bank account, which was

                       held with his ex-wife Liu Xiayu.
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                  (7)    Between about 21 and 26 December 2017, five transfers of USD 900,000 each

                         (i.e. an aggregate of USD 4.5 million) was transferred from SGKFM to Wang

                         Guoli, who is the 1st Defendant’s mother.

                  (8)    On or about 26 December 2017, the sum of USD 400,000 was transferred

                         from KFG to Wang Jing, who is the 1st Defendant’s sister.

                  (9)    On or about 26 December 2017, the 1st Defendant remitted to KFG USD 3.5

                         million from his personal JPMorgan Chase Bank, N.A. bank account, which

                         was held with his ex-wife Liu Xiayu.



            49.   The 1st, 2nd and 3rd Defendants effected the Diversion through multiple withdrawals

                  made from time to time between 29 December 2015 and 6 April 2017 from the

                  Plaintiff’s DBS Account (USD). These sums were transferred to the 2nd Defendant,

                  or to KFA, KFG or KOM as conduits for the Diversion. These entities were owned by

                  the 1st Defendant and controlled by the 1st, 2nd and 3rd Defendants. The substantial

                  withdrawals made from and deposits made into the Plaintiff’s DBS Account (USD)

                  were as follows:



                                         PARTICULARS OF DIVERSION



          Date of              Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /         of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                          the Plaintiff (USD)                 Reference
          29 December 2015 KOM                       33,600,000.00                   - According to the 2016
          Withdrawal                                                                   Management
                                                                                       Accounts: “The
                                                                                       Company had funded
                                                                                       3300 shares at the
                                                                                       values of US$33
                                                                                       million in KHAN
                                                                                       FUNDS ORIENTAL
                                                                                       MEDICINE FUND on
                                                                                       29th Dec 2015 as 2%
                                                                                       is the subscribe fee.”
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          Date of          Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /     of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                      the Plaintiff (USD)                 Reference
          6 January 2016   KFA                 310,000.00        179.24 Characterised as a
          Withdrawal                                                    “loan [at] 3 years loan
                                                                        tenure and 3% per
                                                                        interest annum” in the
                                                                        2016 Management
                                                                        Accounts and in an
                                                                        Excel spreadsheet
                                                                        recovered in the
                                                                        ongoing investigations
          30 August 2016   KFA                 250,000.00        203.53 Characterised as a
          Withdrawal                                                    “loan [at] 3 years loan
                                                                        tenure and 3% per
                                                                        interest annum” in the
                                                                        2016 Management
                                                                        Accounts and in an
                                                                        Excel spreadsheet
                                                                        recovered in the
                                                                        ongoing investigations
          18 November 2016 KOM             (10,000,000.00)             - Characterised as a
          Deposit                                                        “REDEMPTION OF
                                                                         1,381.3223. SHARES”
                                                                         in the relevant
                                                                         Transaction Advice
                                                                         and also a
                                                                         “redemption [of] 1382
                                                                         shares at the value of
                                                                         US$10 million so
                                                                         company loss US$3.82
                                                                         million in investment
                                                                         [sic]” in the 2016
                                                                         Management Accounts
          18 November 2016 KFG                 500,000.00              - Characterised as a
          Withdrawal                                                     “loan [at] 3 years loan
                                                                         tenure and 3% per
                                                                         interest annum” in the
                                                                         2016 Management
                                                                         Accounts and in an
                                                                         Excel spreadsheet
                                                                         recovered in the
                                                                         ongoing investigations
          18 November 2016 KFG                 500,000.00              - Characterised as a
          Withdrawal                                                     “loan [at] 3 years loan
                                                                         tenure and 3% per
                                                                         interest annum” in the
                                                                         2016 Management
                                                                         Accounts and in an
                                                                         Excel spreadsheet
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          Date of           Recipient   Sum Transferred      Bank Charges Purported Reason for
          Withdrawal /      of Transfer out of / Returned to Incurred (USD) Transfer and
          Deposit                       the Plaintiff (USD)                 Reference
                                                                          recovered in the
                                                                          ongoing investigations
          1 December 2016   KFG                 500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          1 December 2016   KFG                 500,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
                                                                          interest annum” in the
                                                                          2016 Management
                                                                          Accounts and in an
                                                                          Excel spreadsheet
                                                                          recovered in the
                                                                          ongoing investigations
          5 December 2016   KFA                 550,025.00        195.18 Characterised as a
          Withdrawal                                                     “CONSULTANCY
                                                                         FEE” with no further
                                                                         details in the relevant
                                                                         Transaction Advice
                                                                         and also a “loan [at] 3
                                                                         years loan tenure and
                                                                         3% per interest annum”
                                                                         in the 2016
                                                                         Management Accounts
                                                                         and in an Excel
                                                                         spreadsheet recovered
                                                                         in the ongoing
                                                                         investigations
          27 December 2016 KFA                  500,000.00        192.14 Characterised as a
          Withdrawal                                                     “loan [at] 3 years loan
                                                                         tenure and 3% per
                                                                         interest annum” in the
                                                                         2016 Management
                                                                         Accounts and in an
                                                                         Excel spreadsheet
                                                                         recovered in the
                                                                         ongoing investigations
          28 December 2016 KFG                6,000,000.00              - Characterised as a
          Withdrawal                                                      “loan [at] 3 years loan
                                                                          tenure and 3% per
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           Date      of                             Recipient                 Sum          Transferred                         Bank       Charges                 Purported                Reason            for
          Withdrawal               /                of Transfer               out        of / Returned               to        Incurred           (USD)           Transfer            and
           Deposit                                                            the        Plaintiff           (USD)                                                Reference
                                                                                                                                                                                    annum"
                                                                                                                                                                  interest                              in the
                                                                                                                                                                  2016        Management
                                                                                                                                                                  Accounts               and      in an
                                                                                                                                                                  Excel       spreadsheet
                                                                                                                                                                  recovered               in the
                                                                                                                                                                  ongoing            investigations

          4 January              2017               KFA                                              400,000.00                                  192.48           Characterised                    as a
          Withdrawal                                                                                                                                              "CONSULTANCY
                                                                                                                                                                  FEE"
                                                                                                                                                                              with       no further
                                                                                                                                                                  details       in the         relevant
                                                                                                                                                                  Transaction               Advice

          22                       2017             2"¹                                              353,356.89                                                   Characterised                    as
                  February
                                                                                                                                                                  "BONUS"
          Withdrawal                                Defendant

          9 March           2017                    KFA                                              200,000.00                                  195.75           No     stated          reasons
          Withdrawal                                                                                                                                              provided

          21    March        2017                   KFG                                               100,000.00                                                  No     stated          reasons
          Withdrawal                                                                                                                                              provided

          6 April         2017                      KOM                                                                                                       -   No     stated          reasons
                                                                                              (1,000,000.00)
           Deposit                                                                                                                                                provided

          6 April         2017                      KFA                                              500,000.00                                  197.89           No       stated        reasons
          Withdrawal                                                                                                                                              provided

          6 April         2017                      KFA                                              500,000.00                                  197.89           No       stated        reasons
          Withdrawal                                                                                                                                              provided

                                                     Sub-Totals:                              34,263,381.89                                1,554.10

                                                                   Net    Sum          Misappropriated:                          34,264,935.99



                                                                                                                                                             "BONUS"
               50.         In truth,      the       transfers        were        not      "loans",           "consultancy             fee[s[         or                        as     falsely

                                                           Plaintiffs'
                           recorded           in the                         records             (see        paragraphs           51(4)         to 51(6)          herein).          By     April


                           2017,        the     funds        in    the    Plaintiffs             DBS          Account          (USD)           had        been      almost           entirely


                           depleted           and     only        a balance         of USD              5,793.53            remained           as    of 30 April             2017.        After

                                                                                                      2"¹             3"I
                           misappropriating                  these       sums,         the    18,             and             Defendants             absconded               from        China

                                                                                    18               2"¹
                           in late      2017.        Thereafter,          the              and               Defendants            also    ceased             to carry        out        duties


                           or functions             owed      to the      Plaintiff,         and      did     not    return      to the        Plaintiff's        Office      Premises.
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            51.   The 1st, 2nd and 3rd Defendant took steps to conceal the nature and existence of the

                  Diversion and gave the false impression that the monies transferred out of the

                  Plaintiff to the 2nd Defendant was for “BONUS”, and that the monies transferred to

                  KFA, KFG and KOM were being used in relation to genuine investments.



                                                 PARTICULARS



                  Pending discovery, the administration of interrogatories and any further findings of

                  the ongoing investigations, these are the best particulars the Plaintiff is able to

                  provide:

                  (1)   In or around end-2015, the 1st, 2nd and/or 3rd Defendants created or caused to

                        be created various documents which were designed to create the false

                        impression that the Plaintiff had serious plans to be involved in research and

                        development, technology and innovation in “gene chip and peptide synthesis”

                        in Singapore. These documents included:

                        (a)   A report assessing the viability of having the Plaintiff carry out these

                              tasks, and setting out a breakdown of the Plaintiff’s purported costs in

                        (b)   doing so. This report did not and was never intended by the 1st, 2nd

                              and/or 3rd Defendants to reflect their true intentions for using the USD

                              35 million that was injected into the Plaintiff. Paragraphs 17, 42 and 50

                              herein are repeated.

                        (c)   Unsigned memoranda of understanding, letters of intent or agreements

                              with fictitious research organisations such as the “Biopolis Bio-Medical

                              Science Institute” and the “Singapore General Hospital Pathology

                              Laboratory”.

                  (2)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                        recorded in the Plaintiff’s records that the transfer of USD 33,600,000 to KOM
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                       on or around 29 December 2015 was for the subscription of 3,300 “shares” in

                       KOM. There was no genuine agreement for the Plaintiff to subscribe to KOM’s

                       shares, and no such agreement or share certificates have been uncovered in

                       the Plaintiff’s records in the course of the ongoing investigations.

                       (a)   Tthere was no commercial basis for the purported subscription of

                             shares. KOM was incorporated shortly before the purported subscription

                             on or about 18 September 2015 with a paid-up capital of USD 1.

                       (b)   According to an Investment Management Agreement dated 23

                             December 2015 signed by the 2nd Defendant on behalf of KOM and KFG

                             (“IMA”), KFG was purportedly appointed as the “Investment Manager”

                             of KOM. The date of the IMA was the same day on which USD

                             33,600,000 was transferred from the Plaintiff to KOM pursuant to the

                             Diversion (paragraph 49 herein is repeated). Pursuant to clause 7.2,

                             KFG would receive a monthly “Management Fee” that was “equal to 1/12

                             x 2.5% of the Net Asset Value of [KOM form that month].” Further, KFG

                             would be remunerated regardless of its performance – the IMA provided

                             for a separate “Performance Fee” under clause 7.3. For instance,

                             according to the information uncovered from the ongoing investigations,

                             for April 2016, KFG received a Management Fee of USD 78,784.74 and

                             a Performance Fee of just USD 636.70. There is no apparent

                             commercial justification for the Management Fee when KOM and KFG

                             were both ultimately owned and controlled by the 1st Defendant.

                             Paragraphs 17, 42 and 50 herein are repeated.

                 (3)   The 1st, 2nd and/or 3rd Defendants created or caused to be created a document

                       titled “Authorized Person” dated 29 December 2015 which purported to confer

                       upon the 2nd Defendant the power to sign “subscription form related

                       documents” on the Plaintiff’s behalf. This served to create the false impression
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                       that one or more of the transfers made pursuant to the Diversion was or were

                       for the purpose of share subscriptions. The aforesaid document was signed

                       by the 1st Defendant and contained a forgery of Mr Luo’s signature.

                 (4)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that transfers of monies out of the Plaintiff

                       were “loan[s]” to KFA (for an aggregate sum of as much as USD 1,610,025)

                       and KFG (for an aggregate sum of as much as USD 8,000,000) or

                       “consultancy fee[s]” paid to KFA (for an aggregate sum of as much as

                       USD950,025). There were no genuine loan agreements or consultancy

                       agreements between the Plaintiff and KFA or KFG, and no such agreements

                       have been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (5)   With regards to the purported “loan[s]” to KFA and KFG, according to the

                       Plaintiff’s management accounts for the financial year ended 31 December

                       2016 (the “2016 Management Accounts”), those loans had a “3 years loan

                       tenure and 3% interest per annum”. However, notwithstanding that the tenures

                       for the purported loans have all expired, none of those purported loans have

                       been repaid to-date and no interest has been paid to the Plaintiff thereon.

                       Further, it appears from representations made by KFA itself that there was no

                       commercial basis for KFA to be taking such a substantial loan (for an

                       aggregate sum as much as USD 8,000,000 in aggregate): (i) in a letter from

                       KFA dated 1 May 2016 that purported to authorise “China Merchants Bank,

                       New York Branch to search for pharmaceutical projects”, which was signed by

                       the 1st Defendant, KFA represented that it had “$2 billion assets under

                       management”; and (ii) according to the Khan Funds website, in 2015, KFA had

                       “signed a 15-year lease agreement with One World Trade Center”.
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                 (6)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that the transfer of USD 353,356.89

                       (approximately SGD 487,632.51 at an exchange rate off USD 1 to SGD 1.38)

                       to the 2nd Defendant on 22 February 2017 was a “BONUS” payment.

                       According to clause 5.1 of the 2nd Defendant’s Employment Contract dated 8

                       February 2017, the 2nd Defendant’s basic monthly salary was SGD 8,500 and

                       was to be increased to SGD 12,000 after “completing six months of

                       employment”. According to clause 5.4 of the 2nd Defendant’s Employment

                       Contract, the Plaintiff also had the “absolute discretion [to] pay the [2nd

                       Defendant] a bonus in accordance with the bonus schemes or policies from

                       time to time prevailing in the [Plaintiff]”. According to clause 4.3 of the Plaintiff’s

                       Employee Handbook: “Employees who have completed one year’s service as

                       at 31st December may be paid an annual bonus each year. The quantum shall

                       be at the absolute discretion of the Management and be based on the

                       employee’s last drawn basic salary as at 31st December of that year.” The

                       aforementioned transfer would have been equivalent to between 40.6 months

                       (assuming a basic salary of SGD 12,000) and 57.4 months (assuming a basic

                       salary of SGD 8,500) of bonus paid to the 2nd Defendant. Considering that

                       there were no genuine investments being made by the Plaintiff, and in any

                       event that the 2016 Management Accounts showed that the Plaintiff had

                       incurred an operating loss of SGD 6,574,262.96 for the financial year ending

                       31 December 2016, it was unjustifiable for the 2nd Defendant to have been

                       paid a bonus, much less a bonus of 40.6 to 57.4 months, and it is evident that

                       the characterisation of the aforesaid payment as a “BONUS” was false and to

                       justify or conceal the unjustified diversion of monies to benefit the 2nd

                       Defendant. In any event, there were no board resolutions, payslips or other

                       documents justifying or approving a “BONUS” payment to the 2nd Defendant,
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                       and no such documents have been uncovered in the Plaintiff’s records

                       pursuant to the ongoing investigations.

                 (7)   The 1st, 2nd and/or 3rd Defendants purported to commence negotiations with

                       various purported investment targets in the biomedical industry in the US,

                       which they alleged had to be prolonged due to complications relating to foreign

                       exchange controls in China, changes to China’s regulations on outbound

                       investment monies, the global economic downturn and issues with corporate

                       governance in the investment targets. No evidence of such negotiations have

                       been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (8)   In the Letter to MOM that was drafted by, drafted under the supervision of,

                       and/or reviewed and approved by, the 2nd Defendant and dated 29 January

                       2016, the 2nd Defendant caused the Plaintiff to falsely state that: “Our [GTQX's]

                       vision is to be the leading investor in biomedical science industry and intend

                       to invest to shape the future-industries of Singapore in the demanding sectors

                       of biomedical science. We encourage the development, expansion and

                       revolution of successful industries to enhance economic progress and

                       generate employment opportunities in Singapore.” Paragraphs 17, 42, 50 and

                       51(1) herein are repeated.

                 (9)   On or about 18 November 2016, the 1st, 2nd and/or 3rd Defendants caused

                       KOM to transfer the sum of USD 10 million to the Plaintiff. This was falsely

                       recorded in the 2016 Management Accounts to be for the “redemption” of

                       1,832 shares of KOM. There was no genuine subscription or redemption of

                       shares of KOM by the Plaintiff, and no agreements for the subscription or

                       redemption of shares of KOM by the Plaintiff have been uncovered in the

                       Plaintiff’s records pursuant to the ongoing investigations. Paragraphs 51(2)

                       and 51(3) herein are repeated.
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                 (10) In any event, even if the monies were in fact the proceeds from “redemption”

                      of a fund that the Plaintiff had invested in through KOM, there was no

                      commercial basis for such a “redemption” and no documents evincing any

                      possible commercial basis have been uncovered in the Plaintiff’s records

                      pursuant to the ongoing investigations. According to the Plaintiff’s 2016

                      Management Accounts, the “redemption” (less than one year after the

                      purported subscription) resulted in a loss of “USD 3.82 million” to the Plaintiff,

                      which contributed to an overall “Loss in investment loss” of SGD 5,211,740

                      and an operating loss of SGD 6,574,262.96 for the financial year ending 31

                      December 2016. Further and in any event, substantially all of the proceeds of

                      the purported “redemption” were transferred on the very same day (i.e.18

                      November 2016) from the Plaintiff to KFG and KFA for the purported “loans”

                      referred to in paragraph 51(4) herein. Paragraph 49 herein is repeated.

                 (11) The 1st, 2nd and/or 3rd Defendants systematically effected the Diversion

                      through numerous deposits into and withdrawals from the Plaintiff’s DBS

                      Account (USD) over more than 27 months between 29 December 2015 and 6

                      April 2017. Paragraph 49 herein is repeated. By April 2017, the funds in the

                      Plaintiff’s DBS Account (USD) had been almost entirely depleted and only a

                      balance of USD 5,793.53 remained as of 30 April 2017. Paragraph 50 herein

                      is repeated.

                 (12) On or about 12 December 2016, the 1st, 2nd and/or 3rd Defendants caused

                      Shenzhen Guotai to resolve to distribute a “bonus dividend” of RMB 50 million

                      to Nations Investment. Some part of the monies were in fact paid out of the

                      RMB 200 Million Investment made by Nations Investment, and not genuine

                      returns on genuine investment carried out by Beijing Khan through Shenzhen

                      Guotai and, by extension, the Plaintiff.
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            IV.   FURTHER INVESTMENT INTO SHENZHEN GUOTAI



            52.   On or around 29 February 2016, the Board of Directors of Nations resolved to invest

                  a further RMB 200 million into Shenzhen Guotai through Nations Investment.



            53.   Accordingly:



                  (a)   By a Further Investment Agreement dated 25 March 2016, Nations Investment

                        agreed to, inter alia, invest a further RMB 200 million into Shenzhen Guotai on

                        substantially similar terms as under the Partnership Agreement.

                  (b)   By a Supplemental Partnership Agreement Regarding Shenzhen Guotaiqixing

                        Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 March 2016

                        between Nations Investment and SQKFM, SQKFM provided a guarantee to

                        Nations Investment for the further investment of RMB 200 million with a return

                        on investment of 5% per annum.

                  (c)   In pursuance of the Further Investment Agreement, on or about 4 July 2016,

                        Nations Investment paid the sum of RMB 200 million to Shenzhen Guotai (the

                        “RMB 200 Million Investment”).



            V.    EVENTS LEADING TO THE 1ST, 2ND AND 3RD DEFENDANTS ABSCONDING IN

                  NOVEMBER 2017



            54.   Beginning in late 2016, evidence of the 1st, 2nd and 3rd Defendants’ misconduct

                  began to come to light.



            55.   In around December 2016, Shenzhen Huilong Certified Public Accountants (General

                  Partnership) (“Huilong CPA”) carried out a routine audit of Shenzhen Guotai for the
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                  period 1 January 2016 to 30 November 2016. Following the audit, Huilong CPA

                  issued an Audit Report dated 21 December 2016, which bore the stamp of the 2nd

                  Defendant as the legal representative of Shenzhen Guotai (the “Audit Report”).



            56.   The audit revealed that;



                  (a)   apart from its subscription to the Plaintiff’s shares, Shenzhen Guotai had only

                        invested RMB 120 million into derivatives trading through 中国国际期货有限

                        公司 (also known as China International Futures Co., Ltd.);

                  (b)   SQKFM owed RMB 196,344,553.50 to Shenzhen Guotai; and

                  (c)   Shenzhen Guotai owed RMB 82,370,561.25 to SQKFM.



            57.   By an email dated 12 January 2017, Nations received a copy of the Audit Report

                  from SQKFM. Thereafter, Nations sought clarification from the 1st, 2nd and/or 3rd

                  Defendants as to:



                  (a)   whether and which investments into the CROs in the US and EU that was the

                        basis of the original proposal for investment had been made by the 1st

                        Defendant; and

                  (b)   the nature of the monies owed by SQKFM to Shenzhen Guotai and vice versa.



            58.   Nations did not receive any satisfactory clarification to its queries. Accordingly, in

                  around mid-2017, Nations proposed that there be a change to the structure of its

                  investment in Shenzhen Guotai to ensure better governance of its investment. In

                  order to stall any action by Nations, the 1st Defendant purported to agree to Nations’
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                  proposal, and represented that he would return to China in end-2017 to discuss

                  further details of the proposal with Nations.



            59.   Paragraph 48(4) herein is repeated. In the Complaint dated 24 April 2017, which was

                  and is a publicly accessible document, Mr Polite asserted that the 1st Defendant had

                  been using KFA’s funds for his own personal use, such as paying rent and

                  purchasing furniture, that contracts with foreign entities (i.e. outside of the US) were

                  repeatedly breached by shortfalls in payments which KFA ignored, and that it

                  appeared that KFA was being used for money laundering.



            60.   As the evidence of their misconduct began to come to light, the 1st, 2nd and/or 3rd

                  Defendants took steps to abscond from China and to reside in a jurisdiction outside

                  of China.



                                                     PARTICULARS



                  (1)   On or about 21 November 2016, the 1st Defendant incorporated Daibenewise

                        Limited in the Cayman Islands (“Daibenewise”). At all material times, the 1st

                        Defendant was the sole shareholder and controller of Daibenewise. On or

                        about, the 1st Defendant used Daibenewise as a vehicle to purchase the

                        property at 249 Cleft Rd, Mill Neck, New York 11765-1003 (Nassau County)

                        in the US. This is the property at which the 1st Defendant now resides. The 1st

                        Defendant used Daibenewise to purchase the property in order to conceal his

                        ownership of the property.

                  (2)   Beginning from around early-2017, the 1st, 2nd and/or 3rd Defendants carried

                        out or caused to be carried out investigations into visa and immigration
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                        requirements for, and regulations surrounding the setting up of family trusts in,

                        diverse territories including the US, Korea and New Zealand.

                        (a)   In around January 2017, the 2nd Defendant instructed an employee of

                              the Plaintiff to carry out research on Korean citizenship requirements.

                        (b)   In around February 2017, a law firm in New York, Wildes & Weinberg,

                              P.C., was engaged by the 1st, 2nd and/or 3rd Defendants to provide

                              advice on how to obtain a visa for residence in the US, and to make one

                              or more applications for the same.

                        (c)   In around May 2017, the 2nd Defendant instructed an employee of the

                              Plaintiff to carry out research on immigration to the US.

                        (d)   In around July 2017, the 1st, 2nd and/or 3rd Defendants inquired with a

                              law firm in New York, Kleinberg, Kaplan, Wolff & Cohen, P.C., as to

                              setting up a domestic hedge fund in the US in order to obtain a visa for

                              residence in the US.

                        (e)   In around September 2017, the 2nd Defendant instructed an employee

                              of the Plaintiff to carry out research on how to set up an irrevocable

                              family trust in the US, and to source for lawyers who would be able to

                              carry out such work.

                        (f)   Notes on obtaining permanent residence in New Zealand were also

                              found in an undated document recovered in the course of the ongoing

                              investigations, from a computer seized from the Plaintiff’s office that was

                              used by the 2nd Defendant.



            61.   In around July 2017, the 1st Defendant was issued with an EB-1 visa permitting him

                  to reside in the US.
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            62.   From around 3 to 16 November 2017, Nations wrote to the 2nd Defendant to request

                  an update on the payment of investment returns for the year ending 2017. The 2nd

                  Defendant falsely represented to Nations that Shenzhen Guotai was calculating the

                  amount of investment returns to be paid.



            63.   On around 11 November 2017, the 1st Defendant announced that he would be

                  shutting down a Wechat group which he used to communicate with investors and

                  potential investors. Subsequently, the 1st Defendant became in communicado and

                  could not be reached by Wechat or otherwise.



            64.   After around 16 November 2017, the 2nd and 3rd Defendants also became in

                  communicado and could not be reached by Wechat or otherwise.



            65.   In around end-November 2017, Nations discovered that the Khan Entities including

                  SQKFM and Shenzhen Guotai had vacated their offices in Shenzhen in early-

                  November 2017.



            66.   The 1st and 2nd Defendants thereafter also ceased to carry out duties or functions

                  owed to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                  November 2017.



            D.    SGKFM’S OCCUPATION OF THE PLAINTIFF’S PREMISES



            67.   Paragraph 27(i) herein is repeated. At all material times:



                  (a)   the 1st, 2nd and 3rd Defendants were and are directors of SGKFM;

                  (b)   SGKFM’s registered address was the Plaintiff’s Office Premises; and
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                  (c)     the 1st and 2nd Defendants transacted business for SGKFM from the Plaintiff’s

                          Office Premises.



            68.   The 1st and 2nd Defendants did not require, and the 1st, 2nd and 3rd Defendants did

                  not procure, that SGKFM pay the Plaintiff or any other person for the use of the

                  Plaintiff’s Office Premises. At all material times, the rental and service charges for

                  the Plaintiff’s Office Premises were entirely paid by the Plaintiff.



            69.   The aggregate amount of rental and service charges paid by the Plaintiff for the

                  period from 31 March 2016 to 30 November 2017 was SGD 290,153.97.



                                                      PARTICULARS



                   Year         Month                             Amount paid by the Plaintiff (SGD)
                   2016         March (only 30th and 31st)                          932.97 (pro-rated)
                                April                                                       14,461.05
                                May                                                         14,461.05
                                June                                                        14,461.05
                                July                                                        14,461.05
                                August                                                      14,461.05
                                September                                                   14,461.05
                                October                                                     14,461.05
                                November                                                    14,461.05
                                December                                                    14,461.05
                   2017         January                                                     14,461.05
                                February                                                    14,461.05
                                March                                                       14,461.05
                                April                                                       14,461.05
                                May                                                         14,461.05
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                   Year         Month                           Amount paid by the Plaintiff (SGD)
                                June                                                       14,461.05
                                July                                                       14,461.05
                                August                                                     14,461.05
                                September                                                  14,461.05
                                October                                                    14,461.05
                                November                                                   14,461.05



            E.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST DEFENDANT: BREACHES OF

                  DUTIES



            70.   By reason of the matters set out in paragraphs 27 to 66 herein (i.e. the Diversion),

                  the 1st Defendant was in breach of his fiduciary duties (including statutory duties

                  under section 157 of the Companies Act) to the Plaintiff. As a result, the Plaintiff has

                  suffered loss and damage for which the 1st Defendant is liable.



                                                  PARTICULARS



                  (1)     The net amount of loss suffered by the Plaintiff in this respect is USD

                          34,264,935.99. Paragraph 49 herein is repeated.



            70A. The 1st Defendant is liable, as a constructive trustee, to account to the Plaintiff for

                  the sum of USD 34,264,935.99 received in the bank accounts set out above, on the

                  ground of his breach of fiduciary duties as set out above.



            70B. Further and/or alternatively, the Plaintiff is entitled to trace the sum of USD

                  34,264,935.99 received in the bank accounts set out above into any traceable
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                  product and claims a beneficial interest in, alternatively an equitable lien over, that

                  traceable product, which the 1st Defendant holds on trust for the Plaintiff.



            71.   By reason of the matters set out in paragraphs 67 to 69 herein (i.e. SGKFM’s

                  occupation of the Plaintiff’s premises), the 1st Defendant was in breach of his

                  fiduciary duties (including statutory duties under section 157 of the Companies Act)

                  to the Plaintiff. As a result, the Plaintiff has suffered loss and damage for which the

                  1st Defendant is liable.



                                                  PARTICULARS



                  (1)    The rental and service charges paid by the Plaintiff for the period from 31

                         March 2016 to 30 November 2017 that SGKFM should have paid for the use

                         of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                         68 herein is repeated.



            F.    THE PLAINTIFF’S CLAIMS AGAINST THE 2ND DEFENDANT: BREACHES OF

                  DUTIES



            72.   By reason of the matters set out in paragraphs 27 to 66 herein (i.e. the Diversion),

                  the 2nd Defendant was in breach of her contractual duties and/or fiduciary duties

                  (including statutory duties under section 157(2) of the Companies Act) to the Plaintiff.

                  As a result, the Plaintiff has suffered loss and damage for which the 2nd Defendant

                  is liable.
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                                                 PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.



            73.   By reason of the matters set out in paragraphs 67 to 69 herein (i.e. SGKFM’s

                  occupation of the Plaintiff’s premises), the 2nd Defendant was in breach of her

                  contractual duties and/or fiduciary duties (including statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff. As a result, the Plaintiff has suffered

                  loss and damage for which the 2nd Defendant is liable.



                                                 PARTICULARS



                  (1)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            G.    THE PLAINTIFF’S CLAIMS AGAINST THE 2ND AND 3RD DEFENDANTS:

                  DISHONEST ASSISTANCE



            74.   By reason of the matters set out in paragraphs 27 to 69 herein (i.e. the Diversion),

                  the 2nd and 3rd Defendants dishonestly assisted the 1st Defendant’s breaches of his

                  fiduciary duties owed to the Plaintiff. The breaches of the 1st Defendant’s fiduciary

                  duties are set out in paragraphs 70 and 71 herein.
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            75.   The 2nd and 3rd Defendants had assisted in or procured the aforesaid breaches of

                  the 1st Defendant’s fiduciary duties in that:



                  (a)   As persons holding executive positions in or otherwise controlling Beijing

                        Khan, Shenzhen Guotai, KOM, KFG and KFA, the 2nd and 3rd Defendants

                        assisted in, procured and/or omitted to prevent the transfers made pursuant to

                        the Diversion, which did not benefit but were detrimental to the Plaintiff.

                        Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 2nd and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.

                  (c)   As persons holding executive positions or controlling the Plaintiff and SGKFM,

                        the 2nd and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person. Paragraphs 67 to 69 herein are repeated.



            76.   The 2nd and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 1st Defendant were dishonest in that:



                  (a)   Paragraphs 75(a), 75(b) and 75(c) herein are repeated.

                  (b)   The 2nd and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light. Paragraph 60 herein is repeated.

                  (c)   The 2nd and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.
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                  (d)   The 2nd Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017. Paragraph 66 herein is repeated.



            77.   As a result, the Plaintiff has suffered loss and damage.



                                                  PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.

                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            H.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST AND 3RD DEFENDANTS:

                  DISHONEST ASSISTANCE



            78.   By reason of the matters set out in paragraphs 27 to 69 herein, the 1st and 3rd

                  Defendants dishonestly assisted the 2nd Defendant’s breaches her fiduciary duties

                  against the Plaintiff. The breaches of the 2nd Defendant’s fiduciary duties are pleaded

                  in paragraphs 72 and 73 herein.



            79.   The 1st and 3rd Defendants had assisted in or procured the aforesaid breaches of the

                  2nd Defendant in that:
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                  (a)   As persons holding executive positions in or otherwise controlling the Plaintiff,

                        Beijing Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st and 3rd

                        Defendants assisted in, procured and/or omitted to prevent the transfers made

                        pursuant to the Diversion, which did not benefit but were detrimental to the

                        Plaintiff. Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 1st and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.

                  (c)   As person holding executive positions or controlling the Plaintiff and SGKFM,

                        the 1st and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person. Paragraphs 67 to 69 herein are repeated.



            80.   The 1st and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 2nd Defendant were dishonest in that:



                  (a)   Paragraphs 79(a), 79(b) and 79(c) herein are repeated.

                  (b)   The 1st and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light. Paragraph 60 herein is repeated.

                  (c)   The 1st and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.

                  (d)   The 1st Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017. Paragraph 66 herein is repeated.
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            81.   As a result, the Plaintiff has suffered loss and damage.



                                                  PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.



                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.



            I.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST, 2ND AND 3RD DEFENDANTS:

                  CONSPIRACY BY LAWFUL AND UNLAWFUL MEANS



                  (1)   Lawful Means Conspiracy



            82.   The 1st, 2nd and 3rd Defendants wrongfully and with the predominant purpose of

                  injuring the Plaintiff conspired and combined together to injure the Plaintiff by lawful

                  means by:



                  (a)   effecting the Diversion pleaded in paragraph 49 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person as pleaded in

                        paragraphs 67 to 69 herein.
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            83.   The 1st, 2nd and 3rd Defendants intended to cause damage to the Plaintiff in that they

                  intended that:



                  (a)   the monies that were transferred from Shenzhen Guotai to the Plaintiff for the

                        subscription of the Plaintiff’s shares referred to in paragraph 47(d) herein

                        would not be used for the benefit of the Plaintiff but were to be diverted from

                        the Plaintiff to the 2e Defendant or the various Khan Entities for their own

                        benefit pursuant to the Diversion. Paragraphs 9 to 18, 27 to 30, 47 to 50 and

                        51 herein are repeated; and

                  (b)   the Plaintiff’s Office Premises would not be used for the benefit of the Plaintiff

                        but was to be used for the benefit of SGKFM and, by extension, the 1st, 2nd

                        and/or 3rd Defendants’ own benefit. Paragraphs 10, 16 and 30 herein are

                        repeated.



            84.   The common intention of the 1st, 2nd and 3rd Defendants may be seen from the

                  matters pleaded in paragraphs 27 to 69 herein. In particular:



                  (a)   As persons holding executive positions or controlling the Plaintiff, Beijing

                        Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st, 2nd and 3rd Defendants

                        knew or ought to have known of the transfers made pursuant to the Diversion.

                        Paragraphs 9 to 18, 27 to 30, 47 to 50 and 51 herein are repeated.

                  (b)   The 1st, 2nd and 3rd Defendants took steps to conceal the nature and existence

                        of the Diversion and gave the false impression that the monies transferred out

                        of the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments. Paragraph 51 herein is repeated.
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                  (c)   The 1st, 2nd and 3rd Defendants took steps to abscond from China and to reside

                        in a jurisdiction outside China as evidence of their misconduct began to come

                        to light. Paragraph 60 herein is repeated.

                  (d)   The 1st, 2nd and 3rd Defendants became in communicado since November

                        2017 and absconded from China in late 2017. Paragraphs 61 to 66 herein are

                        repeated.

                  (e)   The 1st, 2nd and 3rd Defendants thereafter also ceased to carry out duties or

                        functions owed to the Plaintiff, and did not return to the Plaintiff’s Office

                        Premises after around November 2017. Paragraph 66 herein is repeated.

                  (f)   As persons holding executive positions in or otherwise controlling the Plaintiff

                        and SGKFM, the 1st, 2nd and 3rd Defendants knew or ought to have known that

                        SGKFM was occupying the Plaintiff’s Office Premises without payment to the

                        Plaintiff or any other person. Paragraphs 67 to 69 herein are repeated.



                  (2)   Unlawful Means Conspiracy



            85.   Further or in the alternative to paragraph 81(1) herein, the 1st, 2nd and 3rd Defendants

                  wrongfully and with intent to injure the Plaintiff by unlawful means conspired and

                  combined together to injure the Plaintiff by:



                  (a)   effecting the Diversion pleaded in paragraph 49 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person as pleaded in

                        paragraphs 67 to 69 herein.



            86.   Paragraphs 83 and 84 herein are repeated.
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            87.   The unlawful means referred to in paragraph 85 are:



                  (a)   the 1st Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157 of the Companies Act) to the Plaintiff, which are pleaded to

                        in paragraphs 70 and 71 herein;

                  (b)   the 2nd and 3rd Defendants’ dishonest assistance of the 1st Defendant’s

                        breaches, which is pleaded to in paragraphs 74 and 77 herein;

                  (c)   the 2nd Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157(2) of the Companies Act) to the Plaintiff, which are pleaded

                        to in paragraphs 72 and 73 herein; and/or

                  (d)   the 1st and 3rd Defendants’ dishonest assistance of the 2nd Defendant’s

                        breaches, which is pleaded to in paragraphs 78 and 81 herein.



            88.   By reason of the matters set out in paragraphs 82 to 87 herein, the Plaintiff has

                  suffered loss and damage.



                                                   PARTICULARS



                  (1)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99. Paragraph 49 herein is repeated.



                  (2)   The rental and service charges paid by the Plaintiff for the period from 31

                        March 2016 to 30 November 2017 that SGKFM should have paid for the use

                        of the Plaintiff’s Office Premises, amounting to SGD 290,153.97. Paragraph

                        68 herein is repeated.
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            J.    RELIEFS



            AND THE PLAINTIFF CLAIMS:



            (1)   As against the 1st Defendant, for the breaches of the 1st Defendant’s fiduciary duties

                  (including statutory duties under section 157 of the Companies Act):

                  (a)   pursuant to paragraphs 70, 70A and/or 70B herein,:

                        (i)     a declaration that the 1st Defendant is liable to account to the Plaintiff for

                                the sum of USD 34,264,935.99 received in the bank accounts set out

                                above, on the ground of his breaches of fiduciary duties;

                        (ii)    an order that the 1st Defendant pay to the Plaintiff the amount of USD

                                34,264,935.99; and

                        (iii)   further and/or alternatively, a declaration that the Plaintiff is entitled to

                                trace the sum of USD 34,264,935.99 received in the bank accounts set

                                out above into any traceable product and claims a beneficial interest in,

                                alternatively an equitable lien over, that traceable product, which the 1st

                                Defendant holds on trust for the Plaintiff;

                  (b)   pursuant to paragraph 71 herein the amount of SGD 290,153.97;

                  (c)   further or in the alternative to Reliefs 1(a) and 1(b) above, equitable

                        compensation / damages to be assessed for breaches of the 1st Defendant’s

                        fiduciary duties (including statutory duties under section 157 of the Companies

                        Act) owed to the Plaintiff.



            (2)   As against the 2nd Defendant, for the breaches of the 2nd Defendant’s contractual

                  duties and/or fiduciary duties (including statutory duties under section 157(2) of the

                  Companies Act):

                  (a)   pursuant to paragraph 72 herein, the amount of USD 34,264,935.99;

                  (b)   pursuant to paragraph 73 herein, the amount of SGD 290,153.97; and
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                  (c)   further or in the alternative to Reliefs 2(a) and 2(b) above, equitable

                        compensation / damages to be assessed for breaches of the 2nd Defendant’s

                        contractual duties and/or fiduciary duties (including statutory duties under

                        section 157(2) of the Companies Act) owed to the Plaintiff.



            (3)   As against the 2nd and 3rd Defendants, for the 2nd and 3rd Defendants’ dishonest

                  assistance of the 1st Defendant’s breaches of fiduciary duties (including statutory

                  duties under section 157 of the Companies Act):

                  (a)   pursuant to paragraphs 74 to 77 herein, the sums of USD 34,264,935.99 and

                        SGD 290,153.97 for the 2nd and 3rd Defendants’ dishonest assistance of the

                        1st Defendant’s breaches; and

                  (b)   further or in the alternative to Relief 3(a) above, equitable compensation /

                        damages to be assessed for the 2nd and 3rd Defendants’ dishonest assistance

                        of the 1st Defendant’s breaches.



            (4)   As against the 1st and 3rd Defendants, for the 1st and 3rd Defendants’ dishonest

                  assistance of the 2nd Defendant’s breaches of fiduciary duties (including statutory

                  duties under section 157(2) of the Companies Act):

                  (a)   pursuant to paragraphs 78 to 81 herein, the sums of USD 34,264,935.99 and

                        SGD 290,153.97 for the 1st and 3rd Defendants’ dishonest assistance of the

                        2nd Defendant’s breaches; and

                  (b)   further or in the alternative to Relief 4(a) above, equitable compensation /

                        damages to be assessed for the 1st and 3rd Defendants’ dishonest assistance

                        of the 2nd Defendant’s breaches.



            (5)   As against the 1st, 2nd and 3rd Defendants:

                  (a)   pursuant to paragraphs 82 to 84 and 88 herein, in the tort of conspiracy by

                        lawful means, the sums of USD 34,264,935.99 and SGD 290,153.97;
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                  (b)   in the alternative to Relief 5(a) above, damages to be assessed for conspiracy

                        by lawful means to injure the Plaintiff; and

                  (c)   further or in the alternative to Reliefs 5(a) and 5(b) above:

                        (i)    pursuant to paragraphs 85 to 88 herein, in the tort of conspiracy by

                               unlawful means the sums of USD 34,264,935.99 and SGD 290,153.97;

                               and

                        (ii)   in the alternative to Relief 5I(i) above, damages to be assessed for

                               conspiracy by unlawful means to injure the Plaintiff.



            (6)   Further to Reliefs 1 to 5 above, as against the 1st, 2nd and 3rd Defendants:

                  (a)   interest;

                  (b)   costs; and

                  (c)   such further or other relief as this Honourable Court deems fit.



                                       Dated this 27th day of October 2020

                                     Re-dated this 12th day of December 2022




                                                                _______________________________
                                                                          Solicitors for the Plaintiff
                                                                              Ark Law Corporation
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                                  EXHIBIT 3
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             Date :       14 September 2020
             Our ref.:    14744




              Certification of Translation Accuracy
             To whom it may concern:

             LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD, an ISO 17100:2015 certified
             professional translation company, do hereby certify that the translation of the attached
             document(s) was executed by a professional translator competent to translate and
             review from Chinese into English in accordance with the requirements set out in the
             ISO 17100 standard (International Standard for Translation Services), and is to the best
             of our professional knowledge and belief, a true and faithful rendering of the original
             document(s) in Chinese.




             _________________________
             Loh Wai Wah
             Corporate Development Manager
             for and on behalf of LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD
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               Shenzhen Guotaiqixing Industry Investment Fund Management Centre

                                      (Limited Partnership)




                       Partnership Agreement
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             Signatories to the Agreement:


             General Partner:

                   Name:        Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd

                   Address: 0801-1, 8th Floor, Block 17, 17-A, 17-B, 17-C, 17-D, 17 Financial Street,
                                Xicheng District, Beijing

                   Legal Representative: Huang Chao



             Limited Partner (1):

                   Name:        Shenzhen Qianhai Nations Investment Management Co., Ltd

                   Address: Room 201, Building A, No. 1, Qianwan 1st Road, Qianhai Shenzhen-Hong
                                Kong Cooperation Zone, Shenzhen (with Shenzhen Qianhai Commerce
                                Secretariat Co., Ltd.)

                   Legal Representative: Luo Zhaoxue
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             1.     Definitions

                    In this document, unless otherwise stated, the following terms shall have the respective
             definitions:

             This Agreement: Refers to the Shenzhen Guotaiqixing Industry Investment Fund Centre
             (Limited Partnership) Partnership Agreement and its amendments or revised versions that have
             been approved through due process.

             Partnership or Limited Partnership: Refers to the Limited Partnership established in This
             Agreement in accordance with the Partnership Enterprise Law.

             Cash Management: Refers to all the cash assets of the Limited Partnership except for cash
             used for project investment purposes, including but not limited to investment monies,
             undistributed cash, and cash provisioned for expenses.

             Establishment Date: With regards to this Agreement, the date of issuance of the Partnership’s
             business license.

             Working Days: Refers to days other than the statutory holidays and rest days in China.

             Related Party: Refers to any person who has control, joint control, or significant influence
             over the entity, or who is controlled, jointly controlled, or significantly influenced by a person
             who is a related party. “Control” refers to having the right to determine the financial and
             operating policies of an enterprise, and being able to benefit from the business activities of the
             enterprise (for individuals, this refers to a relationship in which one party is accustomed to act
             in accordance with the instructions of another). “Joint control” refers to the shared control of
             an economic activity in accordance with the contract, which only exists when the important
             financial and operating decisions related to the economic activity require the unanimous
             consent of the investors who share control. “Significant influence” refers to the power to
             participate in the decision-making of an enterprise's financial and operating policies, but not
             the control or joint control of the formulation of these policies with other parties.
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             Management Fee: Refers to the payment for providing investment management services to
             the Partnership as a Manager, which is the remuneration that the Partnership pays to the
             Manager in accordance with the investment management agreement.

             Manager: The investment manager hired by the General Partner, in accordance with this
             Agreement.

             Partnership Enterprise Law: Refers to the Partnership Enterprise Law of the People's
             Republic of China, amended and adopted at the 23rd session of the Standing Committee of the
             10th National People's Congress of the People's Republic of China on August 27, 2006. The
             amended Partnership Enterprise Law of the People's Republic of China was promulgated and
             came into force as of 1 June 2007.

             Partnership Rights: Refers to all the rights and interest of the partners in this Partnership in
             accordance with this Agreement. With regards to the Limited Partner, this includes but is not
             limited to the subscribed capital contribution, the paid capital contribution, the financial
             contribution received based on the paid-in capital contribution, including the right to obtain
             distribution in accordance with this Agreement. With regards to the General Partner, this
             includes but is not limited to the subscribed capital contribution, the paid-in capital contribution,
             the financial contribution received based on the paid-in capital contribution, including the right
             to obtain distribution, and the administrative and management rights to the Partnership in
             accordance with this Agreement.

             Partner(s): Unless otherwise stated, refers to the General Partner and Limited Partner.

             Quarter: Refers to a quarter in a calendar year.

             General Partner: Refers to Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd

             Executive Partner: Refers to Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd

             Limited Partner: Upon acceptance and ratification of the capital contribution to the
             Partnership by the General Partner in accordance with this Agreement, refers to the partner
             who bears limited liability for the debt of the Partnership enterprise with the amount of the
             capital contribution, as well as partners who join by accepting the Partnership interests of the
             original Limited Partners of this Partnership according to this Agreement.
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             Person(s): Refers to natural persons, Partnerships, companies and other legal or economic
             entities.

             Subscribed Capital Contribution: Refers to the contribution amount a Partner undertakes to
             pay to the Limited Partnership.

             Total Subscribed Capital: Refers to the total amount of capital all Partners undertake to pay.

             Paid-in Capital Contribution: Refers to the amount of capital contributions actually paid by
             the Partner to the Partnership, in accordance with the Agreement.

             Total Paid-in Capital: Refers to the total amount of capital contributions actually paid by all
             Partners to the Partnership, in accordance with the Agreement.

             Investment Period: Refers to the period commencing on the Establishment Date and expiring
             20 years from the date. Upon expiry of the business period, said period can be extended in
             accordance with the management requirements of the Limited Partnership, with agreement
             from all Partners.

             Portfolio Company: Refers to a company in which the Limited Partnership has invested
             directly or indirectly and holds its equity or other rights or interests.

             Escrow Agreement: Refers to the agreement entered into by the Partnership, the Manager and
             the custodian institution determined in accordance with this Agreement, regarding the custody
             of the Partnership’s enterprise funds (including the capital contributions paid by the partners to
             the Limited Partnership).

             Project Investment: Refers to investments such as equity share investments made by the
             Limited Partnership.

             Partnership Expenses: Refers to the expenses borne by the Partnership itself under this
             Agreement.

             Financial Terms: Unless otherwise stated, the monetary currency is to be Renminbi (RMB).

             In this Agreement, figures with the terms “above”, “within” and “below” are inclusive of the
             figure mentioned; figures with the terms “not including”, “excluding” and “higher than” are
             not inclusive of the figure mentioned.
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             2.     Partnership Establishment

                    With the exception of the parties listed in this Agreement, newly joined partners and
             parties who have received a share of capital contribution are all parties to this Agreement and
             are bound by the terms of this Agreement, unless all partners have signed a separate partnership
             agreement.

             2.1    Type of Partnership

                    All partners agree unanimously that the Partnership is a Limited Partnership, in
             accordance with the definition under the Partnership Enterprise Law of the People's Republic
             of China, comprising of a General Partner and Limited Partner. The General Partner has
             unlimited liability of the debt of the Partnership while the Limited Partner has limited liability
             of the Partnership debt, up to the amount of their investment.

             2.2    Basic Details of the Partnership

                    2.2.1   Partnership Name: Shenzhen Guotaiqixing Industry Investment Fund
                            Management Centre (Limited Partnership) (Working title; final name shall be
                            in accordance with the business registration with the Department of Industry
                            and Commerce).

                    2.2.2   Place of Business: Room 201, Block A, Qianhai Shenzhen-Hong Kong
                            Cooperation Zone Management Bureau Office Building, 1 Liyumen Street,
                            Qianwan 1st Road, Qianhai Shenzhen-Hong Kong Cooperation Zone,
                            Shenzhen (with Shenzhen Qianhai Commerce Secretariat Co., Ltd.)

                    2.2.3   Business Scope: Investment management (excluding restricted projects), equity
                            investment funds, equity investment fund management, investment and
                            establishment in projects (specific projects to be reported separately),
                            investment consulting (excluding restricted projects), investment consultant
                            (excluding restricted projects).

                    2.2.4   Partnership period: The business period of the Partnership is 20 years. Upon
                            expiry of the business period, the decision to extend as well as the duration of
                            extension shall be determined through unanimous agreement from all Partners.
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             2.3    Partners

                    This Partnership shall comprise of not more than 50 Partners, with 1 General Partner,
             and no more than 49 Limited Partners.

                    2.3.1   General Partner

                            Name: Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd

                            Address: 0801-1, 8th Floor, Block 17, 17-A, 17-B, 17-C, 17-D, 17 Financial
                            Street, Xicheng District, Beijing

                            Document Name: Business License

                            Document Number: 11010102019662188

                    2.3.2   Limited Partner (1)

                            Name: Shenzhen Qianhai Nations Investment Management Co., Ltd

                            Address: Room 201, Building A, No. 1, Qianwan 1st Road, Qianhai
                            Shenzhen-Hong Kong Cooperation Zone, Shenzhen (with Shenzhen Qianhai
                            Commerce Secretariat Co., Ltd.)

                            Document Name: Business License

                            Document Number: 914403003498822023

             2.4    Partnership Purpose

                    Share in the returns of the rapidly developing mergers and acquisitions (M&A)
             investment market by combining capital advantage and the advantages of professional
             investment and management.
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             2.5    Investment Purpose

                    The purpose of the Partnership is to invest in equity/debt and/or other investments that
             conform with legal regulations and this Agreement.

             2.6    Basic Management Structure

                    2.6.1   Within the duration of the Partnership, the type of partnership cannot be
                            changed; meetings of the Partnership will not have the right to resolve against
                            this.

                    2.6.2   The General Partner and Limited Partner of this Partnership cannot be
                            exchanged.

                    2.6.3   Cash Management Mechanism: With the exception of investments in projects
                            to meet the investment target, all cash assets of the Limited Partnership
                            (including but not limited to cash to be invested, cash to be distributed and cash
                            reserved for expenses) shall only be managed in the form of cash, and cannot
                            be used for other investments in fixed assets.

                    2.6.4   Investment Exit Mechanism: The Executive Partner and Manager shall strive to
                            maximise the interests of the Partnership based on the principle of good faith,
                            to arrange for the Partnership to withdraw from previously invested projects, as
                            permitted by the law, before the expiration of the Partnership’s business period.
                            The investment exit strategies mainly involve investment project liquidation,
                            equity transfer and equity repurchase. If the pre-determined exit strategies
                            cannot be realised, the Executive Partner and Manager shall adopt other suitable
                            exit strategy methods.

                    2.6.5   Independent    Management      Mechanism:        The   Executive   Partner   shall
                            independently manage the daily operations of the Partnership, and the Limited
                            Partners may not participate nor interfere.

                    2.6.6   Independent Investment Decision-Making Mechanism: The Executive Partner
                            shall make investment decisions independently for the Partnership, and the
                            Limited Partners may not participate nor interfere.
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             3.     Investment

             3.1    Total Investment

                    This Partnership aims to raise RMB 2 billion in total capital, of which:

                    the General Partner, Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd
                    undertakes to contribute RMB 500,000;

                    and the Limited Partner (1), Shenzhen Qianhai Nations Investment Management
                    Co., Ltd undertakes to contribute RMB 300 million.

                    The remaining capital contribution shall be raised in instalments within 3 years through
             the operation and project investments of the Partnership.

             3.2    Type of Investment

                    The capital contributions of all partners of this Partnership is in the form of currency,
             with the currency being Renminbi (RMB).

             3.3    Subscription Agreement

                    The minimum subscribed capital of the Limited Partner is RMB 10 million, and may
             be increased in increments of RMB 1 million, but the General Partner may adjust the amount
             based on their independent judgement.

             3.4    Payment Schedule

                    Upon signing this Agreement, the Partners shall pay the subscribed capital in a timely
             manner, within 7 working days after the Executive Partner sends the payment notice, in
             accordance with the time and payment amount specified in the payment notice.

                    Partners who fail to pay their contributions on time are given a 30-day grace period,
             with a late payment fee of 1/1000th of the amount overdue calculated daily for overdue charges.
             Those who have paid their contributions within the grace period are not liable for breach of
             contract.
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                    The capital contribution of a new Partner should be paid in accordance with the terms
             agreed upon with the new Partner and at the request of the Executive Partner, after the General
             Partner had made the decision to approve the new Partner.

             4.     Limited Partner

                    Refers to the Partner, whose capital contribution to the Partnership is accepted by the
             General Partner, and who signs this Agreement, with limited liability for the debt of the
             Partnership, based on the amount of capital contribution subscribed, through the transfer of the
             original Partner equity in accordance with this Agreement.

             4.1    Rights of Limited Partners

                     4.1.1   To participate or appoint a representative to participate in a Partner Meeting
                             and exercise their voting rights in accordance with the actual contributions.

                     4.1.2   To personally, or appoint a representative, review the meeting minutes and
                             audit financial summaries.

                     4.1.3   To understand and supervise the operational status of the Limited Partnership,
                             and make reasonable opinions.

                     4.1.4   To have rights to income distribution.

                     4.1.5   To transfer capital, but within the restrictions of this Agreement.

             4.2    Obligations of Limited Partners

                    4.2.1    Limited Partners shall bear limited liability for the debts of the Partnership, up
                             to the amount of their subscribed capital contributions.

                    4.2.2    To make full payment of the capital on time in accordance with the conditions
                             and methods stated in this Agreement. If the Limited Partner is unable to make
                             payment to the Partnership on time, the Limited Partner shall be liable for
                             breach of contract in accordance with the relevant provisions of this Agreement,
                             including but not limited to adjusting the proportion of capital contributions
                             among the Partners accordingly.
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                   4.2.3   Except when expressly stated within the rights and obligations of this
                           Agreement, the Limited Partner shall not participate in or interfere in the
                           normal operation and management of the Partnership.

                   4.2.4   Except as required by law, regulations and rules, the Limited Partner shall only
                           use all information provided by the General Partner to Limited Partners for
                           partnership-related matters, and shall not disclose such information to third
                           parties or use it for business activities not related to the Partnership. The
                           General Partner has the right to hold Limited Partners responsible for breaching
                           confidentiality obligations in their own name or in the name of the Partnership.

                   4.2.5   The Limited Partner shall not be involved in the management of the Partnership.

             4.3   Liability of the Limited Partner for Breach of Contract

                   4.3.1   If a Limited Partner conducts a transaction with another person in the name of
                           the Partnership without authorisation and causes losses to the Partnership or
                           other partners, the Limited Partner shall be liable for compensation.

                   4.3.2   The Limited Partner shall not represent the Partnership if not executing
                           business pertaining to the Partnership. If a Limited Partner violates the terms
                           of this Agreement and participates in business management, he shall bear
                           unlimited joint and several liability for the Partnership debt with the General
                           Partner on the participation matters.

                   4.3.3   The following acts of a Limited Partner shall not be regarded as executing
                           Partnership matters:

                           1)   Participating in the decision of the joining and termination of the General
                                Partner.

                           2)   Making reasonable suggestions for the management of the Partnership.

                           3)   Reviewing Partnership financial information, such as accounting books,
                                in matters involving their own self-interest.

                           4)   Claiming their rights or filing lawsuits against the responsible Partner
                                when the interests of the Partnership have been violated.
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                            5)    Urging the Executive Partner to exercise his rights when said Partner has
                                  neglected to exercise his rights.

                            6)    Provide guarantee to the Partnership, in accordance with the law.

             5.     Executive Partner

             5.1    The Executive Partner shall execute Partnership affairs on behalf of the Partnership, in
             accordance with this Agreement.

                    The Partnership authorises Managers to execute investment management, and shall pay
             management fees in accordance with this Agreement.

             5.2    Requirements of the Executive Partner

                    5.2.1   The Partner shall be the General Partner of this Partnership

                    5.2.2   To be fully aware of investment risks and be willing to assume the rights and
                            obligations of the Partnership for the duration of its existence.

                    5.2.3   Possess corresponding industry investment experience and good management
                            capabilities.

                    5.2.4   Not be prohibited by law to be an Executive Partner.

             5.3    Authority and Responsibilities of the Executive Partner

                    5.3.1   Executing investments and other businesses of the Partnership (including
                            project investment and cash management).

                    5.3.2   Administering, maintaining and disposing of Partnership assets, including but
                            not limited to investment assets, non-investment assets, intellectual property
                            rights, etc.

                    5.3.3   Performing all actions necessary to maintain the legal existence of the
                            Partnership and carrying out business activities in the name of the Partnership.
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                   5.3.4   In accordance with the Agreement, opening and maintaining bank accounts in
                           the name of the Partnership; issuing payment orders and other instruction from
                           these accounts to the bank; receiving capital contributions from the Limited
                           Partnership, investment income, cash generated from the disposal of project
                           investments, and any amounts received by the Limited Partnership that is to be
                           deposited into these accounts.

                   5.3.5   Employing, terminating and substituting professionals, intermediaries and
                           consultancies (including independent audit institutions) in the provision of
                           service to the Partnership, but the General Partner shall disclose relevant
                           matters in accordance with this Agreement.

                   5.3.6   All Partners unanimously agree that the Executive Partner has the right, within
                           reasonable judgement, to appoint a person who is not part of the Limited
                           Partnership as a Manager, and enter into investment management agreements,
                           but said Manager shall meet the conditions stipulated by the law and this
                           Agreement.

                   5.3.7   Selecting a banking institution and entering into an account opening agreement
                           (including account opening agreements entered into, on behalf of the
                           Partnership, before the Partnership was established).

                   5.3.8   In the case where a Limited Partner transfer his Partnership interest, reviewing
                           the transferee’s qualifications and approving the transfer in accordance with
                           the provisions of this Agreement.

                   5.3.9   Initiating or responding to litigation for arbitration purposes in the interest of
                           the Partnership; entering into actions such as negotiations or reconciliations in
                           disputes with third parties; taking all possible actions to protect the financial
                           safety of the Partnership, and minimise risks to the Limited Partner, General
                           Partner and property of the Partnership, arising from the activities of the
                           Partnership.
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                   5.3.10 Managing matters regarding taxes of the Partnership in accordance with state
                           taxation regulations.

                   5.3.11 Providing guarantee, assurance and compensation to investments that are in-
                           progress, holding and clearance, which the General Partner deems necessary
                           or appropriate.

                   5.3.12 Monitoring the performance of investment portfolio companies, and executing
                           all rights of the Partnership related to the portfolio companies.

                   5.3.13 Compensating in accordance with this Agreement, but the General Partner
                           shall disclose related matters in accordance with the regulations stipulated in
                           this Agreement.

                   5.3.14 Distributing to Partners in accordance with the terms of this Agreement.

                   5.3.15 Taking the necessary actions to realise the Partnership objectives, and maintain
                           and contest the rights of the Partnership.

                   5.3.16 Negotiating with other General Partners to determine the acceptance or
                           rejection of all or part of the subscribed capital and become a limited, refunded
                           Partnership, and to be liable for compensation according to law for any losses
                           caused to the Partnership enterprise or other partners.

                   5.3.17 If an Executive Partner is found to have broken the law or the terms of this
                           Agreement, and has brought losses to the investment projects of the
                           Partnership, he shall bear the related responsibility and be liable to
                           compensation.

                   5.3.18 The Executive Partner shall bear full liability for the Partnership if the
                           Partnership suffers losses due to non-executive partnership affairs.

             5.4   The Executive Partner shall be replaced if one of the following situations occurs:
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                     5.4.1    Removed for not performing duties.

                     5.4.2    Held criminally liable.

                     5.4.3    Death or loss of ability.

                     5.4.4    Business license revoked, ordered to be closed, revoked or declared bankrupt
                              according to law.

                     5.4.5    Unable to make payments on time due to debts.

                     5.4.6    Cause serious losses to the Partnership.

             5.5     The resolution to remove the Executive Partner shall be effective only after the
             unanimous consent of the other partners, and the resolution of removal shall be notified in
             writing to the person being removed. The removal shall become effective on the day the
             removed person receives notice of the removal, with the removed person withdrawn from the
             Partnership. If the removed person has objections to the resolution of removing, he may, within
             thirty (30) days from the date of receiving the removal notice, proceed with the dispute
             resolution process stipulated in this Agreement. After the Executive Partner is removed, the
             General Partner shall nominate other persons, who shall be elected in a Partner Meeting.

             5.6     The Executive Partner can independently decide to replace its appointed representative,
             but the Partnership shall be informed of the replacement by writing, with the necessary
             corporate registrations completed to facilitate replacement. The Partnership shall inform the
             Limited Partners of the change of the representative of the Executive Partner in a timely manner.

             6.      Authority to Make Investment Decisions

             6.1     The Executive Partner and Manager shall exercise the investment decision-making
             authority of the Partnership.

             6.2     The Executive Partner and Manager shall determine if the investment conditions of the
             projects are in line with the overall interest of the Partnership, and ultimately decide whether
             to invest.

             6.3     The Executive Partner and Manager shall make decisions with regards to the transfer
             and disposition of the Partnership’s investment assets, real estates held for various reasons, and
             intellectual property.
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             6.4    The Executive Partner and Manager shall make decisions with regards to other
             investment related matters of the Partnership.

             7.     Expenses of the Partnership

                    Partnership expenses are borne by the Partnership. The total expenditure incurred by
             the Partnership includes but is not limited to the expenses relating to the establishment,
             operation, termination, disbandment and liquidation, and the following fees, cost and
             overheads.

                    1)    Partnership Start-up Expenses

                          Start-up expenses include the establishment of the Partnership with the General
                          Partner, all reasonable expenses incurred, including opening expenditure, legal,
                          accounting consultancy fees, but does not include expenditures incurred by the
                          Limited Partners. Start-up expenses shall be borne by the Partnership. Expenses
                          paid by the Manager, General Partner or any persons prior to the establishment of
                          the Partnership shall be immediately reimbursed by the Partnership after
                          establishment.

                    2)    Government taxes, fees and other expenditures on the Partnership’s earning or
                          transactions, or on the Partnership’s earnings or assets.

                    3)    Management fees

                    4)    Fees incurred during the annual audit of the Partnership

                    5)    Bank account fees

                    6)    Expenses paid to third party for investment purposes

                    7)    Litigation and mediation costs

                    8)    Partnership daily operational overheads, based on market rates.
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             8.     Management Fees

             8.1    As consideration for the management of the Partnership and other services provided by
             the Manager, the parties agree that the Partnership shall pay the Manager a management fee
             with the funds in the custody account of the custodian institution during its existence as follows:

                    The management fee is based on the total amount of capital contributed by the Partners
             and is drawn at an annual rate of 2.0%.

                    The management fee is to be paid annually, and is charged starting on the day all
             partners fulfil their investment commitments, with a total of 365 days making up the year. The
             first management fee is to be paid within 10 days of all partners fulfilling their investment
             contributions, following which payments to the Manager shall be made on the 10 th day after
             every 365 days.

             8.2    The following expenses shall be borne by the General Partner or Manager, including
             the management fee charged:

                    1)    Start-up expenses by the General Partner or Manager

                    2)    Third party charges incurred by the General Partner or Manager during start-up

                    3)    Personnel expenses of the management team, including payroll, bonuses and
                          benefits, etc.

                    4)    Office rental, property management fees, water and electricity, communications
                          and office equipment costs for the General Partner and Manager.

                    5)    Daily operational costs for the General Partner and Manager.

                    6)    Costs associated with routine investigation for the purpose of investment projects,
                          including but not limited to financial, legal and industrial investigations.
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                    7)    Partnership meeting expenses (Excluding travel expenses, accommodations and
                          communication fees for all Limited Partners for the purposes of joining the
                          meeting).

             9.     Partnership Administration

             9.1    The custodial and Executive Partner of this Partnership shall be Beijing Genghis Khan
             Pharmaceutical Holdings Co., Ltd, with Huang Chao as the Executive Representative.
             Other managers are to be independently appointed by Beijing Genghis Khan Pharmaceutical
             Holdings Co., Ltd, and no Limited Partners shall interfere.

             9.2    Partner Meeting

             Partner meetings can be classified as regular meetings and extraordinary meetings. Regular
             meetings are held once a year while extraordinary meetings can be convened by Executive
             Partners or more than 30% of Limited Partners. Partner meetings are to be convened and
             chaired by the Executive Partner. To convene a partner meeting, the Executive Partner shall
             inform all Partners 7 days before the meeting date, and shall send the meeting agenda and
             voting matters to all partners.

             9.3    Partners shall vote on matters pertaining to the Partnership in accordance with the
             relevant provisions of the partner meeting. In the partner meeting, all Partners shall exercise
             their voting rights in accordance with the proportion of their respective capital contributions at
             the time of voting. Decisions made through voting during the Partner meeting must be passed
             with more than half the votes casts, unless otherwise stated according to the law, or in this
             Agreement.

             9.4    Partners may exercise their rights by signing off on the Partners’ decision (resolution)
             in writing, or in the form of an off-site meeting or on-site meeting. The partner meeting is a
             way for partners to exercise their rights under the Partnership Enterprise Law and Partnership
             Agreement, and is neither legally required nor a permanent fixture.
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             10.    Income Distribution and Loss Sharing

             10.1   Sources of Income

                    The Partnership sources of income come from investment project liquidation, equity
             transfer, equity repurchase and equity fund management.

             10.2   Principles and Methods of Income Distribution and Loss Sharing

                    10.2.1 During the business period of the Partnership, the income can be distributed
                            only under the premise of a realistic net profit. If there is no net profit, the
                            income cannot be distributed.

                    10.2.2 Under the premise of realistic net profit, the profit distribution right of the
                            Limited Partners has priority over the General Partners, and the Limited
                            Partners shall distribute the income according to the proportion of paid-in
                            capital.

                    10.2.3 Before the Limited Partner’s annual investment yield reaches 20%, the General
                            Partner shall not participate in the Partnership’s profit distribution. After the
                            Limited Partner’s annual investment return rate exceeds 20%, the Limited
                            Partner and General Partner’s income distribution ratio shall be 80%: 20%

             10.3   Loss Sharing

                    The losses of the Partnership within the total subscribed capital contribution shall first
             be borne by the General Partner's subscribed capital contribution. If the loss exceeds the
             General Partner's subscribed capital contribution, the Limited Partner shall bear the loss
             through their subscribed capital contribution

             10.4   Non-Cash Distribution

                    There will be no non-cash distribution for the duration of the business period of the
             Limited Partnership.
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             10.5    Upon expiry of the determined business period, if there remains unrealised assets, the
             partners shall discuss extending the business period appropriately, so that the Executive Partner
             can liquidate the assets of the Partnership, to distribute it according to the principles agreed
             upon.

             10.6    Income Tax

                     All partners shall pay income tax in accordance with state taxation laws.

                     In accordance with the Partnership Enterprise Law, the Limited Partnership is not the
             subject of income tax. Partners are to pay income tax according to their individual profits from
             the Partnership, in accordance with state taxation laws, with the exception of payment held by
             the Limited Partnership by relevant authorities.

             11.     Procedure for New Partners

                     The entry of a new Partner shall be agreed upon by the General Partner and the investor
             who intends to join, and the newly joined Limited Partner shall comply with the provisions of
             the laws and regulations on qualified investors, with an amount of capital contribution not less
             than the requirements of this Agreement.

                     Under the premise of not affecting the interests of the original Limited Partners, the
             General Partner may solely decide to accept the entry of the new Partner.

                     If the General Partner decides to accept the investment of the new Partner, they shall
             enter into a partnership agreement. During the confirmation of the partnership agreement, the
             General Partner shall truthfully inform the new Partner about the financial status of the
             Partnership and management outcome. The new Partner shall have the same rights as the
             original Limited Partner, as well as the same liability.

                     The new Limited Partner shall be liable for Partnership debts prior to the joining of the
             Partnership by the subscribed capital contribution.
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                    The new Limited Partner shall make payment of the capital according to the conditions
             and stipulations stated in this Agreement, or shall be liable for breach of contract in accordance
             with the relevant provisions of this Agreement.

                    If the General Partners decide to amend the Partnership Agreement, the Partnership
             shall arrange for accounts adjustments, registration of the relevant changes with the Department
             of Industry and Commerce, as well as the registration of the changes in the share of assets held,
             in accordance with the decision of the General Partners.

             12.    Withdrawal, Removal, Inheritance and Transfer of Rights

             12.1   A Partner may withdraw in the event of one of the following situations:

                     1)   The reason for withdrawal stated in this Agreement appears

                     2)   Unanimous agreement from all Partners

                     3)   Reasons which render a Partner unable to remain in partnership

                     4)   Other Partners have seriously violated their obligations under this Agreement.

             12.2    Procedure for Withdrawal

                    The Limited Partner shall inform the other Partner of his decision to withdraw 30 days
             prior to withdrawal. Except for statutory or reasons agreed upon in this Agreement, Limited
             Partners may not withdraw within a year of their investment.

                     Unless force majeure occurs or the dissolution and liquidation procedures are started,
             the General Partner may not withdraw from the Partnership.

             13.3    Automatic Withdrawal

                     A Partner is automatically withdrawn in the following situations:

                     1)   The Executive Partner is replaced in accordance with the terms of this Agreement

                     2)   The General Partner becomes unable to repay debts
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                     3)   The Legal Person or other organisation acting as the Partner has their business
                          license revoked, is ordered to shut down, or is declared bankrupt according to law.

                     4)   A Partner loses qualifications which is a prerequisite in accordance with statutory
                          requirements or in accordance with this Agreement.

                     5)   All the property of a Partner is seized by a People’s Court.

             13.4   Delisting

                    If a Partner has any of the following situations, the other Partners can resolve to remove
             said Partner upon their unanimous agreement:

                     1)   Does not perform their obligations as stipulated in his Agreement

                     2)   Intentionally or unintentionally causes major loss to the Partnership

                     3)   Conducts themselves inappropriately during the execution of Partnership
                          operations

                     4)   Occurrence of the reasons as stipulated in this Agreement

                    In the event of the abovementioned situations, the Partner shall be liable to compensate
             losses caused to other Partners.

                    The resolution to remove a partner shall be made in writing to the removed person. The
             removal shall become effective on the day the removed person receives the removal notice,
             with the removed person withdrawn from the Partnership. If the removed person has objections
             to the removal resolution, he may, within 30 days from the date of receiving the removal notice,
             proceed with the dispute resolution process stipulated in this Agreement.

             13.5    Liability of Withdrawn or Removed Partners

                    After the Limited Partner withdraws from the Partnership or is removed, the Partner
             shall be liable for the debts of the Partnership that occurred for the reasons before the
             withdrawal of the Partnership, based on the property recovered from the Partnership when the
             Partner withdrew.
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             13.6    Disposal of Property of Withdrawn or Removed Partners

                    When a Partner withdraws or is removed, the Executive Partner shall appoint an
             accounting agency to perform an audit of the net assets of the Partnership at the point of
             withdrawal or removal, and return the aforementioned Partner’s investment based on the
             investment ratio in the Partnership according to the audited net assets of the Partnership.

                    The auditing costs shall be borne by the withdrawing or removed Partner, and is to be
             paid out from the returned investment contributions at the point of withdrawal or removal.

                    The Partnership has the right to deduct all debts owed by the withdrawn or removed
             Partner to the Partnership and compensation due to the Partnership, prior to the return of
             investment contributions.

             13.7   Transfer of Rights

                    The transfer of the rights of the Partner to the other Partners, shall be made known to
             all Partners within 30 days. If other Partners agree to the transfer, the transferee shall negotiate
             with the transferrer as equals. If the negotiation fails, they will be transferred separately
             according to the proportion of capital contribution and go through the industrial and
             commercial registration procedures.

                    Partners transferring capital contributions to parties outside of this Partnership, must
             obtain approval from more than half of the Partners. Under the same conditions, the other
             Partners have the priority to purchase the approved amount of capital for transfer. If multiple
             Partners exercise their priority, refer to the Agreement in the preceding paragraph.

             13.    Accounting and Reporting

             13.1   Book-keeping

                    The Executive Partner, within the statutory period, shall maintain the accounting books
             representing the investment portfolio of the Partnership, in accordance with the law, as the
             basis to report to the Limited Partners, and the financial statements submitted by the reporting
             department.
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             13.2   Fiscal year

                    The fiscal year shall correspond with the calendar year, with the first accounting period
             starting from the date of establishment of the Limited Partnership until 31 December 2016.

             13.3   Audit and Financial Report

                    The General Partner shall appoint an accounting agency to perform an independent
             audit of the Partnership.

                    At the end of each fiscal year, the financial reports of the Partnership shall be audited
             by an independent audit agency.

                    After every half year period of a natural calendar year, the General Partner shall deliver
             the unaudited financial report within two months, in writing, fax, email or using other methods,
             to all Limited Partners. Within four months after the fiscal year, the General Partner shall
             deliver the following financial reports in writing, fax, email or other methods, to all Limited
             Partners:

                     1)   Assets and Liabilities

                     2)   Income Statement

                     3)   Cash Flow Statement

             13.4   Annual Report

                    Starting from the first full year of establishment of the Partnership, the General Partner
             shall deliver in writing, fax, email or other methods, to all Limited Partners the annual report
             before 30 April of every year. The report shall include the business report from the preceding
             year, and audited financial report from the preceding year.
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             13.5      Access to Financial Records

                       Provided that written notice is issued five working days in advance, within a reasonable
             duration during the reasonable working hours, the Limited Partner shall have the right to
             personally or appoint a representative to inspect all Partnership financial records, in the interest
             of official business relating to the Partnership. When exercising this right, the Limited Partner
             shall follow the updated and revised confidentiality procedures and regulations of the
             Partnership. Furthermore, if the General Partner determines that it is necessary to protect the
             interests of the Partnership, the General Partner shall have the right to request the Limited
             Partner return or destroy the information obtained from the Partnership. All expenses incurred
             by the aforementioned actions shall be borne by the respective Partner.

             14.       Information Disclosure

                       The Executive Partner shall disclose to all Partners in a timely manner, all executive
             administration related matters, and the business and financial situation of the Partnership.

                       All disclosure documents shall be submitted in writing (not limited to hard copy
             documents, electronic mail and website notifications).

                       The method of information disclosure shall include but is not limited to summary
             reports, periodic reports and interim reports.

             15.       Partnership Dissolution and Liquidation

             15.1      The Partnership shall be terminated and liquidated if any of the following situations
             occurs:

                       1)   The General Partner proposes a motion for the same that is passed by all Partners.

                       2)   Expiration of the Partnership business period.
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                     3)    A breach of Agreement by one or multiple Limited Partners, with the General
                           Partner determining that the Partnership is unable to continue operations.

                     4)    Revocation of business license of the Partnership.

                     5)    Other reasons for dissolution as stipulated in the Partnership Enterprise Law or in
                           this Agreement.

             15.2    Liquidator

                     The Executive Partner shall execute the role of Liquidator.

                     All unrealised investments of the Partnership shall be managed by the liquidator.
             During the liquidation period, the Limited Partners shall pay the Manager reasonable
             liquidation costs, but shall not pay any management fees or other expenses to the Manager.

                     The main responsibilities of the liquidator are: liquidation of Partnership properties,
             compiling a balance sheet and a list of properties, managing and liquidating all unrealised
             matters related to the company, paying all taxes, paying all debts and claims, managing all
             reputational property of the Partnership after all debts have been paid, as well as representing
             the Partnership in litigation and arbitration activities.

             15.3    Order of Liquidation

                     15.3.1 Upon the expiration or termination and liquidation of the Limited Partnership,
                             after all expenses and fees have been accounted for, the partnership property
                             shall be paid and allocated in the following order:

                             1)     Payment for all liquidation expenses;

                             2)     Payment for all staff wages, social insurance and statutory compensation;

                             3)     Payment for all taxes owed;
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                              4)      Liquidation of Limited Partnership debt;

                     15.3.2 Distribution among all Partners in accordance with the distribution principles
                              and procedures of this Agreement

                     15.3.4 If the partnership property is insufficient to pay off the partnership debts, the
                              General Manager shall assume unlimited joint liability for payment to creditors.

                     15.3.5 Upon completion of liquidation, the liquidator shall prepare a liquidation report
                              that is signed or sealed by all Partners, and submit the liquidation report within
                              15 days to the business registration authority to apply to deregister the
                              Partnership.

             16.     Liability for Breach of Contract

                     Any Partner in breach of the Partnership Agreement shall bear the corresponding
             liability for breach of contract in accordance with the law or in accordance with the provision
             of this Agreement.

                     If a Party breaches the contract and the Partnership Agreement cannot be fulfilled in
             whole or in part, the breaching party shall be liable for breach of contract. In the case of breach
             of contract by multiple parties, according to the actual situation, each party shall be responsible
             for its own liability.

             17.     Confidentiality

                     The Parties to this Agreement shall bear the highest level of responsibility for the
             confidentiality of the trade secrets of other parties made known through the negotiation, signing
             and execution of the Agreement. The Limited Partners shall also bear the highest level of
             responsibility for the confidentiality of the business information of the Partnership that they,
             as well as the members they have appointed, have learned through financial reports and partner
             meetings, and from investment and advisory committees. Despite the above provisions, each
             Partner has the right to disclose the information for which he has the responsibility of
             confidentiality as follows:
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                     1)   Disclosure to Related Parties who are their shareholders;

                     2)   Good faith disclosure to professional consultants and accountants;

                     3)   If laws, courts, rules of any relevant stock exchange, or any other regulatory
                          authority with jurisdiction specifically require disclosure, the Partner shall notify
                          the General Partner immediately after learning of the disclosure requirements.
                          Each Partner with an obligation to disclose information shall make all reasonable
                          efforts and always seek to avoid meeting such disclosure requirements or to
                          minimise the scope of disclosure in accordance with relevant laws, regulations or
                          policies.

             18.    Force Majeure
                    “Force Majeure” refers to events that happen after the signing of the Agreement which
             cannot be predicted at the point of signing this Agreement, and whose occurrence and
             consequences cannot be prevented or overcome, prevents any Party or all Parties from fulfilling
             their obligations in part or in full. The above include earthquakes, typhoons, floods, fires, wars,
             international or domestic transport interruptions, government or public agency acts (including
             major legal changes or political changes), pandemics, riots, strikes and other events considered
             to be force majeure in general international business practice.

                    In the event of force majeure, which affects a Party in their fulfilling of obligations as
             stipulated in this Agreement, ceasing such obligations in the duration of the delay caused by
             the force majeure shall not be considered a breach of contract. The Party declaring force
             majeure shall inform the other Party as soon as possible, and within fifteen (15) days of force
             majeure occurring, provide complete proof of the force majeure and the duration.

                    In the event of force majeure, all Partners shall negotiate with each other to find a fair
             solution for all, and to make reasonable effort to minimise the impact of the force majeure.
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             19.    Dispute Resolution

             19.1    Negotiation

                    Any disputes arising from the obligations stipulated in this Agreement or that are related
             to this Agreement shall be settled through friendly negotiation between both parties.

             19.2   Arbitration

                    If all parties in the Agreement are unable to reach a settlement within thirty (30) days,
             any party has the right to submit the dispute to the board of arbitration with jurisdiction over
             the Partnership for arbitration. The written decision of the arbitration shall be final and legally
             binding.

             20.    Supplementary Provisions

             20.1   Amendments

                    Except as stipulated elsewhere in this Agreement that the General Partner may
             unilaterally modify the terms, other amendments or supplements to this Partnership Agreement,
             as well as the formulation and implementations of conditions, requires the Partners to negotiate
             and come to an agreement.

                    Matters pertaining to changes to the registration of the Partnership and changes to other
             important terms shall require amendments to the Partnership Agreement. Amendments to the
             Agreement shall be made in accordance with the Partnership Enterprise Law and the
             regulations stipulated in this Agreement. With regards to amendments to the Agreement, a
             proposal to make changes to the terms to be revised or a resolution to make additions may be
             passed. Additionally, a new Partnership Agreement may be signed to replace this Partnership
             Agreement.

                    If any terms in this Agreement, or terms referring to persons or situations are found to
             be invalid, the effectiveness of the remaining terms or terms referring to other persons or
             situations are not affected.
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             20.2   Cancellation and Termination

                    Unless all parties to the Agreement agree to terminate this Partnership Agreement, no
             Party to the Agreement shall terminate this Partnership Agreement.

                    Upon expiry of the Partnership’s business period, or if the Partnership is terminated for
             other reasons, this Agreement shall also cease.

             20.3   Versions

                    This Agreement is made in SIX copies, with each copy having the same legal effect.

                    The annexe, and relevant supplementary agreements form an integral part of this
             Partnership Agreement and have the same legal effect.

             20.4   Entry into Force

                    This Agreement shall come into force when the parties sign or seal this Agreement.

             20.5   Other Matters

                    Matters not covered in the Partnership Agreement shall be negotiated by the parties in
             compliance with relevant national laws and regulations.

                    In the course of implementing this Agreement, if the national or local authority
             promulgates or revises the relevant laws and regulations, this Agreement will be revised in
             accordance with the new laws and regulations. If conflicts, disputes or differences arise, they
             shall be handled in accordance with the principle of fairness.

             (This is the last page of the document. Remaining pages contain only signatures and annexes.)
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             Partnership Signature Page:

             This Agreement is signed by the following Partners on 23 November 2015.



             General Partner:

                 Name: Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd

                 Address: 0801-1, 8th Floor, Block 17, 17-A, 17-B, 17-C, 17-D, 17 Financial Street,
                          Xicheng District, Beijing

                 Legal Representative (or Authorised Nominee):



             Limited Partner (1):

                 Name: Shenzhen Qianhai Nations Investment Management Co., Ltd

                 Address: Room 201, Building A, No. 1, Qianwan 1st Road, Qianhai Shenzhen-Hong
                           Kong Cooperation Zone, Shenzhen (with Shenzhen Qianhai Commerce
                           Secretariat Co.,Ltd.)

                 Legal Representative (or Authorised Nominee):




                                            <Seal affixed>
                                           Shenzhen Qianhai
                                                Nations
                                              Investment
                                           Management Co.,
                                                   Ltd
                                               [illegible]
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                 MeE          RW:        MP95¦AAWW.               aBMfmPARm                  N5s     $m

                      RE      %ET$R$N5W&`M±i¦*%MMP&E,                                        aEMR*

                 5R        M2RM#E                 RN,     NRKM*k4#                 A&R9ER.

                 tR»:B*/%Wa˙,                      m92*A»8%E*kA.

                      2:2-+R5*a.

                 9R`XA:m4tRaREEEMR%EeiiJ.


                        $44&A:2jtRREEEE                        R„EeiiJ.


                      Re&A:         B¾M*eMek                   NM95tk»Mf-                 #åEW*M

                 R      -EK                 N5M¦AaAM#*B„EME                           ¦MA,ERMM

                 *      RMaEM2u*`A±t5„meA»eAagW»&m`k».
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                 »,        »±:MEM8MA,            [¾e9,               eiU4           #a@f#$4.


                 RR$R5:BEW-t¦MA                           „E*XRm                            $ReS.

                 RR$R25:mt4*&A¾                           $R5               4       .



                 AR$EE:mtEM-De¾A                          S*MR                                 e&eo          M

                 RAe5.
         .


                 AR$R85:mt4eMAM5*9R                                         AAB              *M±tRM@R

                  `4`5.

                 RRM:2@*REe&At8a.214.                                           2MEJiii25,            MBREe

                      `t        EER,      &A#tR»R2ME¾                                   TME.


                  RRE4ei4:mREeMEaMaNa2rA»t%e&7aR#MwX

                  RR$»fXMR%kU1afd                             eiU-



                  E9BR:meMet,                  TEARMB$%R82                                    n9MM24A±t

                  RA(e5\dA                    E¦kFr           M       $R)E952iTt                       kR.


                       ERR:m#E4&2#                    RR4R              B&M.


     .                 &`*t$:BSM*MR                     tMtteA*aMR1.

     .            %:E$95dm              5M,    8AR5~.

                                                                       "WT"                            "         "
                  *eRMRFr8"M1",                       "Wh",                             .   5t*Ri

                      "W#@"s     "Af"¥t$R.
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                 =,          +a+smar

                                  *&RFrFd$5AB@,E»M                        4MA8Rit$R&5                    §5A,


                       h*¦MMR                   25»,#R*eMBM                     R,a44*A»5#                       i7



                 eA&RMBV@.


      .          2.1            AMAk

      .                      eMA-RliU24dft                 eMekA(¦¦ARA85eMAt                                    »R


                 %           #R4&`s.              EP[      eA         95*AA8%m¦MAEA.                       9E

                             »MeM`9RA%MER                               RE.%meAAL2KMB                     $RS

                 hEM¦MA95&%ERE.

                 2.2            tA±t             *MR

                             2.2.1¦M±948:s#lI5gs½PkMR                                      Ae@Æ42(Rm\


                         )   (W%4,           RMP2IM5f7RiEh$)


                             2.2.2      ER%Fr:M#ll$B$54e$EBM-SEA W19M4


                 584@E9E4                         ¦he@          A   M 201 a(»             ll$8$$4S$%m


                 eii1)



                               2.2.7     EgE       :aRgs            (¥tmMgs):             RaaR     `i     Raa

                 R54TEi                   MR½hAk            (A45RR#¦M)i                    &Rai4        (¥tmM


                         R)i           MR5M     (¥tmM*R).


                               2.2.4*AMm:4A±k5ERMEh                             20   4.    ERME52E,               E
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                 A4tA»-RR2,                                e2AWEMREMMR.

                 2.7       `MA

                          *e&AkeRA¥a$P                               50+.   K¦9EeM»                  1       »,         #meA

                 ATa$P49+.

                 2.3.19Ee&»


         .                  48:             t*REEEMRRReiU

                              M (ä):             t*$EiMEABAm                 17   4,   9   17   4,                2.   17    4,       M

                 179174@8                        0801-1



                            E#48:               22MR                                                                                      ,



                            E#·%W:              11010102019662188




                  2.3.2      #5¦&A                 (2.-)



                            48:             5#ll885RMR9ERRei4


                                  M (ä):        5#ll$B$5B¦fNEM$M-$                         1    4        A             201    2   (   »

                         5#ll$M4R4S4$#Rei4)


                            E#4%*               Ek¾R

     .                      E#%W:               914403003498822023




                   2.4      ¦k5

                           EitR4R                     ttMNRT                               $         E2RM#%R

                   N$               lªlR.
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                 2.5          MRE5

                         AM±kM&E55hM±kMERR/MR&N8/*Mt&#R

                 2R*5RM$                      %taR.

                 2.6               *gEM$j

                         2.T.1          4M`k#nmîe7,[X`iMBl!¥MM&,4MAeR~R


         .       MA           &R&.


                         2.   6.    2   *tM±2t95e&A4„R¦MAfMMM.

                         2.6.3          5A9EM$j:        PAmPSEMR5#5B&R1#,                            #R*

                       i5W4R‘=,               aBafRPM&R,             M9ERRM4M                    RA,       /


                 2RA9E$A2#9E,                            fMMT%M52RPRR.

                         2.6.4          &MiE8M$d:       &&$4`&A,          9EAaMhaeM±9

                       RMR#iiMM,                   Tit$am5ROh*M`k$JkRMA                          5Rd,      a&

                       &Rfti4MMWF,                  9#[XeklAE&R5            å    D      iE$.%5             iE$


                       AgEhRM5MM2,                      RRMiEPlRRR         lR.       fo5%i5t2MiE8M


                 $J%&AR,                  ¾#5&¦MA,9EAERM                     B5            E8$K.

     .                   2.6.5          81gEM$j:         M#5&*M»81RE*&±k                                B%E

                 R,      #R¦MA¥#94Rf5.

                         2.6.6&Rk482&RM$j:                     ¾W*A¦&AM`A±k                             MRk

                 &&2&R,                   „R4&»fM94RTH-
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               a,     $R

               7.1          E.    A5

                      *`&`km4AEa.                   5h    20_£~,      X¦:


                      e5*k»dt*BEEERMR„Eeii0Rm$E50_E~:


                            EeAA(t-)5#lls5ERME9E„Reiij¾m$E                                       70..000

         .




                      mA          e,   s*Reka**e±*meRa                        s   aRsma         75h*             Y



                M4A.

                7.2    8R

                       *`         ±k`4*&»           $E$A@hR5$M,                      5#h»R5.


                7.3    A&tBE           a

                       %EeAARE¾m                   R5hAR5          1oo0     W~,    #&     1oo   W~ER

                92m,             a95e&AWR82NEfk3RE-

                3.4    mMmE

     -                 tM»EfE5*9R5,                      #E¾ti4&etkAREmX555I

                ‘I$8h9RmX55Ms                            6MSE        AMRMm                          M.



                       Mf*8&ME                 M    AMAef3o8                  2RM,        M     M     Mm

                             R48it&2Mm             tBMAMf91-M5MA,2RM$MBJ&


                      TR         maMRE.
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                          E»M4MA                 $E$&9mekA$$MtA»M                     &sg         E

                  »MkR                2WR¾#44*AA                R*mM.

                          Els    #E4RA

                         aRR*4MA9$RM95`                         A   Rs#aE5*5R                 s   WA

                  R2$RMM¦M±994*M%E                            RE    ¦kA,    ERMM*             iRM2


                  5ttRit**MA25„ReMAeMRnW»M                                   #MA.

                  4.1    %E`k»%R$J

                         4.1.1
                                  #haaBEfta#knekA`R#R5#m$R5#Ma&a.

                         4.1.2
                                  WRa&a@EftEAAEM4RiBR.$itM4eitEa4

                 RM.


                        4.1.3     RaT       B8R9„EeM±t                 RRR#M$`EtR.

                        4.1.4     &     9ER.

                        4.1.5     $RMita,          a$RN*%iR         21EM.

                 4.2    „R[M»               A4

                        4.2.1    #RekAM`&Ak                   94WARt$       E5hR%a„E

                 RE.


                        4.2.2    &R*kR                4#      2r$tumagmM         $ E.toRRe&


                 AM*&±2                 $Rf8               Ne,&R*MR              M    2%ai

                 RE.       e5E5EP                aW           AtMM$R        M.
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                      4.    2.    7   R*5iRaJjmgt                      a$JsA4V@,%E`gAT#94&¥


              MY5AMAt                           .iE%        R9E.


                      4.2.4R               *,          M,M*MtFre@i,                „R4AAR495eMA

               A„R[M»FrMMM-t˙aaRMMfeAAt2M                                                       54,VMR%


                     $eRaMf4tMAtEM                                         Mtgiÿ.954MA„REeB                  4


      .        X2EtM±tM4XM                                     KREA4               EtMAaR5#1           RE.


                       4.2.5%E`MAf94eM±t                                           99E.


               4.3     %ReMA                    $       R

                       4.7.1          %E        A»$            NaE4Aek4X4&»i8RX5,e¦M


               `ta#Re*AAn2mA                                           ,   R„E¦MAE5%BE@RE.

                       4.3.2„E\AA¥M#eg54,+Mg#@ftaeMAt.%E\


               M»ki5g$%R@%94@E9E                                               ,$49B4M»29445-a

                EAM94%a%R                               9RE.

                                                                             ¥aEhM&ek54.
                           4.7.7%ReM»                        -FFd#h,



                            (1)       94&t9a¦AA»MiE&.

                            (2)Me4M@29ER&leERR.


                            (3)       MSReA$J2                     MR,      2M¦M±kM44i-tRS4M4N


                M.


                             (4)a4k4t¦                           JeREd9$                  „RE   eMAtRa$J
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                 aeaaWvA.


                            (5)     M#54eM»8f#RRW                      M,     9RXtiREW.


                            (6)     R    h*±1Mfjt$fiii.



                 E,&#$4ARA

                 5.1A#54¦M»R2*&RMB@ftaeM±t&R4R54.

                                   ±9K5M                  A5#MRfE@,s&E*5R                    %A‘4fEA

                 1#9               R.


                 5.2A#54e&A$A4                                4#

                       5.     2.   1$h*eM±2s95¦MA.

                       5.2.2M&ERpA                                 .E2%M*`A±t#@MM@E




                       5.2.3A#M$@#tMg                                  .E     W      8tfJ.




                       5.2.4T#aelt%±ag                                 A      t%5.



                 5.3        &#54[k»                       RE$5

                       5.3.1A&eM±k                          &E24R      %k4(aME&5Ji5MR                   5

     .           `t           ).



                       5.7.29E,               tM@½#\&`i                 RP,       eEefEfMR&E

                 P,    $XR              EP,        MWP&4.

                       5.3.3RRh8M4M±A¦e#                                ,Etk±i8ARReR5@
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               &e5                 -tU#@.


                          5.7.4RseR                    R*,           g\&`t               sXÀ1Msnm#mP,                        ‘I




                ¾ff&$MfiA4WP                                 MA2f8K\8+.&R#R4&AM

                E,        &R&»s                 AhR    5&NPi                 ý5S„          Rek&RMtEM


         .
                ##»i$4EP.
     .


      .                   5.3.5          MMi,     MMR9&tkA±,                          D*R5MM                (e5&1$it


                MM)MAM±9MM54,a495e&»2$M8M55RR*%R

                      #MB.                                       .



                          5.3.6e#tRA-RR2¾fi4&4MA%aMB%¦Efdll9i,                                                                /


                ti22*#RtA»Ee                                     »h9EA,                 #iTiRR9E%R,               a$9E


                A$Me                             *&R         a        A#.


                           5.     3. 7   n#RtfM              #4úiT2RPMR                     (nM$\fk±k$iMft


                 atft±k-55#MMiTtEPBR).


                           5.7.8$#E[AAMitKefk&#MMEF,                                              &*BRSR2MR

                           M&             #eE$E#MMt&SMk.

                           5. 3.     9    htXti                  Ë         %M$Wie1$W,             BfffD1;            4¦iRM


                                  R5,           @M4,         N             E¦tk42ž$             ¦R:         RR&„aJ


                                  SE#EeM                 MPRe,M9lEeMAk                            k&5@WM

                     Ms     95¦&»RAMPW                                 9          A&.




                                                                        s    12   R
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                       5.7.1o        mmmgs4tggan                       eRtteøsg8.

                       5.3.11        hM#,        M„$k.R85             MEMM9EtM»AhsR$M

                 aeaR,              EE@R@.

                       5.7.12af&Ng\eiq                          9m,    #&a¦&At               &E      e

                 eiU        M#aM.


      .                5.3.13&R*BR                       Mt4#t@M,        E:lik95¦k»2$R8M*


                 8RE*BRMM2M&ME.

                       5.3.14MB*BR                       &RReMAnE9E.

                       5.7.15        ERhA                Am           Pg¦RRE\Mt             RgMs5




                       5.    3.   164RM9R¦A»                          iiEMR$Me`5$BeAR$R

                 M#$h#R,                  5iE4M±9,              e     `t$#ReeM»a4mA                  .



                                  BBRE.

                       5.    3.   17&#$4¦MA#lMiiE8˙i1i                   $aR*¦&%R5$,                 e

                       k          MR855$MA                    ,M&5#¦X»2A8MRE,                #E@i$




                       5.7.18¾#$4¦A»                          h$¾#4A5#mt»#h9R#&±

                 *sRmAe,                  saxteaas*mes0eeme.

                 5.4
                            ¾&54[k»#-FFdM52-                            ,M2Ea:
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                                   9           t           z         W R                            ° 4 U B Et




                                   s                       t                W W W                            ' E W¥ &       Wf E          '                                               °d R5¥ R5 W W W




                                   9               P       9                                                            °f W E M W W W W 5 W E



                                       9       t           9                                                                ° 4 U ¥ W ¥ d Wt W ¥ V W 4 W



                  9       9                                                                                                                                                              W 5 4 5 5 M W- Y W 4 W W W W M W S 5 4 U Y W 4 Wt #

                                                                                                                                                                                                                                .

                                                               W5 M W S                                °YS % W W WE                                                         ' B 7 W W S % E W Y WS W% SR %




                                                                                                                                               '4 U M#5 M W S %4 Y S % M                       7 W W S M E W 5r 1 h
                                                                          ° WEYSS R



                                                                                                                                                                                               R Y W 4 #t # W° E W ¥ 5 W M M 4 W 5 W M 4t W



                                       ' WS                    W5                                                                     M
                                                                                                                         W Y S 'W Rff Y W¦ W 5                                               °5d4 W M4 Y W4



                                                                                                                                                                                                  W WE
                      9   9                                                                                                                                                    5 # W E W' E M W N W W W W 5 W 4 S k Y W 4 #t # W



                                                                             E 4 #' ¥ V W 4                                                                                                          W 4 #t # W # 5 ¥ V W 4° W s a E W W ¥ ¥ W 5




                                                                                                                                   ° Y W¦ E 5 W W N E' & W W E W E M Y



                              '¥                                           35 W5 W



                                           9           I                                      Ž W 4 #t # W                                                                              ' B Bh W W W W¥¥ W4 W# Y E &



                                           9           3                                      Ž W 4 #t # W                                                                                            W44 W4 We# E W465 Wa B W Y E &



                                                                                                                                                      °5 W
                                                                                                                                   $ E W # W E W W W E K 1 W• 4 # 5 W ¥ V



                                                       T9                                     Ž W 4 #t e W                                M WYE&                                                    5 W N W W¥ V W44 W
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                    Ps     5 &# E                      W M # 5f e P,                   M R P a # $ & a:

                           6. 4                        5 #t A »,                95 A &$ % %4# m4 M M R8 M                                   5




       .                   e M` 9 A $                                &` k* a. e M` A Ri M 4 Wt s a M B 5 m

                                                                                                                                                  '
       .            + 4 R È,             R                      k,        M',     M %48                   T Fd M Ms   $* 8 Rt:

                           ( 1) 4 M`                            W ht $.

                           R h % $ M 9 2¦ A » R e M e k 1                                             R, R È 8 M         ¦ Ei 8. B

                           R 1 $,                  e #, 4 W 4tt M M 9 % M M 4, af a M # m 4 M A R

                           t $. W h R                           t M ± k 5 M. 9 E A, 9 B\ A » a % E W M E A




                               ( 2) R R 5 h M e A A k                              &        a R P.         1 M                       5* E

                         a R                 a, R R xtr s.




                                  ( 4)         ¦ M ± 9 4 a $ W M Ri                          R M.


                                  ( 5) e W R P R m.

                                  ( 6) h R M 8 M M 1 M & 2 ž $ M 8 M R Æ.

                                  ( 7)         W E R 8 # e R.

                                  ( 8) m m $ & 5 M a 2 5 R M a                                       R¦ &* a          8 S E R R 5.
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               ›,      9ER

                       8.1          í$h9EAMeMe9MíA9ERA454                            M&,4#R24


               MAkaR#SMMaMTMMRE%&ETM                                                 RWEP9            R


               A‘49EAtft9ER:


                       TERE¦MA9$&                             ¦AAtBRg5hEX,           94Mk0
      .



      .         4aE.


                        §ERM4                   t,    &MM      E¦M»%$tBRA4tBh$A                       765




                Wh-4MW#,                        S-8l!i9EMfeM»%AtBRX428                      10   Bh


                        R5f4S365W510B                          h‘49E»t4t.
                fti



                        8.2          TFd1tB          9EtkAE9EAe#*a.aBE%8A                             R

                    9ER*m:

                             (1)
                                      92tMA$TEAMRhttB.


                             (2)      %a#hAA4A                 95*RA8TEAkR®ˇ

                                      9EIiU5A         »*R1.       a5IR,       MAS5W5RM.
                              (7)



                                       9Ee&ARTEAB#e%M8A,                         9J99EM,         *%Rs
                              (4)



                    EiRR,            heRERm.

                              (5)
                                       fE¦MARfEAM%5SS9REM.

                               (6)     hMRR85e#Mn&M&                         -RB5a5aTEfM4

                                      k44EWE&RiMMM.
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                            (7)   eXA`RAm             (4#EeMAh9MeRFk2$                           M2R,


                 E8R,             5%R4RM&#).

                 0         *ík5\¾&

                 9.    i   #kktk@9EAS¾#54eM»h

                       .   AfY54fta½2jB[,             KA9E»R                22REBEEMR              Eeii1



      .          81@M,              EMRE4MAfMP5i.

                 9.2       e9AeR

                           [&»4Reh2E`RSiI4                        ea.       2MeR54-&.            k&$4

                 ¦AAR7o%E.A                     REeMARRMRER$eeR,                         tAA4iR$M

                 #*A»ARam                        1M.aWeMAeR,                    ¾#[A»aEMM            7     E5

                 %`4¦&»,                      #8eRRERa&5MEMe#¦MA.

                 9.    3   tA»MMeMAeR                   %MR2MeA±k%M$M$$&R,*

                 A»eR$e4¦k»MMR&                               4         A   $RttM#Ra&R,e9A

                 `R$$&Re@i@MRitcBa&a                                            A5it,E&S5%R2R
                                                                                                                  6
                 *%RB                     2    B#.


                 9.    4   tA»aIRR1$ili              5*MA&2             (&R),      *R%¦R$A,                R%

                 eR%$A#MRPJ.*MRME#RMW,5%eR$A9MeMAe

                 R.        ¦&»eRA¦9A&a                  (¦9eke),                (¦9%R»      R22.R$Jt$
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             Date :       14 September 2020
             Our ref.:    14744




              Certification of Translation Accuracy
             To whom it may concern:

             LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD, an ISO 17100:2015 certified
             professional translation company, do hereby certify that the translation of the attached
             document(s) was executed by a professional translator competent to translate and
             review from Chinese into English in accordance with the requirements set out in the
             ISO 17100 standard (International Standard for Translation Services), and is to the best
             of our professional knowledge and belief, a true and faithful rendering of the original
             document(s) in Chinese.




             _________________________
             Loh Wai Wah
             Corporate Development Manager
             for and on behalf of LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD
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                              Shenzhen Guotaiqixing Industry
                           Investment Fund Management Centre
                                  (Limited Partnership)

                               Additional Investment Agreement




                   Time of Signature:

                   Location of Signature:
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               Shenzhen Guotaiqixing Industry Investment Fund Management Centre
                                      (Limited Partnership)

                                         Additional Investment Agreement
                     This additional investment agreement (hereinafter referred to as “this Agreement”) is signed by
             the undermentioned parties:

                 1. Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd (hereinafter referred to as “Party A”),
                    a limited company legally established in accordance with the laws of the People’s Republic of
                    China, registered capital: RMB 50 million, registered address: 0801-1, 8th Floor, Block 17, 17-
                    A, 17-B, 17-C, 17-D, 17 Financial Street, Xicheng District, Beijing, legal representative: Huang
                    Chao

                 2. Shenzhen Qianhai Nations Investment Management Co., Ltd (hereinafter referred to as “Party
                    B”), a limited company legally established in accordance with the laws of the People’s Republic
                    of China, registered capital: RMB 500 million, registered address: Room 201, Building A, No.
                    1, Qianwan 1st Road, Qianhai Shenzhen-Hong Kong Cooperation Zone, Shenzhen (with
                    Shenzhen Qianhai Commerce Secretariat Co.,Ltd.), legal representative: Luo Zhaoxue

                 3. Shenzhen Guotaiqixing Industry Investment Fund Management Centre (Limited Partnership)
                    (hereinafter referred to as “Party C”), a limited partnership legally established in accordance
                    with the laws of the People’s Republic of China, total subscribed capital: RMB 300.5 million,
                    registered address: Room 201, Building A, No. 1, Qianwan 1st Road, Qianhai Shenzhen-Hong
                    Kong Cooperation Zone, Shenzhen (with Shenzhen Qianhai Commerce Secretariat Co., Ltd.),

                 Whereas:

                 1. Party C is a limited partnership legally established in accordance with the laws of the People’s
                    Republic of China, with two partners, namely Party A, with a capital contribution of RMB
                    500,000, as General Partner and Executive Partner, and party B, with a capital contribution of
                    RMB 300 million, as Limited Partner.

                 2. Party A and Party B unanimously agree for Party B to increase their investment in Party C. In
                    accordance with the terms of this Agreement, Party B shall invest an additional sum of RMB
                    200 million. Upon investment, the total subscribed capital contribution of Party B shall be RMB
                    500 million, who shall remain a Limited Partner.

                     In accordance with the Contract Law of the People's Republic of China, Company Law of the
             People's Republic of China, Partnership Enterprise Law of the People's Republic of China and related
             laws, regulations and government policies, after amicable negotiations between each of the Parties, they
             hereby agree upon the terms to the additional investment contributions from Party B to Party C as
             follows:
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             Section 1: Definitions

             In this Agreement, unless otherwise stated, the terms are defined as below:

             1.1   This Agreement: Refers to Shenzhen Guotaiqixing Industry Investment Fund Management
                   Centre (Limited Partnership) Additional Investment Agreement and its annexes.

             1.2   All Parties: Refers to Party A, Party B and Party C, all three parties collectively.

             1.3   Additional Investment: Refers to the terms and procedures stated for the additional investment
                   by Party B to Party C, as stated in Section 2 undermentioned.

             1.4   Effective Date of This Agreement: Refers to the date when all legal representatives or authorised
                   representatives have signed and sealed with their respective company stamps on This Agreement,
                   in accordance with the laws and regulations as stated in This Agreement.

             1.5   Tax: Refers to various forms of taxation and various types of charges levied by tax authorities
                   and other relevant agencies, including but not limited to various taxes, fees and related fines, late
                   fees, additional fees and interest.

             1.6   RMB: Refers to Renminbi.

             1.7   Day: Refers to working days with the exception of Saturdays, Sundays and statutory holidays as
                   regulated by the People’s Republic of China.

             1.8   The headings of the articles and paragraphs in this agreement are only for ease of reference, and
                   shall not be used for other interpretations intended to affect the contents of the terms of this
                   agreement.

             Section 2: Definitions

             2.1   Party B proposes to invest an additional RMB 200 million to Party C.

             2.2   Upon the additional investment by Party B to Party C, the total subscribed capital contribution of
                   Party C shall be increased to RMB 500.5 million, of which Party A’s contribution shall remain
                   at RMB 500,000, and who shall remain the General Partner and Executive Partner. The
                   investment contribution from Party B shall increase to RMB 500 million, who is a Limited
                   Partner.

             2.3   Upon the additional investment by Party B, unless the proportion of investment between Party A
                   and Party B changes, the terms stated in the Shenzhen Guotaiqixing Industry Investment Fund
                   Management Center (Limited Partnership) Partnership Agreement (hereinafter referred to as
                   “Partnership Agreement”), signed between Party A and Party B shall apply.
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             Section 3: Additional Investment Payments and Industrial and Commercial Changes
             3.1   Once This Agreement comes into effect, Party B shall, after fulfilment of the terms below, make
                   payment of RMB 200 million according to the terms of This Agreement within 10 days, into the
                   designated registered bank account of Party C.

                   3.1.1 All Parties agree and sign on This Agreement;

                   3.1.2 Party A and Party B shall amend the Partnership Agreement in accordance with the terms
                         mentioned in This Agreement.

             3.2   Party C, within 30 working days upon delivery, shall submit and complete updating proceedings
                   of the increased investment to the Industry and Commerce Administration Bureau.

             3.3   All Parties agree that, upon payment of the additional investment of RMB 200 million by Party
                   B, as agreed in This Agreement, the investment obligations of Party C under This Agreement
                   will be completed.

             Section 4: Tax and Related Expenses

             4.1   The taxes incurred from This Agreement shall be undertaken by All Parties, in accordance with
                   the country’s laws, regulations and policies.

             4.2   Unless otherwise stated, legal expenses incurred by All Parties and other intermediaries shall be
                   borne by each Party respectively.

             4.3   Party C shall be responsible for the respective amendment procedures in respect of the Industry
                   and Commerce Administration Bureau registration, and all expense incurred during the
                   registration or preparation for registration shall be borne by Party C.

             Section 5: Warranties and Guarantees

             5.1   Party B warrants and guarantees to follow the terms of This Agreement, and proceed with the
                   legal proceedings to initiate payment of subscribed capital contribution in a timely manner.

             5.2   For all the binding legal documents signed and to be signed by All Parties for this additional
                   investment, all Parties have obtained the approval of the competent authority and all required
                   internal authorisations according to the relevant regulations. The signatories of the legal
                   documents are all legal representatives or authorised representatives of the Parties.

             5.3   The obligations borne by all Parties are legal, and effective, the fulfilment of which shall not be
                   in conflict with the fulfilment of the obligations of all Parties under other agreements, nor shall
                   they be in violation of any laws and regulations.
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             Section 6: Liability for Breach of Agreement

             6.1   If the Party in breach violates any obligations, responsibilities, commitments, statements and/or
                   guarantees under this agreement, it shall be deemed as a breach of agreement, and the Party in
                   breach shall compensate the non-breaching Party for all losses caused to the non-breaching Party
                   resulting from the breach of agreement. For the purposes of This Agreement, “losses” shall refer
                   to all actual losses (including all rights accorded to the non-defaulting Party, prior to the
                   termination of This Agreement); however, Party A and Party C are not to be held responsible for
                   any circumstances of Party C that are already known to Party B through due diligence.

             6.2   In this Agreement, if Party B fails to pay the capital in full and on time in accordance with This
                   Agreement, and if the Party that has paid the capital in full on time has made reminders, but Party
                   B does not pay the capital within the time limit for the reminder, in addition to the timely payment
                   of the corresponding payment to Party C, Party B shall also bear the responsibility for the breach
                   of agreement to the Party that has made full payment on time. The liability for breach of
                   agreement is that the Party in breach shall pay the non-breaching Party a penalty of 5/10000 of
                   the amount of capital due.

             6.3   Other than the breach of agreement terms as stated in Section 6.2, any Party involved in the
                   undermentioned conditions shall be considered breach of agreement, and liable to breach of
                   agreement penalty to the non-breaching Party.

                   6.3.1 Breach of terms and guarantees as stipulated in This Agreement

                   6.3.2 Termination of This Agreement without reason.

                   6.3.3 Other definitions of breach of Agreement activities, resulting in the inability to proceed
                         with the additional investment

             6.4   If any Party is in breach of the Agreement according to the conditions stated in Section 6.3, the
                   non-breaching Party shall have the right to initiate the following one or multiple immediate
                   actions to protect its rights:

                   6.4.1 Demand the Party in breach to continue fulfilling its obligations.

                   6.4.2 The non-breaching Party shall temporarily halt fulfilling obligations, until the Party in
                         breach resumes obligations. The halting of obligations by the non-breaching Party in
                         accordance to this condition shall not be deemed breach of Agreement.

                   6.4.3 Upon issuing reminders with a reasonable deadline, if the Party in breach fails to comply
                         with the obligations stipulated, the non-breaching Party shall have the right to unilaterally
                         terminate this contract.

                   6.4.4 Legal provisions and other remedies agreed in This Agreement.

             6.5   Neither party to This Agreement shall be exempt from the liability for breach of contract under
                   This Agreement due to the cancellation or termination of This Agreement.
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             Section 7: Confidentiality

             7.1   All Parties to This Agreement shall bear the highest level of confidentiality responsibility for
                   information relating to this additional investment received from signing This Agreement,
                   including but not limited to various types of written, actual and electronic information of the
                   parties to this project, personnel information, organisational structure, all agreements, business
                   transactions, transaction proceedings, negotiation details, terms in This Agreement and trade
                   secrets of the Parties. Without prior agreement from all Parties, none of the Parties is allowed to
                   divulge confidential information to parties not stipulated in This Agreement, nor make public
                   statements to the public and media with regards to the signing of This Agreement and its
                   obligations.

             7.2   The disclosure of information in accordance with the requirements of laws and regulations,
                   regulatory authorities with jurisdiction, or of work by the professional service agencies of each
                   party, or upon written agreement by all Parties shall not be deemed a breach of confidentiality.

             7.3   The Confidentiality clauses shall remain effective even after the cancellation or termination of
                   this Agreement, and shall have no time limit.

             7.4   Any Party to This Agreement in breach of this section shall be liable for the compensation
                   accorded to the other Parties due to this breach.

             Section 8: Effectiveness, Amendment and Termination of Agreement

             8.1   This Agreement shall come into effect on the date of the signing by the legal representatives or
                   authorised representatives from All Parties, and sealed with the respective company seal from
                   All Parties. This Agreement shall be legally binding from the effective date of This Agreement,
                   and All Parties shall do their utmost, with reasonable endeavour, to fulfil their obligations
                   stipulated in this additional investment agreement.

             8.2   Amendments and alterations shall be made only upon agreement from All Parties, with written
                   supplementary agreements.

             8.3   Unless otherwise stated in This Agreement, This Agreement shall be terminated in the
                   undermentioned conditions:

                   8.3.1 All Parties unanimously agree to terminate This Agreement.

                   8.3.2 Force Majeure events continue for a duration of more than 6 months, with no foreseeable
                         resolution, resulting in the failure of This Agreement to be carried out.

                   8.3.3 If one Party breaches This Agreement, and fails to remedy the breach after the expiry of
                         notice given by the non-breaching Party, the non-breaching Party shall have the right to
                         terminate This Agreement.

             8.4   This Agreement shall cease upon its termination.

             8.5   This termination of this Agreement shall not affect the obligations to be borne by the Party in
                   breach for breaching this Agreement, as well as the obligations to pay for the losses of the non-
                   breaching Party.
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             Section 9: Force Majeure

             9.1   “Force Majeure” refers to events that cannot be predicted and consequences that cannot be
                   prevented or overcome, which directly affect the fulfilment of This Agreement.

             9.2   If any Party to This Agreement is unable to fulfil part or all of the obligations stipulated in This
                   Agreement due to force majeure, in accordance with the effects of the force majeure, said Party
                   is exempted from part or all of obligations. However, they shall take all necessary measures as
                   permitted by the conditions to minimise the losses resulting from force majeure. For any Party
                   that encounters force majeure after being in breach of this agreement, said party is still liable for
                   the breach of agreement.

             9.3   Any Party that encounters force majeure shall provide written notification to the other parties as
                   well as related proof of the force majeure within 10 days of its occurrence.

             9.4   Any Party that encounters force majeure shall continue fulfilling their obligations under this
                   agreement after the effects of the force majeure have been eliminated.

             9.5   If force majeure results in the inability to continue fulfilling the obligations or achieve the goal
                   of this agreement, any Party to this Agreement may terminate this Agreement. Regarding the
                   parts of the agreement that have been fulfilled, the Parties to this agreement shall negotiate to
                   resolve this logically and fairly, and shall make all reasonable efforts to minimise the negative
                   outcomes caused by the force majeure in the fulfilling of this agreement.

             Section 10: Dispute Resolution

             10.1 Disputes arising out of This Agreement, or related to This Agreement shall be settled through
                  amicable negotiation between All Parties. If All Parties in This Agreement are unable to reach
                  an agreement, any Party has the right to submit the dispute to the respective arbitration committee
                  for the partnership for arbitration. The decision of the arbitration is final and legally binding on
                  All Parties.

             10.2 During the period of dispute, with the exception of the dispute matters, conditions not involving
                  the dispute subject shall remain an effective part of the Agreement, and All Parties responsible
                  for conditions stipulated.

             10.3 The effectiveness of this article is not affected by the termination, cancellation, invalidity or
                  withdrawal of This Agreement.

             Section 11: Others

             11.1 This Agreement is made in eight copies, with each Party to hold two copies. The remaining two
                  copies are used for approval, approval, filing, registration or other formalities involved in This
                  Agreement. All original copies of This Agreement shall have the same legal effect.

             11.2 If any condition in This Agreement is deemed invalid, the validity of the remaining conditions is
                  not affected.

                   (No text below.)
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             Investment Fund Management Centre (Limited Partnership) Additional Investment Agreement)

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                                                                                         Beijing Genghis
                                                                                       Khan Pharmaceutical
                                                                                        Holdings Co., Ltd
                                                                                         1101020161452
             Party A: Beijing Genghis Khan Pharmaceutical Holdings Co., Ltd (Seal)
             Legal Representative or Authorised Representative (Signature) <Signature affixed>




                                                                                             <Seal affixed>
                                                                                            Shenzhen Qianhai
                                                                                           Nations Investment
                                                                                            Management Co.,
             Party B: Shenzhen Qianhai Nations Investment Management Co., Ltd (Seal)       Ltd4403050437308
             Legal Representative or Authorised Representative (Signature) <Signature affixed>




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                                                                                                        Shenzhen
                                                                                                      Guotaiqixing
                                                                                                   Industry Investment
             Party C: Shenzhen Guotaiqixing Industry Investment Fund Management Centre              Fund Management
             (Limited Partnership) (Seal)                                                            Centre (Limited
             Legal Representative or Authorised Representative (Signature) <Signature affixed>         Partnership)
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                                                                               Date of Signature: 25 March 2016
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                                                                "SYT-1"                     4"
                              This   is the Tab   in Exhibit                marked   "TAB


                                                   referred     to in the


                                                      AFFIDAVIT


                                                               OF


                                                  SUN     YINGTONG
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             Date :       14 September 2020
             Our ref.:    14744




              Certification of Translation Accuracy
             To whom it may concern:

             LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD, an ISO 17100:2015 certified
             professional translation company, do hereby certify that the translation of the attached
             document(s) was executed by a professional translator competent to translate and
             review from Chinese into English in accordance with the requirements set out in the
             ISO 17100 standard (International Standard for Translation Services), and is to the best
             of our professional knowledge and belief, a true and faithful rendering of the original
             document(s) in Chinese.




             _________________________
             Loh Wai Wah
             Corporate Development Manager
             for and on behalf of LINGUA TECHNOLOGIES INTERNATIONAL PTE LTD
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                                  EXHIBIT 4
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                           IN THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

            HC/S        /2020
                                                    Between

                                                    GUOTAIQIXING BIOMEDICAL INTERNATIONAL
                                                    (S) PTE. LTD.
                                                    (UEN No. 20150039K)
                                                                                ... Plaintiff(s)
                                                    And

                                                    (1) DAI XUEFENG
                                                        (PRC Passport No.            2878)

                                                    (2) ZHANG JUNQI
                                                        (PRC Passport No.            9520)

                                                    (3) XU XINMANNI
                                                        (PRC Passport No.            7254)

                                                                                             ... Defendant(s)

                                                   

                   I, Sun Yingtong (PRC Passport No.               7101), care of Guotaiqixing Biomedical

            International (S) Pte. Ltd. of 60 Paya Lebar Road #11-01, Paya Lebar Square, Singapore

            409051, do solemnly and sincerely affirm and say as follows:



            1.     I am a Director of the Plaintiff and I am duly authorised to file this Affidavit on behalf

                   of the Plaintiff in support of its application herein.



            2.     Unless otherwise stated, the matters deposed to herein are within my knowledge

                   and are true. Insofar as the matters deposed to herein are not within my knowledge,

                   they are derived from the Plaintiff’s documents and are true to the best of my

                   information and belief.



            3.     Owing to the circumstances of the Plaintiff’s claims and the matters discussed in

                   paragraphs 8 to 10 herein, the Plaintiff does not have a complete set of all of its
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                 documents and records. Accordingly, some of the documents I refer to in this

                 Affidavit are unsigned documents or fragments of documents which have been

                 recovered in the course of the ongoing investigations referred to in paragraph 10

                 herein.



            A.   BACKGROUND TO THE PLAINTIFF’S CLAIMS



            I.   PARTIES TO THE SUIT



                 (a)   The Plaintiff



            4.   The Plaintiff is a company incorporated in Singapore on or about 9 November 2015.

                 The Plaintiff’s registered address is 60 Paya Lebar Road #11-01, Paya Lebar

                 Square, Singapore 409051. A copy of the Plaintiff’s Business Profile search is

                 annexed hereto and marked “TAB 1” of Exhibit “SYT-1”.



            5.   The Plaintiff is a wholly-owned subsidiary of 深圳国泰旗兴产业投资基金管理中心

                 （有限合伙） (also known as Shenzhen Guotaiqixing Industry Investment Fund

                 Management Centre LLP “Shenzhen Guotai”), a limited partnership formed under

                 the laws of the People’s Republic of China (“China”). At all material times prior to 27

                 May 2019 the partners of Shenzhen Guotai were (as stated in clause 2.3 of the

                 Partnership Agreement referred to in paragraph 6(a) herein):



                 (a)   深圳前海国民投资管理有限公司 (also known as Shenzhen Qianhai Nations

                       Investment Management Co., Ltd., “Nations Investment”), a corporation

                       incorporated in China, as limited partner; and
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                 (b)   北京旗隆医药控股有限公司 (also known as Beijing Khan Pharmaceutical

                       Holdings Co., Ltd., “Beijing Khan”), a corporation incorporated in China, as

                       general partner.



            6.   Shenzhen Guotai was the vehicle into which Nations Investment invested an

                 aggregate of some RMB 500 million which was to be managed by Beijing Khan

                 pursuant to a joint venture between Nations Investment and Beijing Khan (the “Joint

                 Venture”). The Joint Venture was formalised by:



                 (a)   a Partnership Agreement dated 23 November 2015 between Beijing Khan as

                       general partner and Nations Investment as limited partner (the “Partnership

                       Agreement”); and

                 (b)   an Agreement for Further Investment Regarding Shenzhen Guotaiqixing

                       Industry Investment Fund Co., Ltd. (Limited Partnership) dated 25 March 2016

                       between Nations Investment, Beijing Khan and Shenzhen Guotai (the

                       “Further Investment Agreement”).



                 Of these monies, USD 34,639,399.87 (approximately RMB 226 million at the material

                 time) was injected into the Plaintiff as share capital. Copies of the Partnership

                 Agreement and Further Investment Agreement are annexed hereto and marked

                 “TAB 2” and “TAB 3” of Exhibit “SYT-1” respectively.



            7.   Nations Investment was and is a wholly-owned subsidiary of 国民技术股份有限

                 公司 (also known as Nations Technologies Inc, “Nations”), which was at all

                 material times a company listed on the Shenzhen Stock Exchange. Nations

                 Investment was primarily used as a vehicle for Nations to carry out investments
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                  (see Part III of Announcement No. 2015-075 issued by Nations titled

                  “Announcement      of     Wholly   Owned    Subsidiary    Company      Participating   in

                  Establishment of Industrial Investment Fund” dated 6 November 2015 (“Nations

                  Announcement 2015-075”), a copy of which is annexed hereto and marked “TAB

                  4” of Exhibit “SYT-1”).



            8.    By a Judgment dated 14 February 2019, the People’s Court of the Shenzhen Qianhai

                  Co-operation Zone held that Beijing Khan had “committed misconduct while

                  implementing matters for the partnership”, and ordered that Beijing Khan be removed

                  as a partner of Shenzhen Guotai (the “14 February 2019 Judgment”). The 14

                  February 2019 Judgment was made pursuant to a Civil Complaint lodged by Nations

                  Investment dated 5 February 2018 (the “5 February 2018 Civil Complaint”),

                  seeking to remove Beijing Khan as a partner of Shenzhen Guotai. Copies of the 5

                  February 2018 Civil Complaint and 14 February 2019 Judgment are annexed hereto

                  and marked “TAB 5” and “TAB 6” of Exhibit “SYT-1”. By a Notice of Change dated

                  14 August 2019, Nations Investment was appointed the liquidator of Shenzhen

                  Guotai. A copy of the aforesaid Notice of Change is annexed hereto and marked

                  “TAB 7” of Exhibit “SYT-1”.



            9.    On or about 16 October 2019, Nations Investment as liquidator of Shenzhen Guotai

                  removed, inter alios, the 1st Defendant from his position as director of the Plaintiff,

                  and appointed new directors over the Plaintiff. A copy of the resolution of the

                  Extraordinary General Meeting dated 16 October 2019 is annexed hereto and

                  marked “TAB 8” of Exhibit “SYT-1”.



            10.   Investigations into the misconduct of the 1st Defendant along with the misconduct of

                  his associates, the 2nd and 3rd Defendants, are ongoing as of the date of this Affidavit,
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                  including computer forensics of devices used by the 1st and 2nd Defendants

                  belonging to the Plaintiff.



                  (b)   The Defendants and where they may be found



            11.   The 1st Defendant, who is also known as Eric, is a citizen of China and his current

                  residence is at 249 Cleft Rd., Mill Neck, NY 11765 in the United States of America

                  (the “US”). A Memorandum dated 28 September 2020 prepared by Applied Facts, a

                  US-based investigation firm, setting out information related to the residency, property

                  ownership and employment of the 1st Defendant is annexed hereto and marked “TAB

                  9” of Exhibit “SYT-1” (the “AF Memorandum (1st Defendant)”). The Annex referred

                  to in the aforesaid Memorandum is annexed hereto and marked “TAB 10” of Exhibit

                  “SYT-1”.



            12.   The 1st Defendant was a director of the Plaintiff at all material times from 9 November

                  2015 until 16 October 2019. A copy of a People Profile search carried out on the 1st

                  Defendant is annexed hereto and marked “TAB 11” of Exhibit “SYT-1”.



            13.   The 1st Defendant is the founder of, and at all material times controlled various

                  entities in diverse territories including China, the British Virgin Islands, the Cayman

                  Islands, the US and Singapore, which will be collectively referred to as the “Khan

                  Entities”. The Khan Entities included Beijing Khan, which is referred to in paragraphs

                  5(b) and 6 herein. The 1st Defendant is the ultimate beneficial owner of all or

                  substantially all of each of the Khan Entities (this is further discussed at paragraphs

                  29 to 31(c) herein).
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            14.   The 2nd Defendant, who is also known as “Alice” and “Alice Chung”, is a citizen of

                  China and her current residence is at 2618 Sea Island Drive, Fort Lauderdale, FL

                  33301-1589 in the US. A Memorandum dated 28 September 2020 prepared by

                  Applied Facts setting out information related to the residency, property ownership

                  and employment of the 2nd Defendant is annexed hereto and marked “TAB 12” of

                  Exhibit “SYT-1” (the “AF Memorandum (2nd Defendant)”). The Annex to the

                  aforesaid Memorandum is at “TAB 10” of Exhibit “SYT-1”.



            15.   The 2nd Defendant was the General Manager and an officer of the Plaintiff from 15

                  November 2015 until around December 2017. Copies of:



                  (a)   an unsigned letter addressed to the Ministry of Manpower in Singapore that

                        was drafted by, drafted under the supervision of, and/or reviewed and

                        approved by, the 2nd Defendant in late January 2016, relating to the application

                        for an employment pass for the 2nd Defendant (the “Letter to MOM”); and

                  (b)   an unsigned “Employment Contract” between the Plaintiff and the 2nd

                        Defendant that was created on around 9 February 2017 (the “2nd Defendant’s

                        Employment Contract”);



                  are annexed hereto and respectively marked “TAB 13” and “TAB 14” of Exhibit

                  “SYT-1”. These documents were recovered in the course of the ongoing

                  investigations, from computers seized from the Plaintiff’s office that were used during

                  the 1st and/or 2nd Defendants’ tenure with the Plaintiff. For the reasons set out in

                  paragraphs 3 and 7 to 9 herein, the Plaintiff is unable to locate the engrossed and

                  signed versions of the aforesaid documents.
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            16.   The 3rd Defendant, who is also known as “Sophie”, is a citizen of China and her

                  current residence is at 249 Cleft Rd, Mill Neck, NY 11765-1003 (Nassau County) in

                  the US. A Memorandum dated 28 September 2020 prepared by Applied Facts

                  setting out information related to the residency, property ownership and employment

                  of the 3rd Defendant is annexed hereto and marked “TAB 15” of Exhibit “SYT-1” (“AF

                  Memorandum (3rd Defendant)”). The Annex to the aforesaid Memorandum is at

                  “TAB 10” of Exhibit “SYT-1”.



            17.   The 2nd and 3rd Defendants were at all material times key members of the

                  management of various Khan Entities (this is further discussed at paragraphs 29 to

                  31(c) herein).



            18.   At all material times, the 1st, 2nd and 3rd Defendants styled themselves as fund

                  managers, and purported to issue funds and carry out fund management using the

                  Khan Entities and other entities under their control (including the Plaintiff). A copy of

                  marketing material issued by the Khan Entities sometime in or after February 2017,

                  that was recovered in the course of the ongoing investigations, from a computer

                  seized from the Plaintiff’s office that was used during the 1st and/or 2nd Defendants’

                  tenure with the Plaintiff (the “Khan Marketing Material”), is annexed hereto and

                  marked “TAB 16” of Exhibit “SYT-1”.



            19.   The 1st, 2nd and 3rd Defendants conceived of and carried out a scheme, under which

                  investment monies which were entrusted to Shenzhen Guotai and, by extension, the

                  Plaintiff, pursuant to the Joint Venture, were diverted for their own benefit. As part of

                  the scheme, the 1st, 2nd and 3rd Defendants caused Shenzhen Guotai to inject USD

                  34,639,399.87 into the Plaintiff, and thereafter hollowed out the Plaintiff by diverting
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                  substantial amounts from the Plaintiff to the 2nd Defendant and the Khan Entities (the

                  “Diversion”).



            20.   As a result of their misconduct, the 1st, 2nd and 3rd Defendants are on the wanted list

                  for criminal fugitives pursuant to a warrant of arrest issued by the Shenzhen

                  Municipal Public Security Bureau on or about 25 December 2018 for embezzlement.

                  This was announced by Nations by an Announcement No. 2018-078 titled

                  “Announcement of Company Learning of the Warrant of Arrest for Employees

                  Related to Qianhai Genghis Khan” dated 28 December 2018 (“Nations

                  Announcement 2018-078”), a copy of which is annexed hereto and marked “TAB

                  17” of Exhibit “SYT-1”.



            21.   The Plaintiff’s claims in this Suit are for:



                  (a)   Loss and damage caused to the Plaintiff by the Diversion. The net amount of

                        this claim is USD 34,264,935.99, being the amount of USD 45,264,935.99

                        which was the subject of the Diversion less USD 11,000,000 which was

                        returned to the Plaintiff.

                  (b)   Loss and damage caused to the Plaintiff by the 1st, 2nd and 3rd Defendants

                        procuring or permitting that Khan Fund Management Asia Pte. Ltd.

                        (“SGKFM”), use the Plaintiff’s office premises at 2 Shenton Way #17-02, SGX

                        Centre 1, Singapore 068804 (the “Plaintiff’s Office Premises”) as its

                        registered address, without payment to the Plaintiff. The amount of this claim

                        is SGD 290,153.97.



                  I will elaborate on the Plaintiff’s claims further in this Affidavit.
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            II.   DUTIES OWED BY THE 1ST AND 2ND DEFENDANTS TO THE PLAINTIFF



                  (a)   Duties owed by the 1st Defendant to the Plaintiff



            22.   As a director of the Plaintiff, the 1st Defendant owed fiduciary duties (including

                  statutory duties under section 157 of the Companies Act (Cap 50, 2006 Rev Ed)) to

                  the Plaintiff that required him to:



                  (a)   act honestly and in the interests of the Plaintiff;

                  (b)   use reasonable diligence in the discharge of his duties owed to the Plaintiff;

                  (c)   act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                        all duties, powers, responsibilities, obligations and functions assigned to or

                        vested in or attached to him;

                  (d)   ensure that each transaction that is undertaken by the Plaintiff is at arm's

                        length and, in any event, not place or allow himself to be placed in a situation

                        or position whereby any of his duties and obligations to the Plaintiff conflict or

                        potentially may conflict directly or indirectly with his personal interests;

                  (e)   not make any secret profit or receive any secret payment;

                  (f)   disclose any breaches (on his part) of duties owed to the Plaintiff; and/or

                  (g)   not make improper use of his position as a director of the Plaintiff or any

                        information acquired by virtue of his position as a director to gain, directly or

                        indirectly, an advantage for himself or for any other person or to cause

                        detriment to the Plaintiff.
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                  (b)    Duties owed by the 2nd Defendant to the Plaintiff



            23.   The 2nd Defendant was employed in an executive capacity (see paragraphs 24 and

                  26 herein) and, inter alia, owed a contractual duty (implied as a matter of law) of

                  mutual trust and confidence, and fidelity, to act faithfully in the best interests of the

                  Plaintiff.



            24.   Pursuant to the terms of her employment with the Plaintiff, the 2nd Defendant also

                  owed express contractual duties to the Plaintiff and/or had the authority to:



                  (a)    oversee the overall management, sales and operations of the Plaintiff, and

                         formulate and implement business strategies and policies of the Plaintiff;

                  (b)    do her utmost to maximise the financial returns of the Plaintiff by designing

                         optimal development strategies;

                  (c)    have general control and responsibility for the management of the business of

                         the Plaintiff;

                  (d)    do all in her power to promote, develop and extend the business of the Plaintiff;

                  (e)    be the “Legal Representative” of the Plaintiff whether throughout Singapore or

                         abroad and be entrusted with the direction and management of the company

                         businesses;

                  (f)    perform other legal and chartered functions and those assigned or delegated

                         by the Board of Directors;

                  (g)    not do or refrain from doing any act whereby her office as a General Manager

                         is or becomes liable to be vacated;

                  (h)    not do anything that would cause her to be disqualified from continuing to act

                         as a General Manager;
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                 (i)   not do anything which may bring about disrepute to any holding company or

                       subsidiary of the Plaintiff or any subsidiary of any holding company of the

                       Plaintiff (other than the Plaintiff) (collectively, the “Group”) or anything which

                       infringes the laws and regulations of the countries in which the Group operates

                       in; and

                 (j)   declare all conflicts of interest and all direct and deemed interests (whether

                       financial or otherwise) which she may have in any company or companies

                       which are or which may from time to time be doing business with the Group or

                       which are or which may from time to time be in direct or indirect competition

                       with the Group (collectively the “Connected Companies”) and to ensure that

                       none of the Group Companies shall contract or deal with any Connected

                       Company save with the prior written/verbal consent of the Board; and in any

                       event, without prejudice to the foregoing, any contract or transaction with any

                       Connected Company or otherwise any dealings, negotiations or other

                       transactions between the Group company and any Connected Company shall

                       be on terms that are strictly normal commercial terms and arm's length and

                       which have been entered into with the utmost good faith after due regard to

                       the interests of the Group;

                 (k)   disclose and obtain the prior written consent of the Board of the Plaintiff,

                       whether on her own, or jointly with others, or on behalf of any person, firm or

                       company, or as manager, agent consultant or employee of any person, firm or

                       company, directly or indirectly:

                       (i)   engage in any other business which is wholly or partly in competition

                             with any business carried on by any Group Company by itself or

                             themselves or in partnership, common ownership or as a joint venture

                             with any third party; or
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                        (ii)   be concerned or interested in any other business of a similar nature to

                               or competitive with that carried on by any Group Company or by any

                               supplier or customer of any Group Company; and

                  (l)   to perform according to the highest standards of business ethics.



                  These terms are recorded in the 2nd Defendant’s Employment Contract dated 9

                  February 2017 that is referred to at paragraph 15(b) herein and annexed as “TAB

                  14” of Exhibit “SYT-1”, and in the Plaintiff’s Employee Handbook, a copy of which is

                  annexed hereto and marked “TAB 18” of Exhibit “SYT-1”. Thus far, the ongoing

                  investigations have yet to uncover a signed version of the document.



            25.   Further to paragraph 24 herein, the 2nd Defendant was:



                  (a)   a signatory to the Plaintiff’s bank accounts held with DBS Bank Limited

                        (“DBS”);

                  (b)   identified in the Letter to MOM as a “crucial” employee with “substantial

                        investment and management experience in the financial sector” who had been

                        “tasked to transform [the Plaintiff] into a dynamic strategic investor” (see “TAB

                        13” of Exhibit “SYT-1”); and

                  (c)   purportedly conferred the power to sign “subscription form related documents”

                        for the purpose of share subscriptions on the Plaintiff’s behalf (see paragraph

                        53(c) herein)



                  A copy of a resolution of the Board of Directors of the Plaintiff dated 9 November

                  2015, setting out signature requirements for operating the Plaintiff’s bank accounts

                  held with DBS, is annexed hereto and marked “TAB 19” of Exhibit “SYT-1”.
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            26.   By reason of the matters referred to in paragraphs 24 and 25 herein, the 2nd

                  Defendant was an officer of the Plaintiff. As such, she also owed statutory duties

                  under section 157(2) of the Companies Act to the Plaintiff to not make improper use

                  of her position as an officer of the Plaintiff or any information acquired by virtue of

                  his position as an officer to gain, directly or indirectly, an advantage for herself or for

                  any other person or to cause detriment to the Plaintiff.



            27.   By reason of the matters referred in paragraph 23 to 26 herein, at all material times,

                  the 2nd Defendant also owed fiduciary duties to the Plaintiff.



            28.   The 2nd Defendant’s fiduciary duties (including her statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff required her to:



                  (a)   act bona fide and in good faith in the interest of the Plaintiff in the discharge of

                        all duties, powers, responsibilities, obligations and functions assigned to or

                        vested in or attached to her;

                  (b)   ensure that each transaction that is undertaken by the Plaintiff is at arm's

                        length and in any event, not place or allow herself to be placed in a situation

                        or position whereby any of his duties and obligations to the Plaintiff conflict or

                        potentially may conflict directly or indirectly with his personal interests;

                  (c)   not make any secret profit or receive any secret payment;

                  (d)   disclose any breaches (on her part) of duties owed to the Plaintiff; and/or

                  (e)   not make improper use of her position as an officer of the Plaintiff or any

                        information acquired by virtue of her position as an officer to gain, directly or

                        indirectly, an advantage for herself or for any other person or to cause

                        detriment to the Plaintiff.
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            III.   CIRCUMSTANCES LEADING TO THE PLAINTIFF’S CLAIMS



                   (a)   The Khan Entities



            29.    The Plaintiffs are aware of the following Khan Entities:



                   (a)   Genghis Khan Investment, Inc. (“GKI”), which was incorporated in or around

                         February 2006 in the British Virgin Islands;

                   (b)   深圳市旗隆投资管理有限公司 (also known as Shenzhen Khan Investment

                         Management Co. Ltd., “SKI”), which was incorporated in China in or around

                         April 2006;

                   (c)   重庆市旗隆投资管理有限公司 (also known as Chongqing Khan Investment

                         Management Co. Ltd., “CQKIM”), which was incorporated in China in or

                         around July 2008;

                   (d)   深圳前海旗隆基金管理有限公司 (also known as Shenzhen Qianhai Genghis

                         Khan Fund Management Co., Ltd. and Shenzhen Qianhai Khan Fund

                         Management Co., Ltd., “SQKFM”), which was incorporated in China on or

                         around 1 April 2014;

                   (e)   Khan Funds Management America, Inc. (“KFA”), which was incorporated in

                         the US under the laws of the State of New York on or about 15 October 2014;

                   (f)   Beijing Khan, referred to in paragraph 5(b) herein, which was incorporated on

                         or around 7 August 2015;

                   (g)   Khan Funds Global Limited (“KFG”), which was incorporated in the Cayman

                         Islands on or about 18 September 2015;
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                  (h)   Khan Funds Oriental Medicine Fund SPC (“KOM”), which was a segregated

                        portfolio company incorporated in the Cayman Islands on or about 18

                        September 2015; and

                  (i)   SGKFM, referred to in paragraph 21(b) herein, which was incorporated in

                        Singapore on or about 31 March 2016.



            30.   The Plaintiff understands that the 1st Defendant is the ultimate beneficial owner of

                  KFG, KOM, KFA and SGKFM:



                  (a)   According to a “structure chart”, the 1st Defendant owned 100% of KFG, which

                        in turn owned 100% of KOM (the “Structure Chart”).

                  (b)   According to the Register of Members of KFG dated 23 September 2015, and

                        the Certificate of Incumbency of KFG dated 28 January 2016 (“KFG’s COI”)

                        the 1st Defendant was the sole shareholder of KFG.

                  (c)   According to the Register of Members of KOM dated 29 December 2015, KFG

                        was the sole shareholder of KOM.

                  (d)   According to a Business Profile search of SGKFM dated 1 April 2016, KFG

                        was the sole shareholder of SGKFM.

                  (e)   According to a Verified Amended Complaint dated 30 August 2019 that the 1st

                        Defendant signed and swore before a Notary Public in the State of New York

                        (the “New York Complaint”), and filed in the New York County Court in Case

                        Number 161221/2018, the 1st Defendant was the “sole shareholder, Chief

                        Executive Officer (“CEO”) and President” of KFA.



                  The documents referred to in this paragraph are annexed hereto and marked “TAB

                  20” of Exhibit “SYT-1”. The documents referred to in (a) to (c) above were recovered

                  in the course of the ongoing investigations, from a computer seized from the
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                  Plaintiff’s office that was used during the 1st and/or 2nd Defendants’ tenure with the

                  Plaintiff.



            31.   GKI and SKI were incorporated in around 2006. According to the Khan Marketing

                  Material (see “TAB 16” of Exhibit “SYT-1”):



                  (a)    the 1st Defendant used GKI and SKI for the “initiation and management of

                         securities investment funds outside of Mainland China”;

                  (b)    the 1st Defendant held himself out as a specialist in investments in the

                         biomedical industry, and aggressively promoted himself as a fund manager

                         investing in companies with “upright, honest, trustworthy people who have a

                         passion for life”; and

                  (c)    in around July 2008, the 1st Defendant incorporated CQKIM, which was used

                         as a vehicle to:

                         (i)     raise investment monies through issuing funds in China (“Khan-Issued

                                 Funds”);

                         (ii)    carry out investment management of Khan-Issued Funds; and

                         (iii)   carry out investment management of venture capital and funds issued

                                 by third parties (“Third Party Funds”).



            32.   According to the Khan Funds website, the 2nd and 3rd Defendants joined the Khan

                  Entities in around 2009. A copy of a print-out of the Khan Funds website as of 29

                  September 2020 is annexed hereto and marked “TAB 21” of Exhibit “SYT-1”.



            33.   During the material time, the 2nd and 3rd Defendants were key members of the

                  management in and controlled various Khan Entities alongside the 1st Defendant,

                  and were part of the 1st Defendant’s inner circle:
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                  (a)   According to the Khan Funds website, the 1st, 2nd and 3rd Defendants were

                        part of the “Executive Team” of the Khan Entities (see “TAB 21” of Exhibit

                        “SYT-1” (page 817)).

                  (b)   According to the Khan Marketing Material, the 1st, 2nd and 3rd Defendants were

                        “Core Members” of the Khan Entities (see “TAB 16” of Exhibit “SYT-1” (page

                        467)).

                  (c)   According to the “Organizational Chart” in a set of presentation slides

                        produced by one of the Khan Entities, the 2nd and 3rd Defendants, who were

                        the “Director of investment research” and “General Manager” respectively,

                        ranked at the top of the hierarchy reporting directly to the 1st Defendant (see

                        page 848). The aforesaid slides, and a similar set of presentation slides which

                        further identify the 2nd and 3rd Defendants as “Head of Quantitative Trading”

                        and “Head of Macro Research” as well (see page 868), are annexed hereto

                        and collectively marked “TAB 22” of Exhibit “SYT-1”.

                  (d)   According to the Structure Chart, the 1st, 2nd and 3rd Defendants were the

                        directors of KFG and KOM (see “TAB 20” of Exhibit “SYT-1” (page 591)).

                  (e)   According to KFG’s COI (see “TAB 20” of Exhibit “SYT-1” (pages 593)) and

                        the Register of Directors of KFG dated 23 September 2015 (annexed hereto

                        and marked “TAB 23” of Exhibit “SYT-1”), the 1st, 2nd and 3rd Defendants were

                        the directors of KFG.



                  (b)   Events leading to the Joint Venture



            34.   By an Announcement No. 2013-010 titled “Announcement of the Resolutions of the

                  8th Meeting of the 2nd Board of Directors” dated 17 April 2013, Nations announced

                  that it was considering possible avenues for investment of its “spare monies” by way
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                  of purchasing “wealth management products” (“Nations Announcement 2013-

                  010”). A copy of Nations Announcement 2013-010 is annexed hereto and marked

                  “TAB 24” of Exhibit “SYT-1”. The 1st Defendant was aware of the Nations

                  Announcement 2013-010, or was otherwise aware that Nations was considering

                  possible avenues for investment of its cash reserves by way of purchasing

                  investment products. He thus sought to cultivate Nations to become a substantial

                  investor in Khan-Issued Funds.



            35.   In around early-2014, the 1st Defendant was introduced to and met with Mr Luo

                  Zhaoxue (“Mr Luo”) (the “First Meeting”). At the time, Mr Luo was the Chief

                  Executive Officer of Nations.



            36.   During the First Meeting, the 1st Defendant and Mr Luo discussed the prospects of

                  making investments into the biomedical industry outside of China, and particularly in

                  the US and Europe, through the purchase of investment products offered by Khan

                  Entities.



            37.   After the First Meeting, the 1st Defendant continued to cultivate Nations to become a

                  substantial investor in Khan-Issued Funds, and from time to time proposed various

                  avenues for Nations to carry out investments through the purchase of Khan-Issued

                  Funds.



            38.   On or about 1 April 2014, SQKFM was incorporated. According to the Khan

                  Marketing Material, the 1st, 2nd and 3rd Defendants held the positions of “President

                  and Investment Decision Committee Chairman”, “Investment Director & Head of

                  Quantitative Trading” and “General Manager and Head of Macro Research”,

                  respectively (see “TAB 16” of Exhibit “SYT-1” (pages 467)).
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            39.   According to the Khan Marketing Material, the incorporation of SQKFM was to

                  “conduct[] private equity securities investment, equity investment, venture capital

                  investment and other private equity fund businesses [and] to independently issue

                  Khan-issued private equity funds” (see “TAB 16” of Exhibit “SYT-1” (page 465)).



            40.   On or about 15 October 2014, KFA was incorporated in the US by the 1st Defendant.

                  A copy of the Certificate of Incorporation of KFA is annexed hereto and marked “TAB

                  25” of Exhibit “SYT-1”. According to the New York Complaint, the 1st Defendant was

                  the sole shareholder, Chief Executive Officer and President of KFA (see “TAB 20”

                  of Exhibit “SYT-1” (page 605)). The 1st, 2nd and 3rd Defendants are and were at all

                  material times members of KFA’s “Executive Team” (see the print-out of the Khan

                  Funds website at “TAB 21” of Exhibit “SYT-1” (page 817)).



            41.   In around November 2014, Nations agreed to make a preliminary investment of RMB

                  200 million into a Khan-Issued Fund known as 前海旗隆量化分级基金 (also known

                  as the Qianhai Khan Quantitative Diversified Fund, the “Khan QD Fund”). SQKFM

                  was the fund management company Khan QD Fund. This was announced by

                  Nations by Announcement No. 2014-067 titled “Announcement of Updates on

                  Proposal to Use Spare Monies to Purchase Wealth Management Products” dated

                  28 November 2014, a copy of which is annexed hereto and marked “TAB 26” of

                  Exhibit “SYT-1”. According to the Khan Marketing Material, the 2nd Defendant

                  managed SQKFM’s quantitative funds and was “responsible for the realisation and

                  implementation of SQKFM’s quantitative investment strategy” (see “TAB 16” of

                  Exhibit “SYT-1” (page 467)).
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            42.   After Nations’ investment into the Khan QD Fund, the 1st Defendant continued to

                  propose that Nations either increase its investments into Khan-Issued Funds, or

                  make other investments through the Khan Entities into potential investment targets.



            43.   In around July or August 2015, Nations provisionally agreed to a proposal made by

                  the 1st Defendant for Nations to invest further monies into a joint venture with 1st

                  Defendant and one or more of the Khan Entities to invest in the biomedical industry,

                  which the 1st Defendant had purportedly identified as a viable investment target. This

                  was the Joint Venture, which was referred to in paragraph 6 herein.



            44.   The Joint Venture was thereafter carried out through the formation of a limited

                  partnership between Nations Investment (which was a wholly-owned subsidiary of

                  Nations) and Beijing Khan, with the 1st, 2nd and 3rd Defendants acting as fund

                  managers. This limited partnership was Shenzhen Guotai as discussed in

                  paragraphs 5 and 6 herein.



                  (c)     The Diversion



            45.   On or about 6 November 2015, the Board of Directors of Nations resolved to invest

                  RMB 300 million in the Joint Venture through Nations Investment (see Nations

                  Announcement 2015-075 at “TAB 4” of Exhibit “SYT-1” (pages 161 to 165)).



            46.   On or about 9 November 2015, the 1st, 2nd and/or 3rd Defendants incorporated the

                  Plaintiff, or procured that the Plaintiff be incorporated, as a wholly-owned subsidiary

                  of Shenzhen Guotai. At all material times, the Plaintiff’s capital was USD 35 million

                  divided into 35 million equal shares (see “TAB 1” of Exhibit “SYT-1” (pages 71 to

                  74)).
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            47.   In the course of negotiating the terms of the agreement to formalise the Joint

                  Venture, Nations proposed that a custodian bank be appointed to take custody of

                  the monies and assets invested by Nations Investment pursuant to the Joint Venture.

                  Nations proposed this arrangement as a safeguard against the risk of

                  misappropriation of investment monies.



            48.   To facilitate the Diversion, the 1st Defendant resisted Nations’ request for a custodian

                  bank, and counter-proposed that SQKFM provide to Nations Investment a guarantee

                  for the principal investment of RMB 300 million with a return on investment of 5% per

                  annum which he represented would provide the same level of security.



            49.   Accordingly:



                  (a)   By the Partnership Agreement: (i) Nations Investment agreed to, inter alia,

                        invest RMB 300 million into Shenzhen Guotai; and (ii) Beijing Khan agreed to,

                        inter alia, invest RMB 500,000 into Shenzhen Guotai and to honestly and

                        diligently maximise returns on the investment monies through equity,

                        debenture and other investments. The Partnership Agreement conferred upon

                        Beijing Khan, which was controlled by the 1st, 2nd and 3rd Defendants, the

                        exclusive power to manage the operations of Shenzhen Guotai and to make

                        all investment decisions without interference from Nations Investment (see

                        “TAB 2” of Exhibit “SYT-1” (pages 88 to 92)).

                  (b)   By   a   Supplementary      Partnership    Agreement     Regarding     Shenzhen

                        Guotaiqixing Industry Investment Fund Co., Ltd. (Limited Partnership) dated

                        25 November 2015 between Nations Investment and SQKFM, SQKFM

                        provided a guarantee to Nations Investment for the investment of RMB 300
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                       million with a return on investment of 5% per annum (the “First

                       Supplementary       Partnership        Agreement”).    A    copy    of   the    First

                       Supplementary Partnership Agreement is annexed hereto and marked “TAB

                       27” of Exhibit “SYT-1”.

                 (c)   In pursuance of the Partnership Agreement, on or about 30 November 2015,

                       Nations Investment paid the sum of RMB 300 million to Shenzhen Guotai (the

                       “RMB 300 Million Investment”).

                 (d)   On or about 23 December 2015, the 1st, 2nd and/or 3rd Defendants caused

                       Shenzhen Guotai to transfer a substantial part of the RMB 300 Million

                       Investment to the Plaintiff for subscription of the Plaintiff’s shares. The sum of

                       USD 34,639,399.87 was received by the Plaintiff in its USD-denominated

                       account held with DBS in Singapore (the “Plaintiff’s DBS Account (USD)”).

                       A copy of the Transaction Advice showing receipt of the aforesaid sum in the

                       Plaintiff’s DBS Account (USD) is annexed hereto and marked “TAB 28” of

                       Exhibit “SYT-1”. According to an email chain between the 2nd Defendant and

                       an employee of the Plaintiff, the amount received was less than the USD 35

                       million share capital of the Plaintiff as a result of deductions for fees and foreign

                       exchange rates. A copy of the aforesaid email chain is annexed hereto and

                       marked “TAB 29” of Exhibit “SYT-1”.

                 (e)   On or about 9 November 2015, Mr Luo was appointed as a director of the

                       Plaintiff. A copy of the People Profile search on Mr Luo is annexed hereto and

                       marked “TAB 30” of Exhibit “SYT-1”. Notwithstanding his directorship, Mr Luo

                       was not involved in the operations of the Plaintiff and the 1st, 2nd and/or 3rd

                       Defendants concealed the Diversion from him. The 1st, 2nd and/or 3rd

                       Defendants forged Mr Luo’s signature on at least one document in the course

                       of concealing and concealing the nature of the Diversion (this is further

                       discussed in paragraph 53(c) herein).
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            50.   The 1st, 2nd and 3rd Defendants used the Khan Entities, including KFA, KFG, KOM

                  and SGKFM, as conduits for funds transfers which ultimately benefited themselves.

                  Evidence that the Khan Entities were used as conduits for such funds transfers

                  include:



                  (a)   Four “Research Consultancy Contract[s]” between KFA and SQKFM, dated

                        15 November 2014, 14 January 2015, 3 June 2015 and 1 July 2015, which

                        provided for substantial “consultancy fee[s]” of between USD 30,001 and USD

                        31,106 per month to be paid by SQKFM to KFA for a tenure of 6 months or 1

                        year (the “Research Consultancy Contracts”). These documents were

                        manufactured to provide justification for remittances to KFA – the 1st, 2nd and

                        3rd Defendants were employees of both KFA and SQKFM and there was no

                        commercial basis for such “consultancy fee[s]”, the tenure of the various

                        Research Consultancy Contracts overlapped with each other, and the Plaintiff

                        has not found any evidence that any services were provided under the

                        Research Consultancy Contracts. Copies of the Research Consultancy

                        Contracts and invoices issued by KFA in respect of the “Consultancy Fee[s]”

                        that the Plaintiff has uncovered in the course of the ongoing investigations are

                        annexed hereto and collectively marked “TAB 31” of Exhibit “SYT-1”.

                  (b)   On 24 April 2017, a former employee of KFA, Mr Robert Polite (“Mr Polite”)

                        filed a Federal discrimination and whistleblower lawsuit against KFA in the

                        District Court of the Southern District of New York. According to paragraph 12

                        of the Complaint filed by Mr Polite in that lawsuit, the 1st Defendant “was

                        pilfering company funds for his personal benefit - such as purchasing furniture

                        and paying rent for an apartment” (see paragraph 61 herein).
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                  (c)   On or about 18 December 2017, the 1st Defendant remitted USD 3 million to

                        KFG from his personal JPMorgan Chase Bank, N.A. bank account, which was

                        held with his ex-wife Liu Xiayu.

                  (d)   Between about 21 and 26 December 2017, five transfers of USD 900,000 each

                        (i.e. an aggregate of USD 4.5 million) was transferred from SGKFM (which is

                        wholly owned by KFG) to Wang Guoli, who is the 1st Defendant’s mother.

                  (e)   On or about 26 December 2017, the sum of USD 400,000 was transferred

                        from KFG to Wang Jing, who is the 1st Defendant’s sister.

                  (f)   On or about 26 December 2017, the 1st Defendant remitted to KFG USD 3.5

                        million from his personal JPMorgan Chase Bank, N.A. bank account, which

                        was held with his ex-wife Liu Xiayu.



                  Copies of the Transaction Advices evidencing the transfers referred to in paragraphs

                  (c) to (f) above are annexed hereto and marked “TAB 32” of Exhibit “SYT-1”.



            51.   Turning specifically to the Diversion of funds from the Plaintiff, the 1st, 2nd and 3rd

                  Defendants effected this through multiple withdrawals made from time to time

                  between 29 December 2015 and 6 April 2017 from the Plaintiff’s DBS Account

                  (USD). These sums were transferred to the 2nd Defendant, or to KFA, KFG or KOM

                  as conduits for the Diversion. As discussed in paragraphs 30 and 33 herein, KFA,

                  KFG and KOM were entities owned by the 1st Defendant and controlled by the 1st,

                  2nd and 3rd Defendants. The substantial withdrawals made from and deposits made

                  into the Plaintiff’s DBS Account (USD) were as follows:
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         Date of Withdrawal / Recipient   Sum Transferred       Bank Charges       Purported Reason for
         Deposit              of Transfer out of / Returned     Incurred (USD)     Transfer and
                                          to the Plaintiff                         Reference
                                          (USD)
         29 December 2015    KOM               33,600,000.00                     - “The Company had
         Withdrawal                                                                funded 3300 shares at
                                                                                   the values of US$33
                                                                                   million in KHAN FUNDS
                                                                                   ORIENTAL MEDICINE
                                                                                   FUND on 29th Dec
                                                                                   2015 as 2% is the
                                                                                   subscribe fee.”
                                                                                   (“TAB 35” of Exhibit
                                                                                   “SYT-1” (page 1030))
         6 January 2016      KFA                  310,000.00            179.24 Characterised as a
         Withdrawal                                                            “loan [at] 3 years loan
                                                                               tenure and 3% per
                                                                               interest annum” in the
                                                                               2016 Management
                                                                               Accounts
                                                                               (“TAB 35” of Exhibit
                                                                               “SYT-1” (page 1030))
                                                                               and in an Excel
                                                                               spreadsheet recovered
                                                                               in the ongoing
                                                                               investigations (“TAB
                                                                               36” of Exhibit “SYT-1”
                                                                               (page 1034))
         30 August 2016      KFA                  250,000.00            203.53 Characterised as a
         Withdrawal                                                            “loan [at] 3 years loan
                                                                               tenure and 3% per
                                                                               interest annum” in the
                                                                               2016 Management
                                                                               Accounts
                                                                               (“TAB 35” of Exhibit
                                                                               “SYT-1” (page 1030))
                                                                               and in an Excel
                                                                               spreadsheet recovered
                                                                               in the ongoing
                                                                               investigations (“TAB
                                                                               36” of Exhibit “SYT-1”
                                                                               (page 1034))
         18 November 2016    KOM              (10,000,000.00)                    - Characterised as a
         Deposit                                                                   “REDEMPTION OF
                                                                                   1,381.3223. SHARES”
                                                                                   (“TAB 34” of Exhibit
                                                                                   “SYT-1” (page 1010))
                                                                                   and also a
                                                                                   “redemption [of] 1382
                                                                                   shares at the value of
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         Date of Withdrawal / Recipient   Sum Transferred      Bank Charges       Purported Reason for
         Deposit              of Transfer out of / Returned    Incurred (USD)     Transfer and
                                          to the Plaintiff                        Reference
                                          (USD)
                                                                                  US$10 million so
                                                                                  company loss US$3.82
                                                                                  million in investment
                                                                                  [sic]”
                                                                                  (“TAB 35” of Exhibit
                                                                                  “SYT-1” (page 1030))
         18 November 2016    KFG                  500,000.00                    - Characterised as a
         Withdrawal                                                               “loan [at] 3 years loan
                                                                                  tenure and 3% per
                                                                                  interest annum” in the
                                                                                  2016 Management
                                                                                  Accounts
                                                                                  (“TAB 35” of Exhibit
                                                                                  “SYT-1” (page 1030))
                                                                                  and in an Excel
                                                                                  spreadsheet recovered
                                                                                  in the ongoing
                                                                                  investigations (“TAB
                                                                                  36” of Exhibit “SYT-1”
                                                                                  (page 1034))
         18 November 2016    KFG                  500,000.00                    - Characterised as a
         Withdrawal                                                               “loan [at] 3 years loan
                                                                                  tenure and 3% per
                                                                                  interest annum” in the
                                                                                  2016 Management
                                                                                  Accounts
                                                                                  (“TAB 35” of Exhibit
                                                                                  “SYT-1” (page 1030))
                                                                                  and in an Excel
                                                                                  spreadsheet recovered
                                                                                  in the ongoing
                                                                                  investigations (“TAB
                                                                                  36” of Exhibit “SYT-1”
                                                                                  (page 1034))
         1 December 2016     KFG                  500,000.00                    - Characterised as a
         Withdrawal                                                               “loan [at] 3 years loan
                                                                                  tenure and 3% per
                                                                                  interest annum” in the
                                                                                  2016 Management
                                                                                  Accounts
                                                                                  (“TAB 35” of Exhibit
                                                                                  “SYT-1” (page 1030))
                                                                                  and in an Excel
                                                                                  spreadsheet recovered
                                                                                  in the ongoing
                                                                                  investigations (“TAB
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         Date of Withdrawal / Recipient   Sum Transferred      Bank Charges       Purported Reason for
         Deposit              of Transfer out of / Returned    Incurred (USD)     Transfer and
                                          to the Plaintiff                        Reference
                                          (USD)
                                                                                  36” of Exhibit “SYT-1”
                                                                                  (page 1034))
         1 December 2016     KFG                  500,000.00                    - Characterised as a
         Withdrawal                                                               “loan [at] 3 years loan
                                                                                  tenure and 3% per
                                                                                  interest annum” in the
                                                                                  2016 Management
                                                                                  Accounts
                                                                                  (“TAB 35” of Exhibit
                                                                                  “SYT-1” (page 1030))
                                                                                  and in an Excel
                                                                                  spreadsheet recovered
                                                                                  in the ongoing
                                                                                  investigations (“TAB
                                                                                  36” of Exhibit “SYT-1”
                                                                                  (page 1034))
         5 December 2016     KFA                  550,025.00           195.18 Characterised as a
         Withdrawal                                                           “CONSULTANCY FEE”
                                                                              with no further details
                                                                              (“TAB 34” of Exhibit
                                                                              “SYT-1” (page 1012))
                                                                              and also a “loan [at] 3
                                                                              years loan tenure and
                                                                              3% per interest annum”
                                                                              in the 2016
                                                                              Management Accounts
                                                                              (“TAB 35” of Exhibit
                                                                              “SYT-1” (page 1030))
                                                                              and in an Excel
                                                                              spreadsheet recovered
                                                                              in the ongoing
                                                                              investigations (“TAB
                                                                              36” of Exhibit “SYT-1”
                                                                              (page 1034))
         27 December 2016    KFA                  500,000.00           192.14 Characterised as a
         Withdrawal                                                           “loan [at] 3 years loan
                                                                              tenure and 3% per
                                                                              interest annum” in the
                                                                              2016 Management
                                                                              Accounts
                                                                              (“TAB 35” of Exhibit
                                                                              “SYT-1” (page 1030))
                                                                              and in an Excel
                                                                              spreadsheet recovered
                                                                              in the ongoing
                                                                              investigations (“TAB
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         Date      of Withdrawal         /   Recipient          Sum         Transferred      Bank       Charges           Purported             Reason           for
         Deposit                             of Transfer        out     of / Returned        Incurred       (USD)         Transfer           and
                                                                to    the    Plaintiff                                    Reference
                                                                (USD)
                                                                                                                          36"                         "SYT-1"
                                                                                                                                  of Exhibit
                                                                                                                          (pages           1034))

         28   December            2016       KFG                             6,000,000.00                             -   Characterised                as a
         Withdrawal                                                                                                       "loan    [at] 3 years   loan
                                                                                                                          tenure     and 3% per
                                                                                                                                       annum"
                                                                                                                          interest              in the
                                                                                                                          2016       Management
                                                                                                                          Accounts
                                                                                                                                      35"
                                                                                                                          ("TAB                of Exhibit
                                                                                                                          "SYT-1"
                                                                                                                                            (page      1030))
                                                                                                                          and      in an      Excel
                                                                                                                          spreadsheet               recovered
                                                                                                                          in the   ongoing
                                                                                                                          investigations               ("TAB
                                                                                                                          36"                         "SYT-1"
                                                                                                                                of Exhibit
                                                                                                                          (Page       1034))

         4 January         2017              KFA                                400,000.00                   192.48       Characterised                as a
                                                                                                                                                           FEE"
         Withdrawal                                                                                                       "CONSULTANCY
                                                                                                                          with     no further    details
                                                                                                                                     34"
                                                                                                                          ("TAB            (page    1016)
                                                                                                                          of Exhibit          "SYT-1")

         22                   2017           2nd                                353,356.89                                Characterised                as
             February
                                                                                                                          "BONUS"                           36A"
         Withdrawal                          Defendant                                                                                        ("TAB
                                                                                                                          (page       1037)         of Exhibit
                                                                                                                          "SYT-1")

         9 March       2017                  KFA                                200,000.00                   195.75       No      stated      reasons
         Withdrawal                                                                                                       provided

         21   March     2017                 KFG                                100,000.00                                No      stated      reasons
         Withdrawal                                                                                                       provided

         6 April    2017                     KOM                                                                      -   Characterised                as a
                                                                            (1,000,000.00)
         Deposit                                                                                                          "REDEMPTION           OF
                                                                                                                                       SHARES"
                                                                                                                          324.4625
                                                                                                                                   34"
                                                                                                                          ("TAB         (page    1024)
                                                                                                                          of Exhibit   "SYT-1")

         6 April    2017                     KFA                                500,000.00                   197.89       No      stated      reasons
         Withdrawal                                                                                                       provided

         6 April    2017                     KFA                                500,000.00                   197.89       No      stated      reasons
         Withdrawal                                                                                                       provided

                                             Sub-Totals:                    34,263,381.89                 1,554.10

                                                     Net   Su   n Misappropriated:              34,264,935.99
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            52.   In truth, the transfers were not “loans”, “consultancy fee[s]” or “BONUS” as falsely

                  recorded in the Plaintiffs’ records (this is elaborated upon further at paragraphs 53(d)

                  to 53(f) herein). By April 2017, the funds in the Plaintiff’s DBS Account (USD) had

                  been almost entirely depleted and only a balance of USD 5,793.53 remained as of

                  30 April 2017. After misappropriating these sums, the 1st, 2nd and 3rd Defendants

                  absconded from China in late 2017. Thereafter, the 1st and 2nd Defendants also

                  ceased to carry out duties or functions owed to the Plaintiff, and did not return to the

                  Plaintiff’s Office Premises (see paragraph 68 herein). Copies of the bank account

                  statements for the Plaintiff’s DBS Account (USD) for the period from 1 November

                  2015 to 30 April 2017 are annexed hereto and collectively marked “TAB 33” of

                  Exhibit “SYT-1”. Copies of the Transaction Advices which contain details of the

                  transfers from the Plaintiff’s DBS Account (USD), and which the Plaintiff has been

                  able to recover, are annexed hereto and collectively marked “TAB 34” of Exhibit

                  “SYT-1”. A copy of the Plaintiff’s management accounts for the financial year ended

                  31 December 2016 (the “2016 Management Accounts”) is annexed hereto and

                  marked “TAB 35” of Exhibit “SYT-1”. Copies of spreadsheets that were recovered in

                  the ongoing investigations, from a computer seized from the Plaintiff’s office that was

                  used during the 1st and/or 2nd Defendants’ tenure with the Plaintiff, showing, among

                  other things, that the withdrawal of USD 33,600,000 on 29 December 2015 was in

                  favour of KOM, are annexed hereto and collectively marked “TAB 36” of Exhibit

                  “SYT-1”. A copy of an email chain with DBS regarding the transfers made on 22

                  February 2017 and 21 March 2017 is annexed hereto and marked “TAB 36A” of

                  Exhibit “SYT-1”.



            53.   The 1st, 2nd and 3rd Defendant took steps to conceal the nature and existence of the

                  Diversion and gave the false impression that the monies transferred out of the

                  Plaintiff to the 2nd Defendant was for “BONUS”, and that the monies transferred to
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                 KFA, KFG and KOM were being used in relation to genuine investments. In this

                 respect, the Plaintiff has uncovered the following incriminating evidence as part of

                 the ongoing investigations:



                 (a)   In or around end-2015, the 1st, 2nd and/or 3rd Defendants created or caused to

                       be created various documents which were designed to create the false

                       impression that the Plaintiff had serious plans to be involved in research and

                       development, technology and innovation in “gene chip and peptide synthesis”

                       in Singapore. These documents included:

                       (i)    A report assessing the feasibility of having the Plaintiff carry out these

                              tasks, and setting out a breakdown of the Plaintiff’s purported costs in

                              doing so (the “Feasibility Report”). The Feasibility Report did not and

                              was never intended by the 1st, 2nd and/or 3rd Defendants to reflect their

                              true intentions for using the USD 35 million that was injected into the

                              Plaintiff, which was to effect the Diversion to benefit themselves. A copy

                              of the Feasibility Report is annexed hereto and marked “TAB 37” of

                              Exhibit “SYT-1”.

                       (ii)   Unsigned memoranda of understanding, letters of intent or agreements,

                              some with fictitious research organisations such as the “Biopolis Bio-

                              Medical Science Institute” and the “Singapore General Hospital

                              Pathology Laboratory”. Copies of these documents are is annexed

                              hereto and collectively marked “TAB 38” of Exhibit “SYT-1”.

                 (b)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that the transfer of USD 33,600,000 to KOM

                       on or around 29 December 2015 was for the subscription of 3,300 “shares” in

                       KOM (see the 2016 Management Accounts at “TAB 35” of Exhibit “SYT-1”

                       (page 1030)). There was no genuine agreement for the Plaintiff to subscribe
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                      to KOM’s shares, and no such agreement or share certificates have been

                      uncovered in the Plaintiff’s records in the course of the ongoing investigations.

                      (i)    There was no commercial basis for the purported subscription of shares.

                             According to the Certificate of Incorporation of KOM dated 23

                             September 2015 (“KOM’s COI”), KOM was incorporated shortly before

                             the purported subscription on or about 18 September 2015 with a paid-

                             up capital of USD 1. A copy of KOM’s COI, which was recovered in the

                             course of the ongoing investigations, from a computer seized from the

                             Plaintiff’s office that was used during the 1st and/or 2nd Defendants’

                             tenure with the Plaintiff, is annexed hereto and marked “TAB 39” of

                             Exhibit “SYT-1”.

                      (ii)   According to an Investment Management Agreement dated 23

                             December 2015 signed by the 2nd Defendant on behalf of KOM and KFG

                             (“IMA”), KFG was purportedly appointed as the “Investment Manager”

                             of KOM. The date of the IMA was the same day on which USD

                             33,600,000 was transferred from the Plaintiff to KOM pursuant to the

                             Diversion (as discussed in 51 herein). Pursuant to clause 7.2, KFG

                             would receive a monthly “Management Fee” that was “equal to 1/12 x

                             2.5% of the Net Asset Value of [KOM form that month].” Further, KFG

                             would be remunerated regardless of its performance – the IMA provided

                             for a separate “Performance Fee” under clause 7.3. For instance,

                             according to the information uncovered from the ongoing investigations,

                             for April 2016, KFG received a Management Fee of USD 78,784.74 and

                             a Performance Fee of just USD 636.70. There is no apparent

                             commercial justification for the Management Fee when KOM and KFG

                             were both ultimately owned and controlled by the 1st Defendant. A copy

                             of the IMA is annexed hereto and marked “TAB 40” of Exhibit “SYT-1”.
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                 (c)   The 1st, 2nd and/or 3rd Defendants created or caused to be created a document

                       titled “Authorized Person” dated 29 December 2015 which purported to confer

                       upon the 2nd Defendant the power to sign “subscription form related

                       documents” on the Plaintiff’s behalf. This served to create the false impression

                       that one or more of the transfers made pursuant to the Diversion was or were

                       for the purpose of share subscriptions. The aforesaid document was signed

                       by the 1st Defendant and contained a forgery of Mr Luo’s signature. A copy of

                       the aforesaid document is annexed hereto and marked “TAB 41” of Exhibit

                       “SYT-1”.

                 (d)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that transfers of monies out of the Plaintiff

                       were “loan[s]” to KFA (for an aggregate sum of as much as USD 1,610,025)

                       and KFG (for an aggregate sum of as much as USD 8,000,000) or

                       “consultancy fee[s]” paid to KFA (for an aggregate sum of as much as USD

                       950,025). There were no genuine loan agreements or consultancy agreements

                       between the Plaintiff and KFA or KFG, and no such agreements have been

                       uncovered in the Plaintiff’s records pursuant to the ongoing investigations.

                 (e)   With regards to the purported “loan[s]” to KFA and KFG, according to the 2016

                       Management Accounts, those loans had a “3 years loan tenure and 3%

                       interest per annum” (see “TAB 35” of Exhibit “SYT-1” (page 1030)). However,

                       notwithstanding that the tenures for the purported loans have all expired, none

                       of those purported loans have been repaid to-date and no interest has been

                       paid to the Plaintiff thereon. Further, it appears from representations made by

                       KFA itself that there was no commercial basis for KFA to be taking such a

                       substantial loan (for an aggregate sum of as much as USD 8,000,000): (i) in a

                       letter from KFA dated 1 May 2016 that purported to authorise “China

                       Merchants Bank, New York Branch to search for pharmaceutical projects”,
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                       which was signed by the 1st Defendant, KFA represented that it had “$2 billion

                       assets under management” (a copy of the aforesaid letter is annexed hereto

                       and marked “TAB 42” of Exhibit “SYT-1”); and (ii) according to the Khan Funds

                       website, in 2015, KFA had “signed a 15-year lease agreement with One World

                       Trade Center” (see “TAB 21” of Exhibit “SYT-1” (page 818)).

                 (f)   The 1st, 2nd and/or 3rd Defendants falsely recorded or caused that it be falsely

                       recorded in the Plaintiff’s records that the transfer of USD 353,356.89

                       (approximately SGD 487,632.51 at an exchange rate off USD 1 to SGD 1.38)

                       to the 2nd Defendant on 22 February 2017 was a “BONUS” payment.

                       According to clause 5.1 of the 2nd Defendant’s Employment Contract dated 8

                       February 2017, the 2nd Defendant’s basic monthly salary was SGD 8,500 and

                       was to be increased to SGD 12,000 after “completing six months of

                       employment”. According to clause 5.4 of the 2nd Defendant’s Employment

                       Contract, the Plaintiff also had the “absolute discretion [to] pay the [2nd

                       Defendant] a bonus in accordance with the bonus schemes or policies from

                       time to time prevailing in the [Plaintiff]”. According to clause 4.3 of the Plaintiff’s

                       Employee Handbook: “Employees who have completed one year’s service as

                       at 31st December may be paid an annual bonus each year. The quantum shall

                       be at the absolute discretion of the Management and be based on the

                       employee’s last drawn basic salary as at 31st December of that year.” The

                       aforementioned transfer would have been equivalent to between 40.6 months

                       (assuming a basic salary of SGD 12,000) and 57.4 months (assuming a basic

                       salary of SGD 8,500) of bonus paid to the 2nd Defendant. Considering that

                       there were no genuine investments being made by the Plaintiff, and in any

                       event that the 2016 Management Accounts showed that the Plaintiff had

                       incurred an operating loss of SGD 6,574,262.96 for the financial year ending

                       31 December 2016 (see “TAB 35” of Exhibit “SYT-1” (pages 1027)), it was
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                       unjustifiable for the 2nd Defendant to have been paid a bonus, much less a

                       bonus of 40.6 to 57.4 months, and it is evident that the characterisation of the

                       aforesaid payment as a “BONUS” was false and to justify or conceal the

                       unjustified diversion of monies to benefit the 2nd Defendant. In any event, there

                       were no board resolutions, payslips or other documents justifying or approving

                       a “BONUS” payment to the 2nd Defendant, and no such documents have been

                       uncovered in the Plaintiff’s records pursuant to the ongoing investigations.

                 (g)   The 1st, 2nd and/or 3rd Defendants purported to commence negotiations with

                       various purported investment targets in the biomedical industry in the US,

                       which they alleged had to be prolonged due to complications relating to foreign

                       exchange controls in China, changes to China’s regulations on outbound

                       investment monies, the global economic downturn and issues with corporate

                       governance in the investment targets. No evidence of such negotiations have

                       been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (h)   In the Letter to MOM which was dated 29 January 2016, the 2nd Defendant

                       caused the Plaintiff to falsely state that: “Our [GTQX's] vision is to be the

                       leading investor in biomedical science industry and intend to invest to shape

                       the future-industries of Singapore in the demanding sectors of biomedical

                       science. We encourage the development, expansion and revolution of

                       successful industries to enhance economic progress and generate

                       employment opportunities in Singapore.” This was after the first two transfers

                       of USD 33,600,000 and USD 310,000 to KOM and KFA, respectively, pursuant

                       to the Diversion had been effected (see paragraphs 51 herein).

                 (i)   On or about 18 November 2016, the 1st, 2nd and/or 3rd Defendants caused

                       KOM to transfer the sum of USD 10 million to the Plaintiff. This was falsely

                       recorded in the 2016 Management Accounts to be for the “redemption” of
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                       1,832 shares of KOM (see “TAB 35” of Exhibit “SYT-1” (page 1030)). However,

                       as discussed at paragraphs 53(b) and (c) herein, there was no genuine

                       subscription or redemption of shares of KOM by the Plaintiff, and no

                       agreements for the subscription or redemption of shares of KOM by the

                       Plaintiff have been uncovered in the Plaintiff’s records pursuant to the ongoing

                       investigations.

                 (j)   In any event, even if the monies were in fact the proceeds from “redemption”

                       of a fund that the Plaintiff had invested in through KOM, there was no

                       commercial basis for such a “redemption” and no documents evincing any

                       possible commercial basis have been uncovered in the Plaintiff’s records

                       pursuant to the ongoing investigations. According to the Plaintiff’s 2016

                       Management Accounts, the “redemption” (less than one year after the

                       purported subscription) resulted in a loss of “USD 3.82 million” to the Plaintiff,

                       which contributed to an overall “Loss in investment loss” of SGD 5,211,740

                       and an operating loss of SGD 6,574,262.96 for the financial year ending 31

                       December 2016 (see “TAB 35” of Exhibit “SYT-1” (pages 1027)). Further and

                       in any event, substantially all of the proceeds of the purported “redemption”

                       were transferred on the very same day (i.e.18 November 2016) from the

                       Plaintiff to KFG and KFA for the purported “loans” referred to in paragraph (d)

                       herein, and pursuant to the Diversion set out in paragraph 51 herein.

                 (k)   The 1st, 2nd and/or 3rd Defendants systematically effected the Diversion

                       through numerous deposits into and withdrawals from the Plaintiff’s DBS

                       Account (USD) over more than 27 months between 29 December 2015 and 6

                       April 2017 (the details of the deposits and withdrawals are set out in paragraph

                       51 herein). By April 2017, the funds in the Plaintiff’s DBS Account (USD) had

                       been almost entirely depleted and only a balance of USD 5,793.53 remained

                       as of 30 April 2017.
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                  (l)   On or about 12 December 2016, the 1st, 2nd and/or 3rd Defendants caused

                        Shenzhen Guotai to resolve to distribute a “bonus dividend” of RMB 50 million

                        to Nations Investment. Some part of the monies were in fact paid out of the

                        RMB 200 Million Investment made by Nations Investment, and not genuine

                        returns on genuine investment carried out by Beijing Khan through Shenzhen

                        Guotai and, by extension, the Plaintiff. A copy of the Dividend Resolution of

                        Shenzhen Guotai dated 12 December 2016 is annexed hereto and marked

                        “TAB 43” of Exhibit “SYT-1”.



                  (d)   Further investment into Shenzhen Guotai



            54.   On or around 29 February 2016, the Board of Directors of Nations resolved to invest

                  a further RMB 200 million into Shenzhen Guotai through Nations Investment. This

                  was announced by Nations by an Announcement No. 2016-016 titled

                  “Announcement of the Increased Investment by the Wholly-Owned Subsidiary in

                  Shenzhen Guotaiqixing Industry Investment Fund Management Centre” dated 29

                  February 2016 (“Nations Announcement 2016-016”), a copy of which is annexed

                  hereto and marked “TAB 44” of Exhibit “SYT-1”.



            55.   Accordingly:



                  (a)   By the Further Investment Agreement, Nations Investment agreed to, inter

                        alia, invest a further RMB 200 million into Shenzhen Guotai on substantially

                        similar terms as under the Partnership Agreement (see “TAB 3” of Exhibit

                        “SYT-1” (pages 143 to 150)).

                  (b)   By   a   Supplementary    Partnership   Agreement    Regarding    Shenzhen

                        Guotaiqixing Industry Investment Fund Co., Ltd. (Limited Partnership) dated
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                        25 March 2016 between Nations Investment and SQKFM, SQKFM provided a

                        guarantee to Nations Investment for the further investment of RMB 200 million

                        with a return on investment of 5% per annum (the “Second Supplementary

                        Partnership Agreement”). A copy of the Second Supplementary Partnership

                        Agreement is annexed hereto and marked “TAB 45” of Exhibit “SYT-1”.

                  (c)   In pursuance of the Further Investment Agreement, on or about 4 July 2016,

                        Nations Investment paid the sum of RMB 200 million to Shenzhen Guotai (the

                        “RMB 200 Million Investment”).



                  (e)   Events leading to the 1st, 2nd and 3rd Defendants absconding in November

                        2017



            56.   Beginning in late 2016, evidence of the 1st, 2nd and 3rd Defendants’ misconduct

                  began to come to light.



            57.   In around December 2016, Shenzhen Huilong Certified Public Accountants (General

                  Partnership) (“Huilong CPA”) carried out a routine audit of Shenzhen Guotai for the

                  period 1 January 2016 to 30 November 2016. Following the audit, Huilong CPA

                  issued an Audit Report dated 21 December 2016, which bore the stamp of the 2nd

                  Defendant as the legal representative of Shenzhen Guotai (the “Audit Report”).



            58.   The audit revealed that;



                  (a)   apart from its subscription to the Plaintiff’s shares, Shenzhen Guotai had only

                        invested RMB 120 million into derivatives trading through 中国国际期货有限

                        公司 (also known as China International Futures Co., Ltd.);
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                  (b)   SQKFM owed RMB 196,344,553.50 to Shenzhen Guotai; and

                  (c)   Shenzhen Guotai owed RMB 82,370,561.25 to SQKFM.



            59.   By an email dated 12 January 2017, Nations received a copy of the Audit Report

                  from SQKFM. A copy of the aforesaid email and the attached Audit Report are

                  annexed hereto and marked “TAB 46” of Exhibit “SYT-1”. Thereafter, Nations sought

                  clarification from the 1st, 2nd and/or 3rd Defendants as to:



                  (a)   whether and which investments into the CROs in the US and EU that was the

                        basis of the original proposal for investment had been made by the 1st

                        Defendant; and

                  (b)   the nature of the monies owed by SQKFM to Shenzhen Guotai and vice versa.



            60.   Nations did not receive any satisfactory clarification to its queries. Accordingly, in

                  around mid-2017, Nations proposed that there be a change to the structure of its

                  investment in Shenzhen Guotai to ensure better governance of its investment. In

                  order to stall any action by Nations, the 1st Defendant purported to agree to Nations’

                  proposal, and represented that he would return to China in end-2017 to discuss

                  further details of the proposal with Nations.



            61.   As discussed in paragraph50(b) herein, in his Complaint dated 24 April 2017, which

                  was and is a publicly accessible document, Mr Polite asserted that the 1st Defendant

                  had been using KFA’s funds for his own personal use, such as paying rent and

                  purchasing furniture, that contracts with foreign entities (i.e. outside of the US) were

                  repeatedly breached by shortfalls in payments which KFA ignored, and that it

                  appeared that KFA was being used for money laundering. Copies of the Complaint

                  filed by Mr Polite and the Declaration of the 1st Defendant filed in response are
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                  annexed hereto and collectively marked “TAB 47” of Exhibit “SYT-1”. I understand

                  that the Complaint has since been dismissed as the Court declined to exercise

                  jurisdiction over the case, without prejudice to Mr Polite’s right to file in the State

                  Court.



            62.   As the evidence of their misconduct began to come to light, the 1st, 2nd and/or 3rd

                  Defendants took steps to abscond from China and to reside in a jurisdiction outside

                  of China.



            63.   On or about 21 November 2016, the 1st Defendant incorporated Daibenewise Limited

                  in the Cayman Islands (“Daibenewise”) (see Section C.2 of the AF Memorandum

                  (1st Defendant) at “TAB 9” of Exhibit “SYT-1” (pages 238 to 239)). At all material

                  times, the 1st Defendant was the sole shareholder and controller of Daibenewise. In

                  around December 2016, the 1st Defendant used Daibenewise as a vehicle to

                  purchase the property at 249 Cleft Rd, Mill Neck, New York 11765-1003 (Nassau

                  County) in the US. This is the property at which the 1st Defendant now resides (see

                  Section B.1 of the AF Memorandum (1st Defendant) at “TAB 9” of Exhibit “SYT-1”

                  (pages 231 to 233)). Evidently, the 1st Defendant used Daibenewise to purchase the

                  property in order to conceal his ownership of the property.



            64.   Beginning from around early-2017, the 1st, 2nd and/or 3rd Defendants carried out or

                  caused to be carried out investigations into visa and immigration requirements for,

                  and regulations surrounding the setting up of family trusts in, diverse territories

                  including the US, Korea and New Zealand:



                  (a)   In around January 2017, the 2nd Defendant instructed an employee of the

                        Plaintiff to carry out research on Korean citizenship requirements. A copy of
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                       the email chain between that employee and the 2nd Defendant discussing the

                       employee’s research is annexed hereto and marked “TAB 48” of Exhibit “SYT-

                       1”.

                 (b)   In around February 2017, a law firm in New York, Wildes & Weinberg, P.C.,

                       was engaged by the 1st, 2nd and/or 3rd Defendants to provide advice on how to

                       obtain a visa for residence in the US, and to make one or more applications

                       for the same. Copies of email chains showing Wildes & Weinberg, P.C.’s

                       involvement are annexed hereto and marked “TAB 49” of Exhibit “SYT-1”.

                 (c)   In around May 2017, the 2nd Defendant instructed an employee of the Plaintiff

                       to carry out research on immigration to the US. A copy of an email from that

                       employee to the 2nd Defendant dated 29 May 2017 setting out her research is

                       annexed hereto and marked “TAB 50” of Exhibit “SYT-1”.

                 (d)   In around July 2017, the 1st, 2nd and/or 3rd Defendants inquired with a law firm

                       in New York, Kleinberg, Kaplan, Wolff & Cohen, P.C. (“KKWC”), as to setting

                       up a domestic hedge fund in the US in order to obtain a visa for residence in

                       the US. A copy of KKWC’s engagement letter dated 24 July 2017 addressed

                       to the 1st Defendant is annexed hereto and marked “TAB 51” of Exhibit “SYT-

                       1”.

                 (e)   In around September 2017, the 2nd Defendant instructed an employee of the

                       Plaintiff to carry out research on how to set up an irrevocable family trust in the

                       US, and to source for lawyers who would be able to carry out such work. A

                       copy of an email chain with emails discussing this research dated September

                       and October 2017 is annexed hereto and marked “TAB 52” of Exhibit “SYT-

                       1”.

                 (f)   Notes on obtaining permanent residence in New Zealand were also found in

                       an undated document recovered in the course of the ongoing investigations,

                       from a computer seized from the Plaintiff’s office that was used by the 2nd
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                        Defendant. A copy of the aforesaid document is annexed hereto and marked

                        “TAB 53” of Exhibit “SYT-1”.



                  The documents referred to above were recovered in the course of the ongoing

                  investigations, from computers seized from the Plaintiff’s office that were used during

                  the 1st and/or 2nd Defendants’ tenure with the Plaintiff.



            65.   In around July 2017, the 1st Defendant was issued with an EB-1 visa permitting him

                  to reside in the US (see Section A.3 of the AF Memorandum (1st Defendant) at “TAB

                  9” of Exhibit “SYT-1” (pages 231)).



            66.   From around 3 to 16 November 2017, Nations wrote to the 2nd Defendant to request

                  an update on the payment of investment returns for the year ending 2017. The 2nd

                  Defendant falsely represented to Nations that Shenzhen Guotai was calculating the

                  amount of investment returns to be paid. Copies of the Wechat conversation

                  between a Nations representative and the 2nd Defendant are annexed hereto and

                  marked “TAB 54” of Exhibit “SYT-1”.



            67.   On around 11 November 2017, the 1st Defendant announced that he would be

                  shutting down a Wechat group which he used to communicate with investors and

                  potential investors. Subsequently, the 1st Defendant became in communicado and

                  could not be reached by Wechat or otherwise. After around 16 November 2017, the

                  2nd and 3rd Defendants also became in communicado and could not be reached by

                  Wechat or otherwise. In around end-November 2017, Nations discovered that the

                  Khan Entities including SQKFM and Shenzhen Guotai had vacated their offices in

                  Shenzhen in early-November 2017 (see the report made to the Shenzhen Municipal

                  Public Security Bureau by Nations Investment dated 29 November 2017, a copy of
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                  which is annexed hereto and marked “TAB 55” of Exhibit “SYT-1”, and the 14

                  February 2019 Judgment at “TAB 5” of Exhibit “SYT-1” (pages 173 to 178)).



            68.   The 1st and 2nd Defendants thereafter also ceased to carry out duties or functions

                  owed to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                  November 2017.



            IV.   SGKFM’S OCCUPATION OF THE PLAINTIFF’S PREMISES



            69.   At all material times:



                  (a)   the 1st, 2nd and 3rd Defendants were and are directors of SGKFM;

                  (b)   SGKFM’s registered address was the Plaintiff’s Office Premises; and

                  (c)   the 1st and 2nd Defendants transacted business for SGKFM from the Plaintiff’s

                        Office Premises.



                  (See the People Profile search carried out on the 1st Defendant at “TAB 11” of Exhibit

                  “SYT-1” (pages 414 to 415), the Business Profile search carried out on SGKFM at

                  “TAB 20” of Exhibit “SYT-1” (pages 595 to 598), and the People Profile searches on

                  the 2nd and 3rd Defendants, copies of which are annexed hereto and collectively

                  marked “TAB 56” of Exhibit “SYT-1”.)



            70.   The 1st and 2nd Defendants did not require, and the 1st, 2nd and 3rd Defendants did

                  not procure, that SGKFM pay the Plaintiff or any other person for the use of the

                  Plaintiff’s Office Premises. At all material times, the rental and service charges for

                  the Plaintiff’s Office Premises were entirely paid by the Plaintiff.
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            71.   The aggregate amount of rental and service charges paid by the Plaintiff to the

                  landlord Shing Kwan Realty Pte Ltd (“SKR”) for the period from 31 March 2016 (i.e.

                  the date of SGKFM’s incorporation) to 30 November 2017 was SGD 290,153.97.

                  The breakdown of this amount is as follows:



                  Year   Month             Amount paid by Evidence
                                           the Plaintiff (SGD)
                  2016   March     (only              932.97 - Plaintiff’s bank statement for its SGD-
                         30th and 31st)           (pro-rated)  denominated account held with DBS
                                                               (the “Plaintiff’s DBS Account
                                                               (SGD)”) for the period 1 March 2016
                                                               to 31 March 2016
                         April                     14,461.05 - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1 April
                                                               2016 to 30 April 2016
                         May                       14,461.05 - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1 May
                                                               2016 to 31 May 2016
                         June                      14,461.05 - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1 June
                                                               2016 to 30 June 2016
                         July                      14,461.05 - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1 July
                                                               2016 to 31 July 2016
                         August                    14,461.05 - SKR Invoice dated 1 August 2016
                                                             - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1
                                                               August 2016 to 31 August 2016
                         September                 14,461.05 - SKR Invoice dated 1 September
                                                               2016
                                                             - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1
                                                               September 2016 to 30 September
                                                               2016
                         October                   14,461.05 - SKR Invoice dated 1 October 2016
                                                             - Bank statement for the Plaintiff’s DBS
                                                               Account (SGD) for the period 1
                                                               October 2016 to 31 October 2016
                         November                  14,461.05 - SKR Invoice dated 1 November 2016
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                  Year   Month      Amount paid by Evidence
                                    the Plaintiff (SGD)
                                                      - Bank statement for the Plaintiff’s DBS
                                                        Account (SGD) for the period 1
                                                        November 2016 to 30 November
                                                        2016 (no payment was made, but two
                                                        payments were made for rent in
                                                        December 2016)
                         December          14,461.05 - SKR Invoice dated 1 December 2016
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1
                                                       December 2016 to 31 December
                                                       2016 (two payments were made for
                                                       rent in December 2016)
                  2017   January           14,461.05 - SKR Invoice dated 1 January 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1
                                                       January 2017 to 31 January 2017
                         February          14,461.05 - SKR Invoice dated 1 February 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1
                                                       February 2017 to 28 February 2017
                         March             14,461.05 - SKR Invoice dated 1 March 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1 March
                                                       2017 to 31 March 2017
                         April             14,461.05 - SKR Invoice dated 1 April 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1 April
                                                       2017 to 30 April 2017
                         May               14,461.05 - SKR Invoice dated 1 May 2016
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1 May
                                                       2017 to 31 May 2017
                         June              14,461.05 - SKR Invoice dated 1 June 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1 June
                                                       2017 to 30 June 2017
                         July              14,461.05 - SKR Invoice dated 1 July 2017
                                                     - Bank statement for the Plaintiff’s DBS
                                                       Account (SGD) for the period 1 July
                                                       2017 to 31 July 2017
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                  Year    Month            Amount paid by Evidence
                                           the Plaintiff (SGD)
                          August                     14,461.05 - SKR Invoice dated 1 August 2017
                                                               - Bank statement for the Plaintiff’s DBS
                                                                 Account (SGD) for the period 1
                                                                 August 2017 to 31 August 2017
                          September                  14,461.05 - SKR Invoice dated 1 September
                                                                 2017
                                                               - Bank statement for the Plaintiff’s DBS
                                                                 Account (SGD) for the period 1
                                                                 September 2017 to 30 September
                                                                 2017
                          October                    14,461.05 - SKR Invoice dated 1 October 2017
                                                               - Bank statement for the Plaintiff’s DBS
                                                                 Account (SGD) for the period 1
                                                                 October 2017 to 31 October 2017
                                                                 (excess payment of SGD 0.95 made,
                                                                 not included in Plaintiff’s claim)
                          November                   14,461.05 - SKR Invoice dated 1 November 2017
                                                               - Bank statement for the Plaintiff’s DBS
                                                                 Account (SGD) for the period 1
                                                                 November 2017 to 30 November
                                                                 2017



                  Copies of the SKR Invoices and bank statements for the Plaintiff’s DBS Account

                  (SGD) referred to in the table above are annexed hereto and collectively marked

                  “TAB 57” of Exhibit “SYT-1”. A copy of the Tenancy Agreement for the Plaintiff’s

                  Office Premises dated 20 January 2016 is annexed hereto and marked “TAB 58” of

                  Exhibit “SYT-1”.



            V.    THE PLAINTIFF’S CLAIMS AGAINST THE 1ST DEFENDANT: BREACHES OF

                  DUTIES



            72.   By reason of the matters set out in paragraphs 29 to 68 herein (i.e. the Diversion),

                  the Plaintiff is advised and verily believes that the 1st Defendant was in breach of his

                  fiduciary duties (including statutory duties under section 157 of the Companies Act)
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                  to the Plaintiff. As a result, the Plaintiff has suffered loss and damage for which the

                  1st Defendant is liable.



                  (a)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99 (see paragraph 51 herein).



            73.   By reason of the matters set out in paragraphs 69 to 71 herein (i.e. SGKFM’s

                  occupation of the Plaintiff’s premises), the Plaintiff is advised and verily believes that

                  the 1st Defendant was in breach of his fiduciary duties (including statutory duties

                  under section 157 of the Companies Act) to the Plaintiff. As a result, the Plaintiff has

                  suffered loss and damage for which the 1st Defendant is liable.



                  (a)   In this respect, the Plaintiff paid the rental and service charges for the period

                        from 31 March 2016 to 30 November 2017 that SGKFM should have paid for

                        the use of the Plaintiff’s Office Premises, amounting to SGD 290,153.97 (see

                        paragraph 71 herein).



            VI.   THE PLAINTIFF’S CLAIMS AGAINST THE 2ND DEFENDANT: BREACHES OF

                  DUTIES



            74.   By reason of the matters set out in paragraphs 29 to 68 herein (i.e. the Diversion),

                  the Plaintiff is advised and verily believes that the 2nd Defendant was in breach of

                  her contractual duties and/or fiduciary duties (including statutory duties under section

                  157(2) of the Companies Act) to the Plaintiff. As a result, the Plaintiff has suffered

                  loss and damage for which the 2nd Defendant is liable.
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                   (a)   The net amount of loss suffered by the Plaintiff in this respect is USD

                         34,264,935.99 (see paragraph 51 herein).



            75.    By reason of the matters set out in paragraphs 69 to 71 herein (i.e. SGKFM’s

                   occupation of the Plaintiff’s premises), the 2nd Defendant was in breach of her

                   contractual duties and/or fiduciary duties (including statutory duties under section

                   157(2) of the Companies Act) to the Plaintiff. As a result, the Plaintiff has suffered

                   loss and damage for which the 2nd Defendant is liable.



                   (a)   In this respect, the Plaintiff paid the rental and service charges for the period

                         from 31 March 2016 to 30 November 2017 that SGKFM should have paid for

                         the use of the Plaintiff’s Office Premises, amounting to SGD 290,153.97 (see

                         paragraph 71 herein).



            VII.   THE PLAINTIFF’S CLAIMS AGAINST THE 2ND AND 3RD DEFENDANTS:

                   DISHONEST ASSISTANCE



            76.    By reason of the matters set out in paragraphs 29 to 71 herein (i.e. the Diversion and

                   SGKFM’s occupation of the Plaintiff’s premises), the Plaintiff is advised and verily

                   believes that the 2nd and 3rd Defendants dishonestly assisted the 1st Defendant’s

                   breaches of his fiduciary duties owed to the Plaintiff. The breaches of the 1st

                   Defendant’s fiduciary duties are set out in paragraphs 72 and 73 herein.



            77.    The 2nd and 3rd Defendants had assisted in or procured the aforesaid breaches of

                   the 1st Defendant in that:
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                  (a)   As persons holding executive positions in or otherwise controlling Beijing

                        Khan, Shenzhen Guotai, KOM, KFG and KFA, the 2nd and 3rd Defendants

                        assisted in, procured and/or omitted to prevent the transfers made pursuant to

                        the Diversion, which did not benefit but were detrimental to the Plaintiff (see

                        paragraphs 11 to 20, 29 to 34, 49 to 50 and 54 herein).

                  (b)   The 2nd and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments (see paragraph 53 herein).

                  (c)   As persons holding executive positions or controlling the Plaintiff and SGKFM,

                        the 2nd and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person (see paragraphs 69 to 71 herein).



            78.   The 2nd and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 1st Defendant were dishonest in that:



                  (a)   Paragraphs 77(a), 77(b) and 77(c) herein are repeated.

                  (b)   The 2nd and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light (see paragraphs 62 to 67 herein).

                  (c)   The 2nd and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017 (see paragraphs 65 to 68 herein).

                  (d)   The 2nd Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017 (see paragraph 68 herein).
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            79.   As a result, the Plaintiff has suffered loss and damage



                  (a)   The net amount of loss suffered by the Plaintiff in respect of the Diversion was

                        USD 34,264,935.99 (see paragraph 51 herein).

                  (b)   Further, the Plaintiff paid the rental and service charges paid by the Plaintiff

                        for the period from 31 March 2016 to 30 November 2017 that SGKFM should

                        have paid for the use of the Plaintiff’s Office Premises, amounting to SGD

                        290,153.97 (see paragraph 71 herein).



            VIII. THE PLAINTIFF’S CLAIMS AGAINST THE 1ST AND 3RD DEFENDANTS:

                  DISHONEST ASSISTANCE



            80.   By reason of the matters set out in paragraphs 29 to 71 herein (i.e. the Diversion),

                  the Plaintiff is advised and verily believes that the 1st and 3rd Defendants dishonestly

                  assisted the 2nd Defendant’s breaches of her fiduciary duties owed to the Plaintiff.

                  The breaches of the 2nd Defendant’s fiduciary duties are referred to in paragraphs

                  74 and 75 herein.



            81.   The 1st and 3rd Defendants had assisted in or procured the aforesaid breaches of the

                  2nd Defendant in that:



                  (a)   As persons holding executive positions in or otherwise controlling the Plaintiff,

                        Beijing Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st and 3rd

                        Defendants assisted in, procured and/or omitted to prevent the transfers made

                        pursuant to the Diversion, which did not benefit but were detrimental to the

                        Plaintiff (see paragraphs 11 to 20, 29 to 34, 49 to 50 and 54 herein).
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                  (b)   The 1st and 3rd Defendants took steps to conceal the nature and existence of

                        the Diversion and gave the false impression that the monies transferred out of

                        the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments (see paragraph 53 herein).

                  (c)   As person holding executive positions or controlling the Plaintiff and SGKFM,

                        the 1st and 3rd Defendants assisted in having and/or procured that SGKFM

                        occupy the Plaintiff’s Office Premises without payment to the Plaintiff or any

                        other person (see paragraphs 69 to 71 herein).



            82.   The 1st and 3rd Defendants’ assistance in or procurement of the aforesaid breaches

                  of the 2nd Defendant were dishonest in that:



                  (a)   Paragraphs 81(a), 81(b) and 81(c) herein are repeated.

                  (b)   The 1st and 3rd Defendants took steps to abscond from China and to reside in

                        a jurisdiction outside China as evidence of their misconduct began to come to

                        light (see paragraphs 62 to 67 herein).

                  (c)   The 1st and 3rd Defendants became in communicado since November 2017

                        and absconded from China in late 2017 (see paragraphs 65 to 68 herein).

                  (d)   The 1st Defendant thereafter also ceased to carry out duties or functions owed

                        to the Plaintiff, and did not return to the Plaintiff’s Office Premises after around

                        November 2017 (see paragraph 68 herein).



            83.   As a result, the Plaintiff has suffered loss and damage.



                  (a)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99 (see paragraph 51 herein).
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                  (b)   In this respect, the Plaintiff paid the rental and service charges for the period

                        from 31 March 2016 to 30 November 2017 that SGKFM should have paid for

                        the use of the Plaintiff’s Office Premises, amounting to SGD 290,153.97 (see

                        paragraph 71 herein).



            IX.   THE PLAINTIFF’S CLAIMS AGAINST THE 1ST, 2ND AND 3RD DEFENDANTS:

                  CONSPIRACY BY LAWFUL AND UNLAWFUL MEANS



                  (a)   Lawful Means Conspiracy



            84.   The 1st, 2nd and 3rd Defendants wrongfully and with the predominant purpose of

                  injuring the Plaintiff conspired and combined together to injure the Plaintiff by lawful

                  means by:



                  (a)   effecting the Diversion referred to in paragraph 51 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person (see paragraphs

                        69 to 71 herein).



            85.   The 1st, 2nd and 3rd Defendants intended to cause damage to the Plaintiff in that they

                  intended that:



                  (a)   the monies that were transferred from Shenzhen Guotai to the Plaintiff for the

                        subscription of the Plaintiff’s shares referred to in paragraph 49(d) herein

                        would not be used for the benefit of the Plaintiff but were to be diverted from

                        the Plaintiff to the 2nd Defendant or the various Khan Entities for their own
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                        benefit pursuant to the Diversion (see paragraphs 11 to 20, 29 to 34, 49 to 50

                        and 54 herein); and

                  (b)   the Plaintiff’s Office Premises would not be used for the benefit of the Plaintiff

                        but was to be used for the benefit of SGKFM and, by extension, the 1st, 2nd

                        and/or 3rd Defendants’ own benefit (see paragraphs 13, 18 and 33 herein).



            86.   The common intention of the 1st, 2nd and 3rd Defendants may be seen from the

                  matters referred to in paragraphs 29 to 71 herein. In particular:



                  (a)   As persons holding executive positions in or otherwise controlling the Plaintiff,

                        Beijing Khan, Shenzhen Guotai, KOM, KFG and KFA, the 1st, 2nd and 3rd

                        Defendants knew or ought to have known of the transfers made pursuant to

                        the Diversion and that the Diversion did not benefit but was detrimental to the

                        Plaintiff (see paragraphs 11 to 20, 29 to 34, 49 to 50 and 54 herein).

                  (b)   The 1st, 2nd and 3rd Defendants took steps to conceal the nature and existence

                        of the Diversion and gave the false impression that the monies transferred out

                        of the Plaintiff to KFA, KFG and KOM were being used in relation to genuine

                        investments for the Plaintiff’s benefit (see paragraph 53 herein).

                  (c)   The 1st, 2nd and 3rd Defendants took steps to abscond from China and to reside

                        in a jurisdiction outside China as evidence of their misconduct began to come

                        to light (see paragraphs 62 to 67 herein).

                  (d)   The 1st, 2nd and 3rd Defendants became in communicado since November

                        2017 and absconded from China in late 2017 (see paragraphs 65 to 68 herein).

                  (e)   The 1st, 2nd and 3rd Defendants thereafter also ceased to carry out duties or

                        functions owed to the Plaintiff, and did not return to the Plaintiff’s Office

                        Premises after around November 2017 (see paragraph 68 herein).
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                  (f)   As persons holding executive positions in or otherwise controlling the Plaintiff

                        and SGKFM, the 1st, 2nd and 3rd Defendants knew or ought to have known that

                        SGKFM was occupying the Plaintiff’s Office Premises without payment to the

                        Plaintiff or any other person (see paragraphs 69 to 71 herein).

                  (b)   Unlawful Means Conspiracy



            87.   Further or in the alternative to the Plaintiff’s claim in lawful means conspiracy, the

                  1st, 2nd and 3rd Defendants wrongfully and with intent to injure the Plaintiff by unlawful

                  means conspired and combined together to injure the Plaintiff by:



                  (a)   effecting the Diversion referred to in paragraph 51 herein; and/or

                  (b)   assisting in having and/or procuring that SGKFM occupy the Plaintiff’s Office

                        Premises without payment to the Plaintiff or any other person (see paragraphs

                        69 to 71 herein).



            88.   Paragraphs 85 and 86 herein are repeated.



            89.   The unlawful means referred to in paragraph 87 are:



                  (a)   the 1st Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157 of the Companies Act) to the Plaintiff, which are referred to

                        in paragraphs 72 and 73 herein;

                  (b)   the 2nd and 3rd Defendants’ dishonest assistance of the 1st Defendant’s

                        breaches, which is referred to in paragraphs 76 and 79 herein.

                  (c)   the 2nd Defendant’s breaches of fiduciary duties (including statutory duties

                        under section 157(2) of the Companies Act) to the Plaintiff, which are referred

                        to in paragraphs 74 and 75 herein; and/or
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                  (d)   the 1st and 3rd Defendants’ dishonest assistance of the 2nd Defendant’s

                        breaches, which is referred to in paragraphs 80 and 83 herein.




                  (c)   Loss and Damage from the Lawful Means Conspiracy and/or Unlawful

                        Means Conspiracy



            90.   By reason of the matters set out in paragraphs 84 to 89 herein, the Plaintiff has

                  suffered loss and damage.



                  (a)   The net amount of loss suffered by the Plaintiff in this respect is USD

                        34,264,935.99 (see paragraph 51 herein).

                  (b)   In this respect, the Plaintiff paid the rental and service charges for the period

                        from 31 March 2016 to 30 November 2017 that SGKFM should have paid for

                        the use of the Plaintiff’s Office Premises, amounting to SGD 290,153.97 (see

                        paragraph 71 herein).



            X.    RELIEFS SOUGHT IN THE STATEMENT OF CLAIM



            91.   In the premises, the Plaintiff has made the following claims for relief in the Statement

                  of Claim:



                  (1)   As against the 1st Defendant, for the breaches of the 1st Defendant’s fiduciary

                        duties (including statutory duties under section 157 of the Companies Act):

                        (a)   pursuant to paragraph 72 herein, the amount of USD 34,264,935.99;

                        (b)   pursuant to paragraph 73 herein, the amount of SGD 290,153.97; and
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                       (c)   further or in the alternative to Reliefs 1(a) and 1(b) above, equitable

                             compensation / damages to be assessed for breaches of the 1st

                             Defendant’s fiduciary duties (including statutory duties under section

                             157 of the Companies Act) owed to the Plaintiff.



                 (2)   As against the 2nd Defendant, for the breaches of the 2nd Defendant’s

                       contractual duties and/or Defendant’s fiduciary duties (including statutory

                       duties under section 157(2) of the Companies Act):

                       (a)   pursuant to paragraph 74 herein, the amount of USD 34,264,935.99;

                       (b)   pursuant to paragraph 75 herein, the amount of SGD 290,153.97; and

                       (c)   further or in the alternative to Reliefs 2(a) and 2(b) above, equitable

                             compensation / damages to be assessed for breaches of the 2nd

                             Defendant’s contractual duties and/or fiduciary duties (including

                             statutory duties under section 157(2) of the Companies Act) owed to the

                             Plaintiff.



                 (3)   As against the 2nd and 3rd Defendants, for the 2nd and 3rd Defendants’

                       dishonest assistance of the 1st Defendant’s breaches of fiduciary duties

                       (including statutory duties under section 157 of the Companies Act):

                       (a)   pursuant to paragraphs 76 to 79 herein, the sums of USD 34,264,935.99

                             and SGD 290,153.97 for the 2nd and 3rd Defendants’ dishonest

                             assistance of the 1st Defendant’s breaches; and

                       (b)   further or in the alternative to Relief 3(a) above, equitable compensation

                             / damages to be assessed for the 2nd and 3rd Defendants’ dishonest

                             assistance of the 1st Defendant’s breaches.
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                 (4)   As against the 1st and 3rd Defendants, for the 1st and 3rd Defendants’ dishonest

                       assistance of the 2nd Defendant’s breaches of fiduciary duties (including

                       statutory duties under section 157(2) of the Companies Act):

                       (a)   pursuant to paragraphs 80 to 83 herein, the sums of USD 34,264,935.99

                             and SGD 290,153.97 for the 1st and 3rd Defendants’ dishonest

                             assistance of the 2nd Defendant’s breaches; and

                       (b)   further or in the alternative to Relief 4(a) above, equitable compensation

                             / damages to be assessed for the 1st and 3rd Defendants’ dishonest

                             assistance of the 2nd Defendant’s breaches.



                 (5)   As against the 1st, 2nd and 3rd Defendants:

                       (a)   pursuant to paragraphs 84 to 86 and 90 herein, in the tort of conspiracy

                             by lawful means, the sums of USD 34,264,935.99 and SGD 290,153.97;

                       (b)   in the alternative to Relief 5(a) above, damages to be assessed for

                             conspiracy by lawful means to injure the Plaintiff; and

                       (c)   further or in the alternative to Reliefs 5(a) and 5(b) above:

                             (i)    pursuant to paragraphs 87 to 90 herein, in the tort of conspiracy

                                    by unlawful means the sums of USD 34,264,935.99 and SGD

                                    290,153.97; and

                             (ii)   in the alternative to Relief 5(c)(i) above, damages to be assessed

                                    for conspiracy by unlawful means to injure the Plaintiff.



                 (6)   Further to Reliefs 1 to 5 above, as against the 1st, 2nd and 3rd Defendants:

                       (a)   interest;

                       (b)   costs; and

                       (c)   such further or other relief as this Honourable Court deems fit.
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            B.    THERE IS A GOOD ARGUABLE CASE THAT THE PLAINTIFF’S CLAIMS FALL

                  WITHIN ONE OF THE LIMBS UNDER ORDER 11 RULE 1



            92.   This application is made pursuant to Order 11 Rules 1(d)(i), (iii) and (iv), (f), (o), (p)

                  and (s) of the Rules of Court. In this respect, I am advised and verily believe that

                  there is a good, arguable case that the Plaintiff’s claims satisfy the aforementioned

                  limbs of Order 11 Rule 1.

            93.   In respect of the claims for breaches of duties against the 1st and 2nd Defendants set

                  out in paragraphs 72 to 75, the Plaintiff relies on:



                  (a)   Order 11 Rule 1(o), as the claims are for relief against the 1st and 2nd

                        Defendants as fiduciaries of the Plaintiff, a Singapore company, and their

                        liability arises out of acts that were carried out in Singapore, including without

                        limitation effecting the Diversion from the Plaintiff’s DBS Account (USD) that

                        was a bank account situated in Singapore;



                  (b)   Order 11 Rule 1(s), as the claims against them also concern the construction,

                        effect or enforcement of section 157 of the Companies Act, since the 1st and

                        2nd Defendants were respectively a director and an officer of the Plaintiff, a

                        Singapore company (see paragraphs 22 and 26 herein);



                  (c)   Order 11 Rules 1(d)(i), (iii) and (iv), as the 2nd Defendant’s Employment

                        Contract with the Plaintiff referred to in paragraph 15(b) herein was made in

                        Singapore and pursuant to the 2nd Defendant’s employment in Singapore. The

                        2nd Defendant’s Employment contract contains Clause 14.6 which states: “This

                        Agreement and the relationship between the Parties shall be governed by, and

                        interpreted in accordance with, the laws of Singapore. In respect of any legal
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                        action or proceedings arising out of or in connection with this Agreement, the

                        Parties irrevocably submit to the exclusive jurisdiction of the courts of

                        Singapore.” (see “TAB 14” of Exhibit “SYT-1” (pages 444)).



                  (d)   Order 11 Rule 1(p), as the substance of the Plaintiff’s causes of actions arose

                        in Singapore. In this regard, the claims are founded on acts that were carried

                        out in Singapore (see paragraph 93(a) above), and the relationships between

                        the Plaintiff and the 1st and/or 2nd Defendants arose in Singapore, are

                        governed by Singapore law and/or subject to the jurisdiction of the courts of

                        Singapore (see sub-paragraphs 93(b) and (c) herein).



            94.   In respect of the claims for dishonest assistance against the 2nd and 3rd Defendants

                  set out in paragraphs 77 to 79 herein, and against the 1st and 3rd Defendants set out

                  in paragraphs 80 to 83 herein, the Plaintiff relies on:



                  (a)   Order 11 Rule 1(o), as the Plaintiff’s dishonest assistance claims, including the

                        reliefs sought for those claims, are restitutionary ones and, in any event, seek

                        relief against the respective defendants as trustees; and



                  (b)   Order 11 Rule 1(p), as the substance of the Plaintiff’s causes of action arose

                        in Singapore. In this regard, the claims are founded on acts that were carried

                        out in Singapore (see paragraph 94(a) herein), and the relationships between

                        the Plaintiff and the 1st and/or 2nd Defendants arose in Singapore, are

                        governed by Singapore law and/or subject to the jurisdiction of the courts of

                        Singapore (see paragraphs 94(b) and (c) herein).
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            95.   In respect of the claims for the torts of lawful means conspiracy and unlawful means

                  conspiracy set out in paragraphs 84 to 90 herein, the Plaintiff relies on Order 11 Rule

                  1(f), as the claims are founded on acts that were carried out in Singapore, including

                  without limitation effecting the Diversion from the Plaintiff’s DBS Account (USD) that

                  was a bank account situated in Singapore, and involved breaches of duties owed by

                  a director and an officer of the Plaintiff, a Singapore company. Further, the claims

                  are for damage in respect of, or suffered, in Singapore by a Singapore company.



            C.    SINGAPORE IS THE PROPER FORUM



            96.   I have been advised and verily believe that Singapore is the clearly more appropriate

                  forum for hearing the Plaintiff’s claims:



                  (a)   In respect of the claims for breaches of duties against the 1st and 2nd

                        Defendants set out in paragraphs 72 to 75, these fiduciary duties (including

                        statutory duties) were owed to the Plaintiff, which is a Singapore company.

                        These duties owed by the 1st and 2nd Defendants arise out of the common law

                        and section 157 of the Companies Act. They are governed by Singapore law

                        since the law of the place of incorporation (i.e. Singapore law) determines the

                        nature and extent of the duties owed by the directors and officers of the

                        corporation. Further, the governing law of the 2nd Defendant’s employment

                        contract is governed by Singapore law and provides for the exclusive

                        jurisdiction of the Singapore Courts.



                  (b)   In respect of the claims for dishonest assistance against the 2nd and 3rd

                        Defendants set out in paragraphs 77 to 79 herein, and against the 1st and 3rd

                        Defendants set out in paragraphs 80 to 83 herein, and the claims for the torts
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                        of lawful means conspiracy and unlawful means conspiracy set out in

                        paragraphs 84 to 90 herein, the governing law is also Singapore law as the

                        substance of the dishonest assistance and the torts is in Singapore – the

                        claims are founded on acts that were carried out in Singapore, including

                        without limitation effecting the Diversion from the Plaintiff’s DBS Account

                        (USD) that was a bank account situated in Singapore, and involved breaches

                        of duties owed by a director and an officer of the Plaintiff, a Singapore

                        company. Further, the claims are for damage in respect of, or suffered, in

                        Singapore. In any event, in respect of the aforesaid claims for dishonest

                        assistance, the underlying fiduciary duties which were breached are governed

                        by Singapore law (see paragraph 96(a) herein).

                  (c)   Obviously, the Singapore Courts are best placed to apply Singapore law.

                  (d)   In respect of the Plaintiff’s claims in general, issues concerning the Plaintiff’s

                        corporate governance and internal management arise are issues that should

                        be determined in the place of incorporation (i.e. Singapore), according to the

                        law of the place of incorporation (i.e. Singapore law). Further, the damage

                        suffered by the Plaintiff occurred in Singapore as the Diversion was effected

                        through transfers from the Plaintiff’s DBS Account (USD) that was a bank

                        account situated in Singapore, and in respect of SGKFM’s use of the Plaintiff’s

                        Office Premises that are located in Singapore.



            97.   Further, the Plaintiff’s only office was located in Singapore, and documents and

                  devices recovered from the office as part of the ongoing investigations are situated

                  in Singapore.
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            D.    THE PLAINTIFF’S CLAIMS HAVE A SUFFICIENT DEGREE OF MERIT



            98.   For the reasons set out in this Affidavit and in the Statement of Claim (a copy of

                  which is annexed hereto and marked “TAB 59” of Exhibit “SYT-1”), I verily believe

                  that the Plaintiff’s claims have a sufficient degree of merit in that they involve a

                  serious issue to be tried.



            E.    WHERE THE DEFENDANTS MAY BE FOUND



            99.   As discussed in paragraph 11 herein, the 1st Defendant presently resides at 249 Cleft

                  Rd., Mill Neck, NY 11765 in the US and is likely to be found there. The Plaintiff

                  therefore applies for leave to serve the Writ and Statement of Claim on the 1st

                  Defendant at the aforementioned address or elsewhere as he may be found in the

                  US.



            100. As discussed in paragraph 14 herein, the 2nd Defendant presently resides at 2618

                  Sea Island Drive, Fort Lauderdale, FL 33301-1589 in the US and is likely to be found

                  there. The Plaintiff therefore applies for leave to serve the Writ and Statement of

                  Claim on the 2nd Defendant at the aforementioned address or elsewhere as she may

                  be found in the US.



            101. As discussed in paragraph 16 herein, the 3rd Defendant presently resides at 249

                  Cleft Rd., Mill Neck, NY 11765 in the US and is likely to be found there. The Plaintiff

                  therefore applies for leave to serve the Writ and Statement of Claim on the 3rd

                  Defendant at the aforementioned address or elsewhere as she may be found in the

                  US.
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              F.         OTHER         MATTERS




              102.       21    days      will               be     sufficient         for      the               2nd and          3rd Defendants               to   enter   an
                                                 likely                                                  1st,


                         appearance             In the    Registry        of the      Supreme              Court.




              103.       It is not     necessary          to extend        the      validity         of the      Writ     filed   herein.




              104.       In the   circumstances,                 I pray   for an order               in terms           of the    Plaintiffs          application     herein.




              Affirmed        by the     abovenamed                                                  )

              SUN    YINGTONG

              on this1 day            of October          2020                                       )

              in Guangzhou,             People's          Republic        of China                   )




                                                                                    Before           Me,




                                                                                                     E                              Ho Jia            Yin

                                                                                                                                       Attache
                                                                                                            to
                                                                                                                            (Admin          & Consular)


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                                  EXHIBIT 5
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                                    IN THE GENERAL DIVISION OF
                           THE HIGH COURT OF THE REPUBLIC OF SINGAPORE


           1    HC/S 1027/2020
           2    HC/SUM 3901/2021
           3
           4
           5                                          Between
           6
           7                              GUOTAIQIXING BIOMEDICAL INTERNATIONAL
           8                              (S) PTE. LTD.
           9                                                                              ...Plaintiff
          10
          11                                             And
          12
          13                          1. DAI XUEFENG
          14                          2. ZHANG JUNQI
          15                          3. XU XINMANNI
          16                                                                           ...Defendants
          17
          18
          19                                    15 November 2021
          20
          21
          22    Coram: Alison See, Assistant Registrar
          23
          24    Calvin Liang (instructed) (“PC”) and Eugene Low (instructing (Ark Law
          25    Corporation) for the plaintiff/respondent in the application);
          26
          27    Lok Vi Ming SC (“D1C”), Ooi Huey Hien, Derric Yeoh, Kenneth Loh (LVM Law
          28    Chambers LLC) for the 1st defendant/applicant in the application.
          29
          30    [Hearing conducted via Video Conferencing Zoom]
          31    [Start: 9.05 am]
          32

          33    Ct     :    The Court would like to remind you that today’s hearing is subject to the
          34                directions previously conveyed to parties in the registry notice. The
          35                Court directs that there is to be no photography or recording in any form
          36                and, in any event, no dissemination of any photographs or recording of
          37                these proceedings as might have been made whether intentionally or
          38                otherwise. Any such photographs or recording should be surrendered to
          39                the Court immediately upon discovery. Only those counsel or persons
          40                notified to the Court should be present at each location. Everyone should
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           1                treat these proceedings as they would a physical hearing in Chambers,
           2                save they need not rise and bow or stand when addressing the Court.
           3

           4                I have read each parties’ affidavits and submissions and it would suffice
           5                to highlight your main arguments this morning.
           6

           7     D1C :      Burden of proof falls on the Plaintiff – see Humpuss Sea Transport at
           8                Tab 15 of the first Defendant’s Bundle of Authorities (“DBOA”) [102] –
           9                falls on the Plaintiff to show that method of service complies with O 11.
          10                Plaintiff has clarified that service is taken out under O 62 not O 11.
          11                Whatever method of service is employed, the requirement is still on them
          12                to show that the method of service employed complies with the
          13                requirements under our Rules of Court (“ROC”). That is clear from
          14                Humpuss. Refer also to [109] – goes through [109]-[110]. [110b and
          15                110c] relevant in our case. These are well known principles and
          16                uncontroversial in nature. See also [100] – burden is reiterated. Reason
          17                is because jurisdiction conferred by O 11 is condition precedent to the
          18                exercise of jurisdiction under s 16 of the Supreme Court of Judicature
          19                Act. Important duty to be discharged by the Plaintiff so there cannot be
          20                any shortcuts or assumptions. To found jurisdiction, service must be
          21                properly carried out. There are also requirements of comity which run
          22                through O 11 and the decision in Humpuss and hence service must not
          23                contravene laws of the foreign country.
          24

          25                Requirements of substituted service not satisfied here. Not in dispute that
          26                under O 62 r 5, order for substituted service can be made but only if it
          27                appears to the court that personal service is impracticable. Burden of
          28                showing this must lie on the Plaintiff. It is an exception, a limited
          29                exception to the rule that originating process must be personally served
          30                so that the Defendant knows that an action has been commenced against
          31                him. This is also all the more important in respect of a foreign Defendant
          32                as service is the condition precedent for jurisdiction to be founded over
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           1                him. Hence, requirements must be even more stringently scrutinised
           2                where service on foreign Defendant is concerned.
           3

           4                Para 23 of the Supreme Court Practice Directions explains reasonable
           5                attempts to be taken to ensure that person is resident or can be located at
           6                the property. The Plaintiff has not shown that personal service is
           7                impracticable. Service was attempted at two addresses, mostly focused
           8                on 249 Cleft Road address ie the “New York Premises” – 4 attempts; and
           9                one attempt at World Trade Center Address ie address of Khan Funds
          10                America. No other service attempts. Sufficiency and reliability of service
          11                at New York Premises questionable. Basis on which they served there is
          12                the report by Applied Facts which relies on third party database
          13                aggregator ie TLO. We do not know who TLO is and how they carry out
          14                the search. We have not seen the TLO search so we do not know the steps
          15                taken to verify the accuracy of their searches. We do know however that
          16                at the time of the substituted service application, according to the search,
          17                the first Defendant (“D1”) apparently resided at the address from 2017 to
          18                July 2020. By the time that the application was made in February 2021,
          19                we know that the search results were outdated by almost 7 months. For
          20                search results to be relied on, they should be current and it is stated in the
          21                White Book that the “use by” date should not be more than two weeks.
          22                There was no full and frank disclosure.
          23

          24                Affidavits have been exchanged on whether D1 was still staying at the
          25                New York Premises. I note that at this stage, the court will not be making
          26                findings of fact based on affidavit evidence but I would like to highlight
          27                a number of points. Mr Zhang was able to make a couple of assertions on
          28                his own – that he assisted in the removal of personal belongings out of
          29                the property in March 2020. He also said on affidavit that he has personal
          30                knowledge that D1 is no longer staying there.
          31
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           1                Plaintiff has tried to shore up their evidence. They have adduced a
           2                supplemental investigative report to try to bolster their argument that D1
           3                continues to reside at the New York address. When the court considers
           4                whether an application ought to stand or be set aside, the court looks at
           5                the evidence as at the time of the presentation of the application. In any
           6                event, the information in investigative report is equivocal. It shows
           7                property may be maintained but does not show conclusively that he lives
           8                there. Videos and photos were taken to show activity eg gates decorated,
           9                entryway maintained. If these efforts were taken after a challenge was
          10                mounted, why couldn’t they have been done before? Eg, why didn’t the
          11                Plaintiff stake out the property or check with neighbours. If they had done
          12                so, they would come to know that D1 no longer resided at that address.
          13

          14    Ct     :    Wouldn’t this place too high a burden on an applicant in a substituted
          15                service application? You seem to be suggesting that in a substituted
          16                service application one would have to stake out at the address in order to
          17                confirm that the person to be served is residing there and cannot rely on
          18                searches done on the property etc. Isn’t this impractical especially given
          19                that a substituted service application would be taken out after failed
          20                personal service attempts eg failing to find the individual at the relevant
          21                address.
          22

          23    D1C    :    Not unreasonable in this case to say that the Plaintiff ought to have done
          24                something more. The Plaintiff company need not do the “stake out”.
          25                They can hire people to do so. Here, they should have done more because
          26                their searches were outdated. Our point is that if they had done a
          27                surveillance, there would have been no signs of D1 moving in and out of
          28                the premises.
          29

          30                Also refer to Low Choon Kung – Tab 21 p 332 of DBOA – para 10. Court
          31                in this case appears to place a relatively high burden on the Plaintiff
          32                Husband to locate the Wife.
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           1

           2                Here, the Plaintiff is a company that has commenced a suit against an
           3                individual. Difference in resources available to each, do not see issue
           4                with requiring Plaintiff to take reasonable steps to ascertain that he was
           5                living there, eg talking to neighbours etc. They did that at the World
           6                Trade Center address by speaking to the guard, but no evidence of such
           7                attempts at New York Premises. They could also have conducted
           8                searches with government agencies.
           9

          10                Not saying that in every case, all of this must be carried out. But here
          11                service is condition precedent to court having jurisdiction over the
          12                Defendant.
          13

          14                Moving to our argument on methods of service being contrary to New
          15                York law. Our position is that the affix-and-post method carried out do
          16                not permit service at a Defendant’s last known address. Refer to s 308(4)
          17                of the CPLR at Defendant’s Bundle of Documents (“DBOD”) Vol 1 p
          18                310.
          19

          20    Ct     :    There is no need to spend too much time going through the wording of s
          21                308(4) CPLR because the Plaintiff is not disputing that affixing under s
          22                308(4) must be done at current rather than last known address. Their
          23                argument is that s 308 is not even applicable in the first place.
          24

          25    D1C    :    Yes their argument is that s 308 applies only to local processes and not
          26                service of foreign process. Our argument is that it applies. We also say it
          27                is too late for the Plaintiff to say that it does not apply. Plaintiff cannot
          28                blow hot and cold. Plaintiff had relied on s 308. Affidavit of process
          29                server stated that affixing at New York address would satisfy laws of
          30                New York. Clearly referring to s 308 CPLR. Tab 14 DBOD Vol 1. They
          31                say the method of service is specifically permitted. Therefore, the
          32                Plaintiff is now running a self-serving argument.
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           2                Case in Humpuss is clear. Method of service employed must not
           3                contravene law of foreign jurisdiction within which service is carried out.
           4                Court says there are two ways in which this may not be carried out –
           5                failure to serve by way of a mandatory method, or where service was
           6                carried out by way of a method that is expressly outlawed.
           7

           8                Law of New York would not permit service of process at last known
           9                address under s 308(4) CPLR. We say CPLR does apply to foreign
          10                process but it really does not matter because so long as method of service
          11                is contravened, one cannot allow it. If Your Honour is troubled by this
          12                point, then a New York court can determine if s 308(4) applies to service
          13                of foreign process also. But I do not think that we have to go there. But
          14                if we were to go there, there is the procedure under O 101 r 3 of the ROC,
          15                where a reference can be made to the New York courts to make a
          16                determination. This order arose from the Westacre case where I had
          17                represented one of the parties. Memorandum of Understanding has been
          18                entered with Supreme Court of New York in 2015. Valid for 5 years and
          19                lapsed in December 2020 and I am not aware of the status. But there can
          20                be a reference made using the procedure under O 101 if Your Honour is
          21                minded.
          22

          23                Finally, I come to the point that the Plaintiff failed to make full and frank
          24                disclosure in obtaining ORC 861. This is a matter determined by the
          25                information disclosed at the time of application not at the time of
          26                challenge. Fact is material if it comprises matters which the court would
          27                likely take into consideration in making informed decision on the
          28                application. Here, there was failure to disclose that affixing cannot be
          29                done at the last known place of address. Instead, it was stated that service
          30                at last known address is specifically permitted. Refer to the affidavit of
          31                the process server Charlie Spano. Here, it was not that there was a typo
          32                for example. It was the very basis for their application.
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           2                Material facts that would be made known to applicant by undertaking
           3                inquiries must also be disclosed. Mr Spano has not affirmed an affidavit
           4                saying he did not know at the time that the wording would be a critical
           5                point. Question is also not whether he considered it to be reasonable but
           6                whether this is something which the court ought to have been informed
           7                of.
           8

           9                Refer also to case of Transniko, and case of Tecnomar cited in our BOA.
          10

          11                If Your Honour is with us on the point, breach is not curable per the
          12                holding in Humpuss.
          13

          14                Those are my submissions.
          15

          16    [Stand Down: 9.55am]
          17    [Resume: 10.05am]
          18

          19    PC     :    Begin with threshold issue. Even if we assume correctness of D1’s
          20                proxies’ evidence that D1 left New York Premises in March 2020, that
          21                still does not address the issue of email service. There is no prohibition
          22                of substituted service by email. There is nothing in the expert report of
          23                Mr Delehanty on email service.
          24

          25                Refer to Petroval at tab 15 of our BOA – Justice Tay granted application
          26                for substituted service on Defendant’s BVI solicitors. Defendants were
          27                Swiss residents. To get around delay arising from the need to serve in
          28                Switzerland under the Hague Convention, Plaintiff in that case served on
          29                Defendant’s BVI solicitors. The principles in Petroval apply in this case
          30                because by the evidence of D1’s proxies, D1 was no longer resident of
          31                New York since March 2020. Hence email substituted service only needs
          32                to comply with Singapore law and not New York law.
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           1

           2                At para 69 of Mr Zhang’s second affidavit, Mr Zhang says that the email
           3                address is not his email address. This is an afterthought. He makes no
           4                mention of this in his first affidavit. See para 5 Tab 2 of DBOD vol 1. He
           5                does not speak of email service. His evidence that that is not D1’s email
           6                address also cannot be believed. Refer to DBOD vol 2 p 909 – email sent
           7                by D1 using the email address. Refer also to p 19 PBOD – complaint by
           8                D1 filed in New York courts. Court filing from Sept 2019. He discharged
           9                his lawyers and acted as Litigant-in-Person. He makes allegations of
          10                espionage and says that was the reason he fled to New York. He claims
          11                that he was asked to assault Warren Buffett, para 418. Further allegations.
          12

          13    Ct     :    What is the relevance of this?
          14

          15    PC     :    P 104 – he says his emails were hacked. Para 370 – shows that he is
          16                accessing the email. He refers to it as his own email system. Point is that
          17                he refers to email as his own email, signs off on emails. As to whether it
          18                is currently active, refer to our submissions at para 48. Email address was
          19                listed on Khan Funds website and continued to be listed even where there
          20                were developments in this case. He removes the address of the World
          21                Trade Center office, but the email remains. References to himself on the
          22                website are subsequently deleted. But email address remains unchanged
          23                on the website. Pattern of evasion.
          24

          25                For completeness, his complaints were dismissed by the New York
          26                courts. Refer to p –
          27

          28    Ct     :    What is the relevance of the findings of the New York court on his
          29                complaint?
          30

          31    PC     :    Shows that his evidence is not credible. In the present application, he
          32                does not put in his own evidence. He is by all accounts a fugitive. My
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           1                learned friend says we should stake out the premises which is an implicit
           2                concession that he is on the run. Apparently according to my learned
           3                friend, we should have tried to speak to him like the wife in the Lim case,
           4                we should have checked with neighbours, we should have checked with
           5                government agencies eg his driving registration etc. These are all things
           6                which we did.
           7

           8                DBOD vol 1 p 246 and 248 – his own neighbours thought he was living
           9                there. He went incommunicado and deleted all his chats – this is asserted
          10                in DBOD vol 1 p 170. My learned friend also says that we did not conduct
          11                search on driver’s licence. We did – see DBOD vol 2 p 799. Search did
          12                not turn up any result.
          13

          14                DBOD Vol 1 Tab 6 - Mr Zhang says at para 42 of his affidavit that D1
          15                informed Department of Motor Vehicles (“DMV”) of his change in
          16                residence on 13 October 2020 and that he went to surrender his licence
          17                plate. He says there was receipt for the surrendering dated 22 October
          18                2020. But see the receipt at p 267, his address is still stated as the New
          19                York address. Also, surrendering of plates tells us nothing about whether
          20                he changed his residency. It also does not verify what he said about D1
          21                informing DMV of his change of address.
          22

          23                DBOD vol 1 p 235 – Mr Zhang says D1 did not check mail since March
          24                2020 – evidence in support is a letter from village clerk. See phrasing at
          25                para 7b. Mr Delehanty explains what certificate of occupancy is even
          26                though it was not part of his instructions. Nothing said on whether D1
          27                renews the certificate. P 246 – nothing here suggesting that the letter was
          28                addressed to his lawyer. It was addressed to D1. Shows that as late as 3
          29                February 2021, D1 was still able to collect his mail. According to D1’s
          30                own expert at para 109 of Defendant’s submissions – the test of whether
          31                the premises is Defendant’s dwelling place or usual place of abode
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           1                depends on whether the Defendant stays sporadically at those premises,
           2                receives mails or phone calls from those premises etc.
           3

           4                Refer to p 248 DBOD vol 1 – shows that his neighbour still thinks he is
           5                living there. Because letter says he received a complaint from neighbour
           6                “regarding Eric Dai” and his grass not being cut.
           7

           8                On phone calls, refer to p 261 - only call logs adduced show outgoing
           9                calls. There are 10 pages, only first 3 have been exhibited. So it is not a
          10                complete document.
          11

          12                Their own evidence shows that the address is his usual abode. What more
          13                were we expected to do?
          14

          15                The suggestions made by my learned friend that we should call him,
          16                check with neighbours, check with government agencies etc, I have
          17                explained why that has either already been done, or could not be done
          18                because he is a fugitive.
          19

          20                In any case, we say Mr Zhang’s testimony cannot be accepted. Refer to
          21                PSBOA M2B case – Judge has duty to reject assertions made on affidavit
          22                that are equivocal, lacking in precision, inconsistent with documents, or
          23                inherently improbable in itself. Courts have warned against uncritical
          24                acceptance of affidavit evidence.
          25

          26                PC says that we should avoid finding of fact in this application. This is
          27                not correct. Faced with inconsistencies, duty of court is to reject them.
          28                D1’s objections hinge on the court accepting the credibility of D1’s
          29                proxies’ evidence that he had moved out since 2020. Refer to Mr Zhang’s
          30                first affidavit – para 1. Para 11 – no basis stated, inadmissible under O
          31                41 r 5. Para 12 – these are hearsay, without basis stated. Goes through
          32                para 12. There is no way that D1 can attest to these matters unless he is
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           1                joined at the hip to D1. He also does not assert that he is joined at the hip
           2                to D1. He does not say so because that would make him a possible target
           3                for substituted service.
           4

           5                Refer to our affidavits in response. Para 119 of our submissions provides
           6                a summary – p 55. He has conceded that he engaged Molina
           7                Landscaping. The statement in Mr Zhang’s first affidavit that D1 is not
           8                maintaining the property is therefore misleading. Para 119(c) – telephone
           9                lines inconsistency. This is all Mr Zhang says. Somehow, Mr Delahanty
          10                knows more than Mr Zhang – p 281(g) where first line contains factual
          11                information not stated in factual affidavits. See also 15(d).
          12

          13    Ct     :    Wasn’t Mr Delehanty just stating his instructions in those paragraphs?
          14

          15    PC     :    He was also given the documents. If those were his instructions, they are
          16                inaccurate.
          17

          18                Refer also to p 291 – p 61(b). There has been no mention of “New Year”
          19                decorations. Other troubling aspects of his evidence covered in para 120-
          20                126.
          21

          22                Also note that my learned friend has watered down his submission from
          23                those in his written submissions which were more assertive. He now says
          24                we need not determine if s 308 is or is not applicable. The position in the
          25                written submissions is that s 308 is applicable. Refer para 32 p 286 – Mr
          26                Delehanty says it “may” render judgment a nullity only. Para 33 of his
          27                report is on all fours with what our expert is saying all along ie that s 308
          28                does not relate to service of foreign process and only service of New York
          29                process. Key concession.
          30

          31                So Mr Zhang’s evidence and Mr Delehanty’s evidence is undermined.
          32                What do we have left? The affidavit of Ms Zheng which contains
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           1                incredulous statements. Shocked that this affidavit can be found in
           2                Singapore proceedings. She says she does not keep in close contact so
           3                that substituted service cannot be carried out through her. New York state
           4                ID number given on p 271 even though she states her address in para 1
           5                as being in Florida. No basis stated for her assertion that he no longer
           6                lives at New York premises. Para 7 does not make sense. Para 8 also
           7                unbelievable. Double hearsay in para 8. Para 9 – why did she put up the
           8                decorations when she was told that he had moved out? Also no
           9                documents in support eg photo of the decoration, call logs. Is the putting
          10                up of the decoration the gesture of gratitude or the making of this affidavit
          11                the gesture of gratitude? She also asserted that the decorations were put
          12                up in December 2020. Photo that we took showing the decorations was
          13                taken in February 2021. Not believable that they were left there for 3
          14                months without being affected by the weather. This is the final throw of
          15                the dice. New York court stated that D1’s evidence is fantastical. Same
          16                here.
          17

          18                This is an unusual case. Not bona fides. No challenge on forum non
          19                conveniens. No challenge that there is good arguable case.
          20

          21                IM Skaugen para 17 – setting aside of service out would serve little
          22                purpose but result in more time and costs. D1’s decision to avoid
          23                submitting an affidavit to avoid stating his address is to evade service and
          24                waste more time and costs.
          25

          26                On substituted service application, on impracticability, general guideline
          27                under White Book is that we have to show failed attempts at residential
          28                address. Highlight that the phrasing in para 19 of D1’s written
          29                submissions differs from White Book wording. We have complied with
          30                requirements – refer 15 to 23 of our submissions. He was incommunicado
          31                so we could not make phone call. A lot of emphasis has been placed on
          32                TLO search but TLO search is credible and but one of four data points.
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           1                TLO search at p 798. Date of search was 14 July 2020. Why did we not
           2                serve at other addresses shown on the search result? Because the dates
           3                predated the date of search and thus were not live. Litigation search on
           4                Cleft Road also done – these were for tax assessment until 2020. We
           5                know from Mr Delehanty’s affidavit that he continues to pay tax. He
           6                renews tax, signing the document as the owner. P 878 – representation
           7                that property is “owner occupied”. No evidence that this was changed
           8                subsequently. Property owned by Daibenewise which D1 is owner of.
           9                Therefore, TLO search was corroborated by these three other sources.
          10                For completeness, regarding the end date “14 July 2020” – this is
          11                explained at DBOD p 64.
          12

          13                Defendant’s submissions para 29(c) – he says he has not listed New York
          14                address as his personal address without time limitation. But this is
          15                contrary to the documents I have shown. I have dealt with the other sub
          16                paras. So there are no other steps which we could have taken.
          17

          18                On credibility of TLO search, these points were not taken on affidavit.
          19                But in any event, TLO search was corroborated by other sources. But for
          20                Your Honour’s knowledge, TLO is used by law enforcement and
          21                financial institutions. 2 week “use by” date also stated in White Book not
          22                in Practice Directions / Rules of Court. The outcome of the searches
          23                remains the same today.
          24

          25                On reasonable attempts at World Trade Center address – complaint is
          26                that we only attempted once. Clearly, this is irrelevant because what the
          27                guard informed us shows that a second attempt would have been futile.
          28                There must be common sense applied to the stipulations.
          29

          30                What is undisputed is that the premises remain owned and maintained by
          31                D1 – there is a telephone line, landscaping, he continues to pay taxes etc.
          32                We have not heard of intention to sell. The address is his last known and
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           1                also, based on the evidence, his current residence. As late as February
           2                2021, he was able to check his mail. There were also decorations in
           3                February 2021. Hence, it is safe to say that the address is not only his last
           4                known address but also his current address.
           5

           6                On requirement that there is reasonable probability that method of service
           7                would give notice to the defendant of the documents – DBOD Vol 2 Tab
           8                27 – White Book [62/5/5] – passage cites OCBC case. We have thus
           9                shown Your Honour the due diligence conducted. For purposes of
          10                substituted service application, we need not prove actual notice. But it is
          11                clear from subsequent events that there is actual notice which makes
          12                good the requirement that the method of service is likely to bring the
          13                documents to the notice of the Defendant. Refer to PBOA – Tab 20 –
          14                Terrestrial case at paras 30, 31. Inference of actual notice by virtue of
          15                subsequent actions of Defendant. In this case, clear from subsequent
          16                events that there is actual notice. See para 71 of Defendant’s submissions.
          17                Worded carefully. Plaintiff’s submissions para 55 – request for
          18                inspection shortly after service at Cleft Road address. Also another
          19                request for inspection shortly after email service. In this request, they
          20                specifically asked for affidavits of service and memorandum of service.
          21

          22                On material non-disclosure – the allegation is that we did not disclose the
          23                fact that D1 was no longer living at the address. As I have shown, this is
          24                not a fact but a bare assertion. The premise of the material non-disclosure
          25                submission and their entire application is the bare assertion that he had
          26                moved out since March 2020.
          27

          28                Legal burden falls on us, but evidential burden falls on D1 because it is
          29                a fact that is specifically within his knowledge. Refer s 108 Evidence Act.
          30                See Illustration A. This is exactly the case here. Burden of charging
          31                accused person is on prosecution but burden to prove that he had his
          32                ticket is on the Defendant. Here, D1 has merely put up 2 proxy affidavits.
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           1

           2                Mr Zhang says D1 moved out for COVID reasons, but does not explain
           3                why he does not want to come back to New York forever. Is it because if
           4                he comes back, it would be deemed his usual abode pursuant to s 308(4)
           5                CPLR? There is also complete silence on where he has moved to.
           6                Portions of his affidavit also contains inadmissible hearsay as mentioned
           7                earlier. Also silent on ongoing contacts with D1. They are engaging in
           8                cat and mouse games. The suit raises serious issues. He should not be
           9                allowed to continue with these cat and mouse games.
          10

          11                Final point is on New York law point. Already pointed Your Honour to
          12                fatal statement in Mr Delehanty’s expert report. Their point is that we
          13                held ourselves to the s 308(4) standard but we conducted service at last
          14                known address not actual address. There is misreading of Mr Spano’s
          15                affidavit – there is no reference to affix and mail, and he is not a lawyer
          16                purporting to give evidence on New York law. This was an application
          17                for substituted service.
          18

          19                My learned friend also says we made late clarification on the method of
          20                service. Not true – see our summons for service out at p 727 where we
          21                applied for personal service. When that was impracticable, we then
          22                applied for substituted service – see summons at p 984. Mr Spano’s
          23                affidavit was drafted in a manner to comply with Practice Directions on
          24                affidavits for substituted service.
          25

          26                According to Humpuss, service only needs to be not contrary to foreign
          27                law on service of foreign process. Defendant has avoided stating this
          28                distinction in their submissions. As Judge Smith has stated, there is no
          29                prescribed method of service of foreign process under New York law.
          30

          31                On Spano’s affidavit – it is clear when he said “last residence”, it was
          32                also a reference to his present residence – see para 6d. Defendant has
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           1                defined last known and actual residence mutually exclusively but here, it
           2                is clear that when he said last known, he meant present address and the
           3                two terms were not mutually exclusive.
           4

           5                Refer to Humpuss Tab 10 PBOA – goes through case. The methods of
           6                service under O 11 r 3 and r 4 are alternatives. Para 72 – same concession
           7                is made by Delahanty here. See also parochial references “village head”
           8                and “head of Chinese people” in the relevant foreign legislation there.
           9                Same references found in s 308(4) CPLR. See references to “summons”
          10                – we served writ and Statement of Claim. “Summons” is specific to New
          11                York court process as I showed Your Honour earlier. See also p 496 on
          12                “issuance of summons” – p 501-502,503 which set out forms of
          13                summons. P 505 – initiating papers in New York are termed “summons”.
          14                So this is clearly parochial reference to domestic New York litigation.
          15                Also reference to “clerk of court” in s 308(4). There is also a filing
          16                requirement. When this was pointed out to Mr Delehanty, he says that
          17                “court” can refer to foreign court because the act is passive – see DBOD
          18                vol 1 p 288. This is an understatement – para 3 – the filing triggers
          19                timelines for entry of appearance. Failure to file nullifies default
          20                judgment.
          21

          22                O 101 r 3 referred to for the first time today by D1C. This is just a
          23                delaying tactic. Submission was also made tentatively on whether
          24                Memorandum of Understanding still subsists. Based on what I have
          25                shown, there is also really no dispute to be had. No need to trouble New
          26                York courts. This is delay tactic because we wrote and asked whether we
          27                could have hot tub – see our letter at p 398. Their reply at p 403. At the
          28                time, they did not think that hot tub was necessary.
          29

          30                Hence, there is no non-disclosure, no breach of New York law. Those are
          31                my submissions.
          32
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           1    [Stand Down: 11.53am]
           2    [Resume: 12pm]
           3

           4    D1C    :    Three main points in reply. First, the Plaintiff, after all of the
           5                explanations, has not signalled to us what mode of service they say they
           6                undertook on the New York premises. Second, on the TLO search. Third,
           7                we still do not have evidence that they say show that the Defendant still
           8                lives at premises after March 2020. PC pointed to evidence showing that
           9                D1 indirectly owns property, but that is as far as he can go.
          10

          11                First point on service – my learned friend prefaced by saying that D1 is
          12                evading service and absconded to the US. Those are loaded submissions
          13                which the court cannot make conclusions on especially at this stage. We
          14                object to the suggestion on absconding. He says he moved to US for
          15                professional reasons. Not right at this stage to put colour on these
          16                professional decisions.
          17

          18                Mode of service is important – refer to Humpuss. Para 58. Para 59 and
          19                62(a) of Humpuss lists available methods of service. Methods stated at
          20                para 59(b) and 59 (c), and 62(b) may be relevant but we still don’t know
          21                which one is being relied on by the Plaintiff.
          22

          23    Ct     :    Didn’t the Plaintiff clarify in their submissions that the service that they
          24                carried out was pursuant to O 62 r 5? So it would be the method stated
          25                under para 59(b) of the Humpuss decision?
          26

          27    PC     :    Yes that is clear from our submissions at para 10 and 11 and also the
          28                header of our summons.
          29

          30    D1C    :    That is a helpful clarification and would engage our submissions this
          31                morning.
          32
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           1                On TLO search, DBOD vol 1 p 798 – report was dated September 2020,
           2                but the TLO search was allegedly done on 14 July 2020. This is a huge
           3                gap. My learned friend has not explained this save to say that “use by”
           4                date of two weeks is stated in White Book but not set in stone – see my
           5                BOA tab 45 p 709 para 62/5/5. Updated search would have been an easy
           6                thing to do but was not done. If they did it after the order was obtained,
           7                they could have done so before the order was obtained but it was not
           8                done. Onus is on the Plaintiff to show that personal service was
           9                impracticable. I do not see how inconvenient it would be for the Plaintiff
          10                to maintain a surveillance. So there was no response from my learned
          11                friend really.
          12

          13                On enquiries with government agencies, my learned friend said that a
          14                search was done on vehicle registration. P 799 – not stated what research
          15                was carried out, and what allowed the conclusion to be made. DBOD vol
          16                1 p 248 – letter from building manager to solicitor for D1 – “regarding
          17                Eric Dai” – difficult to draw any conclusions from this email, concerned
          18                only the state of the grass. This was dated June 2020 and is thus consistent
          19                with the fact that he had moved out and vegetation was unkempt.
          20

          21                Owning property and living at property also two different things.
          22

          23                On the February 2021 letter which my learned friend brought you to, the
          24                mail could have been forwarded to D1. The fact that mail is collected and
          25                forwarded does not mean person is staying there.
          26

          27    Ct     :    But in this case Mr Zhang has expressly stated in his affidavit that D1
          28                has not checked the mail since he moved out in March 2020. Isn’t this
          29                inconsistent with the fact that he has managed to produce this February
          30                2021 letter?
          31
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           1    D1C    :    Handwritten note “give copies and follow up with Dai” at the top of letter
           2                suggest that someone collected the mail. Not unusual for a party to make
           3                arrangements for mail to be forwarded.
           4

           5                On outgoing calls p 259 – latest call is 24 February 2020. P 260 – this
           6                shows p 1 which would be the latest call. So the latest call would be 24
           7                February 2020.
           8

           9                On p 267 – surrender of licence plates on 13 October 2020. On the New
          10                York address being reflected in the receipt, the address stated is the
          11                address according to the records which may not be updated and
          12                accurately reflect where he was residing.
          13

          14    Ct     :    But Mr Zhang says that he informed DMV of his change of address on
          15                13 October 2020 and that the receipt was issued for his surrendering of
          16                license plates on 22 October 2020. If Mr Zhang had updated the DMV of
          17                his change of address, why did the receipt for surrendering the plates still
          18                reflect the address of D1 as the New York address?
          19

          20    D1C    :    System may take a little bit of time to update. But what we do have is a
          21                receipt showing that plates were surrendered by D1.
          22

          23                On festive decorations – p 269 affidavit of Ms Zheng. PC says it’s a
          24                farcical account. Acts of gratitude sometimes defy logic and what might
          25                seem to be incongruous may not be so. Decorations at p 114 – it’s just
          26                two ribbons. Uncollected parcels can also be seen in the photo.
          27

          28                All of these show that by March 2020, D1 had left the premises.
          29

          30                At the end of the day, what I suggested, doing surveillance, checking with
          31                the neighbours etc are simple things which could have been done but
          32                were not done.
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           1

           2                On Spano’s affidavit – my learned friend says the para 7 statements must
           3                be read with para 6 and that there is no contradiction ie that the address
           4                can both be last known place of residence and current residence. Your
           5                Honour should look at totality of evidence. See para 8 – refers to para
           6                7(a) and 7(b) modes of service being in compliance with New York law.
           7                Para 7(a) and 7(b) refer to “last known address”. Plaintiff can’t have it
           8                both ways. My learned friend says Spano is just a process server but those
           9                are his conclusions. Both sides are agreed that under s 308(4), service at
          10                actual residence is required. Service at last known address is not
          11                sufficient.
          12

          13                My learned friend paints picture of D1 as someone trying to delay
          14                proceedings. Pointed Your Honour to a letter suggesting hot tub where
          15                Davinder Singh Chambers said that hot tub was not necessary. If delaying
          16                was really the intent of D1, he would have agreed to a hot tub since that
          17                would have resulted in a longer process.
          18

          19                On my suggestion on O 101, I am not raising this to delay further
          20                proceedings and my suggestion certainly does not come from an
          21                admission that s 308 is not applicable. What I am simply saying is that if
          22                Your Honour would like this to be determined by a New York court, this
          23                is open. Making suggestion only to assist Your Honour.
          24

          25                If Your Honour is with us, whether or not New York law is contravened
          26                is not for either party to decide but is certainly a point to be made at the
          27                time of application for substituted service order. If Your Honour is with
          28                us, substituted service order should be set aside and the service carried
          29                out would be invalid.
          30

          31                Those are my reply submissions.
          32
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           1    PC     :    Just 2 quick points.
           2

           3                First, there has been silence on my submissions concerning service by
           4                email.
           5

           6                Second, as to what is material. Materiality and duty of full and frank
           7                disclosure were discussed in Vasiliy Golovin case at DBOA Tab 35 – [87]
           8                – duty of full and frank disclosure only extends to plausible and not all
           9                conceivable or theoretical defences. Refer to [88]. It is therefore not for
          10                the Plaintiff to conceive of all possible defences and pre-empt them in
          11                applying for service out. Can we be blamed for not thinking that a
          12                grateful friend would come up with story on their decorations? Can we
          13                be blamed for –
          14

          15    Ct     :    You have already raised these points earlier. What is the point you wish
          16                to make under your second point?
          17

          18    PC     :    Main point is that we are now being chastised for not conducting searches
          19                which would result in the same result.
          20

          21                On delay, not wanting cross examination is just because they didn’t want
          22                Mr Delehanty to be cross examined after his fatal admission. All of our
          23                other suggestions to save time eg going straight to High Court Judge were
          24                not acceded to also.
          25

          26    D1C    :    On emails, my learned friend said essentially that inspection requests
          27                were made by Davinder Singh Chambers but that cause papers were not
          28                asked for. This has been addressed in our submissions.
          29

          30                Refer also to para 95 of Humpuss. Court said that actual notice alone is
          31                not sufficient to cure defective service. If not, all irregularities would ipso
          32                facto be cured because the fact that a setting aside application is brought
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           1                would show that proceedings have been brought to the notice of the
           2                Defendant. My learned friend also brought Your Honour to cause papers
           3                in New York proceedings. They simply lifted from the papers in other
           4                proceedings and I am not sure how relevant they are. On materiality, and
           5                blameworthiness of parties, in respect of category c cases in Humpuss,
           6                Justice Chong said that to determine if it is curable, one looks at which
           7                of the parties is more blameworthy, whether the Plaintiff has made a good
           8                faith effort etc. In any event, we say this is not a category C case but
           9                category B case, and if Your Honour is with me, that would not be
          10                curable.
          11

          12    Ct     :    Will stand down to deliberate.
          13

          14    [Stand Down: 12.55pm]
          15    [Resume: 1.15pm]
          16

          17    Ct     :    Decision in Annex is read.
          18

          19    PC     :    On stay pending appeal, this should be separately applied for by D1.
          20

          21                On costs, Appendix G range for complex lengthy application of more
          22                than three hours is $9,000 to $22,000. We have spent more than 3 hours.
          23                Hearing was fact and law intensive. Voluminous affidavits and cross
          24                border element to this dispute which increased the workload. In light of
          25                this, seeking $22,000 in legal costs, plus reasonable disbursements to be
          26                agreed or taxed, and those disbursements should include disbursements
          27                for forensic investigative report and expert report.
          28

          29    D1C    :    Under Appendix G, there is a specific item for setting aside service
          30                applications and this is exactly that application. The range is $3,000 to
          31                $14,000 – see item 15 under Part B. This should be the range applied
          32                here.
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           1

           2                Setting aside applications are not usually considered particularly
           3                complex. My learned friend referred to forensic investigation. This is
           4                common in setting aside applications. It would involve forensic
           5                investigation into place of abode and place of business, this is nothing
           6                extraordinary.
           7

           8                I also understand that a prior costs order was already made in relation to
           9                the first TLO memo. Understand that costs were in the cause so that
          10                would be reserved to the trial Judge.
          11

          12    PC     :    Yes. I should clarify that when I referred to disbursements for the
          13                forensics report and Judge Smith’s expert report, I was referring to those
          14                incurred for this application, not the initial TLO memorandum which was
          15                prepared for the purposes of obtaining leave to serve at the earlier stage.
          16

          17    Ct     :    For disbursements, parties to attempt to agree on quantum and if there is
          18                no agreement, each party can write in to state their respective positions
          19                and I will then determine the amount.
          20

          21    D1C    :    Noted. In relation to legal costs, applying range under item 15, submit
          22                that costs of $9,000 would be appropriate.
          23

          24    PC     :    I am just wondering whether item 5 is for matters fixed on the ordinary
          25                list as this is a special date hearing.
          26

          27    Ct     :    Appendix G para 4 explains the relationship between Part A and Part B.
          28

          29    PC     :    The facts as I mentioned show that this summons was a complex one.
          30                Therefore by virtue of para 4(b)(ii), reference may be made to the Part A
          31                costs range.
          32
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           1    D1C    :    According to para 4, the applicable range depends on whether the court
           2                considers the application to be simple or complex. The present
           3                application is for setting aside of service, the law in respect of which is
           4                not complex. Parties had only focused on Humpuss. There was some
           5                investigation into the facts but this is consistent with any application of
           6                this nature.
           7

           8    Ct     :    Questions of foreign law were raised in this case and there were also
           9                factual disputes that required consideration of investigative reports, the
          10                reliance on which by the Plaintiff was not unreasonable. There were also
          11                voluminous bundles of documents and quite a number of authorities
          12                tendered. I therefore think that costs should be fixed at the higher end of
          13                the Appendix G scale for setting aside service applications (item 15 under
          14                Part IIB). I do not think that the circumstances warrant going outside of
          15                that scale and applying instead the upper limit of $22,000 (under Part
          16                IIA) given that no novel or complex points of law were raised. I
          17                therefore award costs of $12,000 to the Plaintiff with disbursements
          18                to be agreed if not taxed.
          19

          20                Which leaves us with Prayer 4 of the summons concerning the stay. Are
          21                you still seeking that Mr Lok?
          22

          23    D1C    :    This would be a consequential order that we would have to take
          24                instructions on. There would be timelines for appeal that apply
          25                automatically. Rather than us filing another application for stay and
          26                incurring further costs, and parties having to return on another day for
          27                that application, it would be preferable for prayer 4 to be dealt with today.
          28                Ask for prayer 4 to be granted by Your Honour today.
          29

          30    Ct     :    Minded to deal with this today to save time and costs since it was
          31                included in the application and covered in D1C’s submissions. What is
          32                the reason for your objection to prayer 4 Mr Liang? Is it the phrasing?
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           1

           2    PC       :    The law is clear that we cannot press the Defendant to file his defence if
           3                  an appeal is pending. But it does not mean that he should get a stay. One
           4                  does not follow from the other. Also, no appeal has been filed and my
           5                  learned friend indicated that he would have to take instructions so it
           6                  would be premature.
           7

           8    Ct       :    Will grant prayer 4 so that any appeal would not be rendered moot. The
           9                  rest of the prayers in the summons are dismissed.
          10

          11    [End: 1.45pm]
          12                                                            Certified Transcript
          13
          14
          15
          16                                                            Assistant Registrar
          17                                                         Supreme Court Singapore
          18                                                      Sgd:    Alison See
          19                                                              Assistant Registrar
          20                                                              Supreme Court
          21
          22
          23    AS/TSK [23-11-2021]
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                                                     Annex

         1. Summons 3901 of 2021 is the first Defendant’s application to set aside an order dated 14
            February 2021 granting the Plaintiff leave to serve the Writ and Statement of Claim (“the
            Documents”) on the first Defendant by way of substituted service in New York, by:


                a. Posting the Documents on the front door of 249 Cleft Road Mill Neck Nassau
                    County New York 11765-1003 (“New York Address”);
                b. Sending the Documents by first class mail to the New York Address; and
                c. Emailing the Documents to “office@khanfunds.com” being the email account used
                    by Khan Funds Management America.


            Leave to serve out of jurisdiction had been granted in a separate prior order, which the first
            Defendant is not challenging in the present application.


         2. Having considered the affidavits and submissions made in respect of the summons, the first
            Defendant’s setting aside application should, in my judgment, be dismissed.


         3. The first Defendant’s principal submission is that it was not impracticable for the Plaintiff
            to serve the documents by way of personal service and that the Plaintiff had not provided
            full and frank disclosure to the court in its application for substituted service. In the
            alternative, the first Defendant submits that the service of the Documents was invalid
            because the methods of service adopted contravened New York law, and accordingly
            constituted a violation of O 11 r 3(2) of our Rules of Court.


         Whether the requirements for a substituted service order had been satisfied


         4. First, I find that the Plaintiff had complied with the requirements for substituted service
            because reasonable attempts at personal service had been carried out by the Plaintiff prior
            to applying for substituted service, and there was no breach by the Plaintiff of its duty to
            make full and frank disclosure.


         5. The first Defendant takes issue with the fact that the personal service attempts were made
            by the Plaintiff at the New York Address. He claims that he had moved out of that address
            since March 2020, prior to the personal service attempts made by the Plaintiff and submits
            that the Plaintiff had failed to make proper inquiries concerning his whereabouts. Counsel
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            for the first Defendant submits that the Plaintiff had merely relied on the findings of an
            investigative report prepared by a US investigative firm, which in turn contained the results
            of a search that was conducted a few months before the application for substituted service
            on “TLO, a third-party database aggregator from Transunion”, and that further steps such
            as checking with neighbours and conducting a surveillance at the property could have been
            done but were not done. Counsel for the first Defendant also submits that the Plaintiff had
            failed to disclose that the first Defendant was no longer residing at the New York Address
            as at the time of the substituted service application, which he says would have made known
            to the Plaintiff through the TLO search which stated that the first Defendant resided at the
            address from January 2017 to 14 July 2020.


         6. I find that the personal service attempts at the New York Address were reasonable as they
            were carried out following the taking of reasonable steps by the Plaintiff to obtain credible
            information on the first Defendant’s residential address and whereabouts, including by
            hiring an investigative firm to carry out searches and obtain other relevant information. The
            attempts made by the Plaintiff to determine the whereabouts of the first Defendant were,
            on the facts of this case, sufficient. There was also no other source of information known
            to the Plaintiff or which the Plaintiff could reasonably have obtained which contradicted
            the investigative firm’s finding that the first Defendant was residing at the New York
            Address. I also accept that the phrase “(01/2017 to 07/14/2020)” stated next to the New
            York Address in the investigative firm’s first report was not an indication of the date that
            the first Defendant ceased to live at the address, but simply showed the date of the TLO
            search. That the TLO search was carried out a few months prior to the Plaintiff’s substituted
            service application is also immaterial in my judgment because subsequent searches recently
            carried out on public databases in August 2021 and September 2021 continue to reflect the
            New York Address as one of the first Defendant’s addresses. As I will explain further later
            on, I also find that the evidence adduced for the first Defendant in this application does not
            show that he had not been residing at the New York Address at the time personal service
            attempts were made, or when substituted service was effected.


         7. Thus, on the facts of the present case, I find that the unsuccessful personal service attempts
            by the Plaintiff’s authorised process servers were sufficient to satisfy the prerequisite for a
            substituted service order, which is that it must appear to the court that personal service is
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            impracticable. There was also no breach by the Plaintiff of its duty to provide full and frank
            disclosure to the court.


         Whether the service of the Documents in the manner prescribed under the substituted service
         order contravened New York law


         8. As for the question of whether the service of the Documents in the manner prescribed under
            the substituted service order contravened New York law and therefore constituted a breach
            of O 11 r 3(2), I find that it did not.


         9. In Humpuss Sea Transports Pte Ltd (in compulsory liquidation) v PT Humpuss Intermoda
            Transportasi TBK and anor [2015] 4 SLR 625 (“Humpuss”), the court held that O 11 r 4
            of the Rules of Court did not list the possible methods of service out of jurisdiction
            exhaustively. Instead, it was held that our rules allow different alternative modes of service
            under O 11 r 3 and O 11 r 4. One of the possible modes of service is that under O 11 r
            4(2)(c), that is, service by a method recognised by the law of the foreign jurisdiction for the
            service of domestic process in that country provided that did not contravene foreign law
            (see para 62b of Humpuss). Another possible mode is by way of substituted service with
            leave of court provided it does not contravene the law of the foreign jurisdiction pursuant
            to O 11 r 3(1) read with O 11 r 3(2) (see para 59b of Humpuss) Here, the Plaintiff is relying
            on the latter method of service and not the former. In this regard, it is New York law on the
            service of foreign process within New York that is relevant in this application, rather than
            New York law concerning the service of domestic process within New York.


         10. The court in Humpuss also explained, at [86], that there are two types of cases prohibited
            by O 11 r 3(2). First, cases where the foreign jurisdiction has provided for a mandatory
            method of service of foreign process but the plaintiff did not adopt this method and
            employed another instead. Second, cases where the method of service employed by the
            Plaintiff was specifically outlawed by the foreign jurisdiction (at [84]). The court cited
            Japan, where service of foreign process must be effected by the Japanese courts, as an
            example of a case where the foreign jurisdiction provides for a mandatory method of
            service of foreign process, and Switzerland, where service of foreign process by way of a
            private agent is illegal, as an example of a case where there are methods of service of
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            foreign process outlawed by the foreign country. I find that the present case does not fall
            within either of these two types of cases because New York law neither prescribes a
            mandatory method of service of foreign process nor prohibits any method of service of
            foreign process.


         11. I accept, in this regard, the opinion of the Plaintiff’s expert Mr Smith who opines that s 308
            of the New York Civil Practice Laws and Rules (“CPLR”), which the first Defendant’s
            expert Mr Delehanty cites for his submission that service in the manner effected had
            contravened New York law, is of limited relevance. This is because s 308 of the CPLR
            contains language that is unique to New York proceedings, and that makes it clear that the
            methods of service prescribed thereunder apply to service of documents pertaining to New
            York court proceedings and do not concern service of foreign originating process in New
            York.


         12. The provision in the CPLR that is of greater relevance to service of foreign process is s 328
            of the CPLR which is permissive in nature. I accept Mr Smith’s evidence that section 328
            of the CPLR does not set out any mandatory methods of service of foreign process within
            New York and essentially states that while a party may seek an order from the New York
            courts to effect service of a document pertaining to foreign proceedings on a person who
            may be found in New York, “service in connection with a proceeding in a tribunal outside
            the state may be made within the state without an order of court”.


         13. For these reasons, I reject counsel for the first Defendant’s submission that there was a
            material non-disclosure or misleading of the court by the Plaintiff in its substituted service
            application of the fact that affixing pursuant to s 308(4) of the CPLR could not be carried
            out at the last known address of the person to be served but must be carried out at the
            person’s current address. There was no reference in Mr Spano’s affidavit to s 308(4) of the
            CPLR specifically, or the requirements under that provision. In any event, I do not think
            that the references to “last known” address and “current address” in that affidavit were
            intended by Mr Spano to mean different things, nor should they be interpreted as such.


         14. In addition, even if I accept Mr Delehanty’s opinion that service must be effected through
            one of the modes of service prescribed under s 308 of the CPLR, I disagree that service has
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            not been effected in accordance with the requirements of s 308(4). Section 308(4)
            prescribes the method of service known as the “affix-and-mail” service which allows,
            where personal service is not possible, service by affixing the papers to the door of either
            the “actual place of business, dwelling place or usual place of abode” of the person to be
            served, to be followed by mailing the papers to either the person’s last known address or
            actual place of business.


         15. The first Defendant’s main argument is that service had not been effected in accordance
            with s 308(4) because the Documents were affixed at the last known address of the first
            Defendant, rather than the first Defendant’s “actual place of business, dwelling place or
            usual place of abode”. To this end, in support of the present application, the first Defendant
            submitted an affidavit made by his cousin-in-law which essentially states that the first
            Defendant had moved out of the New York Premises by March 2020, prior to the date on
            which the Plaintiff had affixed and mailed the Documents in February 2021. No reason was
            provided as to why the first Defendant had not himself affirmed an affidavit and why his
            cousin-in-law (“Mr Zhang”) was doing so on his behalf. The Plaintiff posits that the first
            Defendant has done so in order to avoid the requirement to state his current address on oath.
            While I accept that the affidavit filed by Mr Zhang is admissible because hearsay evidence
            can be admitted in interlocutory proceedings, I place little weight on his evidence for the
            following reasons.


         16. First while Mr Zhang stated that the first Defendant had moved out of the New York
            Address and has not returned since, aside from his evidence that he personally helped the
            first Defendant to move out of the premises in March 2020, the majority of his other
            evidence appears to be based on matters which the first Defendant allegedly told him and
            which he is not in a position to verify as he does not claim, for example, that he is currently
            living with the first Defendant or is always with him. This includes, for instance, his
            statements that the first Defendant has not returned to the premises since March 2020, has
            not checked the mail at the premises, and has maintained landscaping services and a
            landline for certain reasons unrelated to residence at the address.


         17. Second, Mr Zhang’s evidence has not been consistent. For instance, Mr Zhang stated in his
            first affidavit that the first Defendant has not since the end of March 2020 “made any effort
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            to maintain the New York Premises in a habitable condition …[and] has not undertaken
            any maintenance, servicing or renovation work on the premises since then;”. However,
            after the Plaintiff adduced evidence suggesting that snow and leaves continue to be cleared
            from the property, he stated in his second affidavit that although the first Defendant no
            longer lived at the address, he had engaged the services of a landscaping company to
            remove the snow and leaves in order to comply with city land codes. Likewise, although
            Mr Zhang originally stated that “the 1st Defendant terminated the telephone services at the
            New York Premises when he and his family moved out of the New York Premises at the
            end of March 2020”, when the Plaintiff adduced evidence that a live telephone line remains
            registered at the New York Premises, Mr Zhang stated in his second affidavit that the
            reference to telephone services in his earlier affidavit had been in relation to the use of
            telephone services for communication purposes and that he has been informed by the first
            Defendant that a landline has been maintained simply for the alarm system at the premises
            to work.


         18. Third, there is other evidence that, taken together collectively, casts serious doubt on the
            veracity of Mr Zhang’s evidence that the first Defendant had moved out of the New York
            premises since March 2020 and has not returned since. To name a few amongst others:

                a. First, a request for inspection of documents filed in the suit was made on behalf of
                    the first Defendant by his former solicitors Davinder Singh Chambers on 24 March
                    2021, shortly after the Documents were affixed and mailed to the New York
                    Address in February 2021 (and before they were sent by email in July 2021). The
                    reason stated for the request was to “find out the grounds on which the Plaintiff
                    sought and obtained leave to serve the Writ and the Statement of Claim out of the
                    jurisdiction on the 1st Defendant and the grounds on which the Plaintiff sought and
                    obtained leave to serve by substituted service.” In the absence of any explanation
                    provided by the first Defendant as to how he came to become aware of the
                    proceedings and the existence of the substituted service order, the timing of the
                    request for inspection strongly suggests that the first Defendant had actual notice of
                    the proceedings and the existence of the substituted service order by way of the
                    “affix and mail” method of service effected by the Plaintiff. I accept that actual
                    notice by the person on whom documents are sought to be served cannot cure
                    invalid service, where the reason for invalidity is because of a violation of foreign
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                    law. However, in the circumstances of this case, the fact that the first Defendant had
                    actual notice of the proceedings soon after substituted service was effected by the
                    “affix-and-mail” method strongly suggests that Mr Zhang’s evidence that the first
                    Defendant had moved out from and never returned to the New York Address and
                    has not checked the mail received at the premises since March 2020 (ie, evidence
                    submitted on behalf of the first Defendant to show that there is no permanence and
                    stability in the first Defendant’s residence at the New York Address), is not credible.


                b. Second, although it is claimed that the first Defendant had moved out from March
                    2020 and the property has remained vacant since then, festive decorations had been
                    put up sometime between November 2020 and February 2021. On this, I do not
                    accept the evidence given by the 1st Defendant’s friend, Ms Zheng, that she and her
                    husband had put up the decorations in gratitude to the first Defendant. This is
                    because of the inherently unbelievable nature of the statements made in her affidavit
                    where she essentially said that although she did not keep in close contact with the
                    first Defendant and did not even have his mobile number, she had gone to the New
                    York Address to hand the first Defendant festive decorations; and when she
                    discovered on arrival that he had moved out of the premises after making a phone
                    call to the first Defendant’s sister as no one answered the door, she nevertheless put
                    up the decorations as a gesture of gratitude to the first Defendant.

                c. Third, recent searches carried out on public databases continue to list the New York
                    Address as an address of the first Defendant. Recent property searches also show
                    that the property continues to be owned by Daibenewise Limited, a company which
                    the first Defendant is the sole shareholder and director of.


         19. In conclusion, I find that the substituted service order was obtained by the Plaintiff after
            reasonable attempts at personal service were carried out, that the method of substituted
            service was not contrary to New York law because New York law neither prescribes a
            mandatory method of service of foreign process nor prohibits any method of service of
            foreign process, and that even if compliance with s 308(4) of the CPLR is required, the
            requirements prescribed under New York law for that method of service have not been
            contravened. I therefore dismiss the first Defendant’s application. I will now hear parties
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            on the prayer in the summons concerning a stay pending a final resolution of this
            application, as well as on costs.


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                               IN THE GENERAL DIVISION OF
                      THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

            HC/S 1027/2020

                                                   Between

                                                   GUOTAIQIXING BIOMEDICAL
                                                   INTERNATIONAL (S) PTE. LTD.
                                                   (UEN No. 20150039K)

                                                                                        …Plaintiff(s)

                                                   And

                                                   1. DAI XUEFENG
                                                      (PRC Passport No.           2878)

                                                   2. ZHANG JUNQI
                                                      (PRC Passport No.           9520)

                                                   3. XU XINMANNI
                                                      (PRC Passport No.           7254)

                                                                                     …Defendant(s)


                                  DEFENCE OF THE 1ST DEFENDANT



            1.    This Defence is filed without prejudice to the 1st Defendant’s right to seek further

                  and better particulars of the Statement of Claim dated 27 October 2020 (“SOC”)

                  and/or administer interrogatories and/or strike out the SOC or any part thereof.

                  The 1st Defendant expressly reserves his right to amend this Defence thereafter.


            2.    Unless otherwise defined herein, the 1st Defendant adopts the abbreviations used

                  in the SOC.


            3.    Paragraphs 2 and 3 of the SOC are admitted.
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            4.    Save that there was a Partnership Agreement and a Further Investment Agreement

                  as set out at paragraphs 4(a) and 4(b), paragraph 4 is not admitted.


            5.    Paragraph 5 of the SOC is admitted.


            6.    Save that there was a judgment from the People’s Court of the Shenzhen Qianhai

                  Co-operation Zone in 2019, paragraph 6 is denied. The 1st Defendant further avers

                  that there was no misconduct on the part of Beijing Khan. Further, the Shenzhen

                  judgment was a default judgment and neither the 1st Defendant nor Beijing Khan

                  were aware of the action until disclosed in the SOC. An action is currently pending

                  before the Chinese courts to overturn the 2019 default judgment.


            7.    Save that the 1st Defendant is no longer a director of the Plaintiff, paragraphs 7

                  and 8 of the SOC are not admitted.


            8.    Paragraphs 9 and 10 are admitted.


            9.    Paragraph 11 is not admitted, and the Plaintiff is put to strict proof thereof. The

                  1st Defendant specifically denies being the founder of Beijing Khan.


            10.   The 1st Defendant does not plead to paragraphs 12 to 15 as they do not relate to

                  the 1st Defendant.


            11.   Save that the 1st Defendant was in the business of fund management, paragraph

                  16 is not admitted.


            12.   Paragraphs 17 to 19 are not admitted and the Plaintiff is put to strict proof thereof.
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            13.   Save that the 1st Defendant owes statutory duties under section 157 of the

                  Companies Act, paragraph 20 is not admitted.


            14.   The 1st Defendant does not plead to paragraphs 21 to 26 as they are not relevant

                  to the 1st Defendant.


            15.   Paragraphs 27 to 30 of the SOC are not admitted. The 1st Defendant avers that the

                  Khan Marketing Material, including all its contents, was prepared and produced

                  by Nations, without any input from the 1st Defendant.


            16.   Save that there was an announcement by Nations dated 17 April 2013, paragraph

                  31 is not admitted.


            17.   Save that the 1st Defendant was introduced to Mr Luo in around early 2014,

                  paragraph 32 of the SOC is not admitted.


            18.   Paragraphs 33 to 35 of the SOC are denied. The 1st Defendant avers that there was

                  no discussion on the making of any investments into the biomedical industry

                  during the First Meeting. The 1st Defendant further denies cultivating Nations.

                  The First Meeting was neither arranged nor requested for by the 1st Defendant.


            19.   Paragraph 36 is not admitted, and the Plaintiff is put to strict proof thereof. The

                  1st Defendant repeats paragraph 15 of the Defence herein. The Khan Marketing

                  Material, including all its contents, was prepared and produced by Nations without

                  any input from the 1st Defendant.


            20.   Paragraphs 37 to 41 are not admitted and the Plaintiff is put to strict proof thereof.
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            21.   Paragraphs 42 to 47 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof. The 1st Defendant avers as follows:


                  a.      With regards to paragraphs 45 and 46 of the SOC, the 1st Defendant did

                          not refuse to use a custodian bank and neither did he propose the guarantee

                          arrangement pleaded at paragraph 46 of the SOC. It was Nations who

                          requested that SQKFM provide the guarantee.


                  b.      With regards to paragraph 47(e) of the SOC, Mr Luo was a director of the

                          Plaintiff, was involved in its operations and acted as the authorised person

                          for the Plaintiff’s bank account.


            22.   Paragraphs 48 and 49 are denied. The 1st Defendant avers that all transfers and

                  transactions were made with genuine commercial basis. Pending discovery, these

                  are the best particulars available to the 1st Defendant and the 1st Defendant reserves

                  the right to amend its Defence to include further particulars.


            23.   Paragraphs 50 and 51 are denied. The 1st Defendant avers that the transfers were

                  for the reasons as recorded. The 1st Defendant repeats paragraph 22 herein. All

                  transfers and transactions were made with genuine commercial basis.


            24.   Save that there was a Further Investment Agreement, paragraphs 52 and 53 are

                  not admitted. Paragraphs 54 to 60 of the SOC are not admitted and the Plaintiff is

                  put to strict proof thereof.
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            25.   Paragraph 61 of the SOC is admitted. The 1st Defendant further avers that he had

                  already been residing and working in the USA since 2015 prior to obtaining

                  permanent residence in 2017. He moved to the USA for legitimate work reasons.


            26.   Save that the Khan Entities had vacated their Shenzhen offices, paragraphs 62 to

                  66 are not admitted, and the Plaintiff is put to strict proof thereof. The 1st

                  Defendant avers as follows:


                  a.     The 1st Defendant ceased involvement in the joint venture and its related

                         entities sometime in late 2017 once he finally determined that Nations,

                         through Nations Investment, related entities and Mr Luo, had entered into

                         the Partnership Agreement for the main purpose of conducting espionage

                         activity for the Chinese military and obtaining restricted technologies.


                  b.     In conversations with Mr Luo sometime in September 2017, Mr Luo

                         disclosed to the 1st Defendant that one Chen Yaping and his team had been

                         working with Mr Luo and Nations for many years to acquire materials and

                         technology required for production of chips with potential military uses.


                  c.     Mr Luo disclosed in these conversations that all key persons within

                         Nations were members of the Chinese Communist Party and Nations was

                         a platform for the Chinese government to obtain US semiconductor

                         technology, in breach of US laws.


                  d.     After learning about the above, in late September 2017, the 1st Defendant

                         reported Mr Luo to the US Department of Justice and the FBI. This
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                          resulted in investigations by the US authorities, resulting in various

                          prosecutions, including for violating the International Emergency

                          Economic Powers Act. The US DOJ and FBI uncovered a scheme to,

                          among other things, illegally obtain technology and integrated circuits

                          with military applications for export to a Chinese company without the

                          required license.


                  e.      The 1st Defendant thereafter discontinued work on the Partnership

                          Agreement or with the Plaintiff once he had actual knowledge about the

                          true ulterior motive of Nations in funding the investments.


                  f.      Further, in reliance on representations of Mr Luo and/or Nations that the

                          Partnership Agreement was for the purpose of lawful investment activities

                          into the biomedical industry, the 1st Defendant had incurred substantial

                          costs and effort in conducting due diligence and sourcing for investment

                          opportunities and targets. Had the 1st Defendant known of the ulterior

                          motive to illegally obtain material for military use, which ulterior motive

                          was hidden from him, the 1st Defendant would not have incurred or caused

                          to be incurred these costs. The 1st Defendant has now ceased all activity

                          and is obtaining legal advice to recover these costs from the appropriate

                          party.


            27.   Paragraphs 67 to 69 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof. Further, the Plaintiff’s Office Premises was at all material times

                  used for the Plaintiff’s business.
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            28.   Paragraphs 70 and 71 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof.


            29.   The 1st Defendant does not plead to paragraphs 72 to 77 of the SOC as they relate

                  to the 2nd and 3rd Defendants.


            30.   Paragraphs 78 to 81 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof.


            31.   Paragraphs 82 to 84, so far as they relate to the 1st Defendant, are denied. The 1st

                  Defendant avers that all acts of the 1st Defendant were with genuine commercial

                  purposes and not for the predominant purpose of injuring the Plaintiff. The 1st

                  Defendant further denies any common intention with the 2nd and 3rd Defendant to

                  injure the Plaintiff. The 1st Defendant avers that there were no discussions with

                  the 2nd or 3rd Defendant on the various transfers of monies pleaded at paragraph

                  49 of the SOC. The Plaintiff is put to strict proof thereof.


            32.   Paragraphs 85 to 88 of the SOC are denied. The 1st Defendant repeats paragraph

                  32 of the Defence herein.


            33.   By reason of the above and in the premises, the Plaintiff is not entitled to any of

                  the reliefs prayed for in the SOC.


            34.   Save as hereinbefore expressly admitted, the 1st Defendant denies each and every

                  allegation in the SOC as if the same had been set out seriatim and specifically

                  traversed.
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                                  Dated this 2nd day of June 2022




                             ____________________________________
                            SOLICITORS FOR THE 1ST DEFENDANT
                              HARRY ELIAS PARTNERSHIP LLP
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                                 IN THE GENERAL DIVISION OF
                        THE HIGH COURT OF THE REPUBLIC OF SINGAPORE

            HC/S 1027/2020

                                                     Between
        Amended as deleted/underlined in
        black, pursuant to Order 20 Rule 3           GUOTAIQIXING BIOMEDICAL
        of the Rules of Court 2014                   INTERNATIONAL (S) PTE. LTD.
                                                     (UEN No. 20150039K)

                                                                                          …Plaintiff(s)

        Harry Elias Partnership LLP                  And
        Solicitors for the 1st Defendant
                                                     1. DAI XUEFENG
                                                        (PRC Passport No.           2878)

                                                     2. ZHANG JUNQI
                                                        (PRC Passport No.           9520)

                                                     3. XU XINMANNI
                                                        (PRC Passport No.           7254)

                                                                                       …Defendant(s)


                       DEFENCE OF THE 1ST DEFENDANT (AMENDMENT NO.1)



            1.      This Defence is filed without prejudice to the 1st Defendant’s right to seek further

                    and better particulars of the Statement of Claim dated 27 October 2020 (“SOC”)

                    and/or administer interrogatories and/or strike out the SOC or any part thereof.

                    The 1st Defendant expressly reserves his right to amend this Defence thereafter.


            2.      Unless otherwise defined herein, the 1st Defendant adopts the abbreviations used

                    in the SOC.


            3.      Paragraphs 2 and 3 of the SOC are admitted.
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            4.   Save that there was a Partnership Agreement and a Further Investment Agreement

                 as set out at paragraphs 4(a) and 4(b), paragraph 4 is not admitted.


            5.   Paragraph 5 of the SOC is admitted.


            6.   Save that there was a judgment from the People’s Court of the Shenzhen Qianhai

                 Co-operation Zone in 2019, paragraph 6 is denied. The 1st Defendant further avers

                 that there was no misconduct on the part of Beijing Khan and that Beijing Khan

                 was wrongly removed as a partner of Shenzhen Guotai. Further, the Shenzhen

                 judgment was a default judgment and neither the 1st Defendant nor Beijing Khan

                 were aware of the action until disclosed in the SOC. An action appeal is currently

                 pending before the Chinese courts Shenzhen Intermediate People’s Court in case

                 number (2002) Guangdong 03 Civil Appeal No. 59 (“Shenzhen Appeal”) to,

                 amongst others, overturn the 2019 default judgment and retrial the case on its

                 merits, including on the following grounds.


                                              PARTICULARS


                 (a) Nations Investment and its controller Mr Luo were at all material times aware

                    of the investment income and expenditure, the whereabouts of funds and the

                    financial situation of the partnership, Shenzhen Guotai.



                 (b) The investment activities of Beijing Khan, as the executive partner in

                    Shenzhen Guotai, was conducted properly in accordance with the Partnership

                    Agreement and Further Investment Agreement.
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            6A   In the circumstances, HC/S 1027/2022 (“Suit 1027”) should be stayed pending

                 the resolution of the Shenzhen Appeal The Plaintiff should not be allowed to

                 proceed with Suit 1027 as the identity of the controller and who can exercise the

                 powers of Shenzhen Guotai, and therefore the Plaintiff, is still the subject of

                 appeal. There are also questions of facts in the Shenzhen Appeal which are

                 relevant and overlap with those in Suit 1027.


                                             PARTICULARS


                 (a) The 1st Defendant repeats paragraph 6 above. The default judgment was

                    obtained in breach of Chinese procedural rules and in breach of rules of natural

                    justice as Beijing Khan was not served or given notice of the proceedings.



                 (b) The 1st Defendant further avers that the default judgment was obtained by

                    unlawful means. Beijing Khan will seek to establish that in the pending

                    proceedings before the Shenzhen Intermediate People’s Court.



                 (c) The wrongful removal of Beijing Khan as a partner of Shenzhen Guotai

                    allowed its controllers, Nations Investment and by extension Nations, to

                    obtain sole control and engineered the appointment of Nations Investment as

                    the liquidator of Shenzhen Guotai, thereby giving Nations Investment and

                    Nations full control over the Plaintiff. This led to the wrongful removal of the

                    1st Defendant as director of the Plaintiff and the appointment of new directors

                    leading to the commencement of Suit 1027.
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                 (d) In the event that the appeal is successful, the identity of the partners of

                    Shenzhen Guotai, and consequently the appointment of Nations Investment as

                    liquidator, will be impugned.



                 (e) Further to that, the decision to remove the 1st Defendant as director of the

                    Plaintiff and the appointment of new directors by Nations Investment in

                    exercise of its powers as liquidator of Shenzhen Guotai, will similarly be

                    impugned.



                 (f) Additionally, the question of whether the investment activities of Beijing

                    Khan Funds, in their capacity as partner of Shenzhen Guotai, were proper and

                    in accordance with the Partnership Agreement, which question is the subject

                    of the Shenzhen Appeal, is directly relevant to and significantly overlaps with

                    the factual disputes in Suit 1027 as the 1st Defendant’s conduct in question in

                    Suit 1027 relate to investment activities of Shenzhen Guotai carried out

                    through the Plaintiff.



                 In the premises, pending disposal of the Shenzhen Appeal and the resolution of

                 the issues pleaded in this paragraph, Suit 1027 should be stayed.


            6B   Further and/or in the alternative, the appointment of Nations Investment as

                 liquidator of Shenzhen Guotai is improper and illegal and the decisions

                 undertaken by Nations Investment as the liquidator of Shenzhen Guotai should

                 not be given effect by the Singapore Courts. Particulars of illegality are pleaded

                 at paragraphs 26A to 26B below.
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            7.    Save that the 1st Defendant is no longer a director of the Plaintiff, paragraphs 7

                  and 8 of the SOC are not admitted. Paragraphs 6 to 6B above are repeated.


            8.    Paragraphs 9 and 10 are admitted.


            9.    Paragraph 11 is not admitted, and the Plaintiff is put to strict proof thereof. The

                  1st Defendant specifically denies being the founder of Beijing Khan.


            10.   The 1st Defendant does not plead to paragraphs 12 to 15 as they do not relate to

                  the 1st Defendant.


            11.   Save that the 1st Defendant was in the business of fund management, paragraph

                  16 is not admitted.


            12.   Paragraphs 17 to 19 are not admitted and the Plaintiff is put to strict proof thereof.


            13.   Save that the 1st Defendant owes statutory duties under section 157 of the

                  Companies Act, paragraph 20 is not admitted.


            14.   The 1st Defendant does not plead to paragraphs 21 to 26 as they are not relevant

                  to the 1st Defendant.


            15.   Paragraphs 27 to 30 of the SOC are not admitted. The 1st Defendant avers that the

                  Khan Marketing Material, including all its contents, was prepared and produced

                  by Nations, without any input from the 1st Defendant.
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            16.   Save that there was an announcement by Nations dated 17 April 2013, paragraph

                  31 is not admitted.


            17.   Save that the 1st Defendant was introduced to Mr Luo in around early 2014,

                  paragraph 32 of the SOC is not admitted.


            18.   Paragraphs 33 to 35 of the SOC are denied. The 1st Defendant avers that there was

                  no discussion on the making of any investments into the biomedical industry

                  during the First Meeting. The 1st Defendant further denies cultivating Nations.

                  The First Meeting was neither arranged nor requested for by the 1st Defendant. As

                  the 1st Defendant pleads at paragraph 26 below, Nations, through Mr Luo, was the

                  party directing the investments of Shenzhen Guotai and/or the Plaintiff to fulfil an

                  agenda which the 1st Defendant subsequently found out was illegal.


            19.   Paragraph 36 is not admitted, and the Plaintiff is put to strict proof thereof. The

                  1st Defendant repeats paragraph 15 of the Defence herein. The Khan Marketing

                  Material, including all its contents, was prepared and produced by Nations without

                  any input from the 1st Defendant.


            20.   Paragraphs 37 to 41 are not admitted and the Plaintiff is put to strict proof thereof.


            21.   Paragraphs 42 to 47 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof. The 1st Defendant avers as follows:


                  a.      With regards to paragraphs 45 and 46 of the SOC, the 1st Defendant did

                          not refuse to use a custodian bank and neither did he propose the guarantee
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                          arrangement pleaded at paragraph 46 of the SOC. It was Nations who

                          requested that SQKFM provide the guarantee.


                  b.      With regards to paragraph 47(e) of the SOC, Mr Luo was a director of the

                          Plaintiff, was involved in its operations and acted as the authorised person

                          for the Plaintiff’s bank account.


            22.   Paragraphs 48 and 49 are denied. The 1st Defendant avers that all transfers and

                  transactions were made with genuine commercial basis. Where the Plaintiff

                  alleges that the transfers were made for reasons other than what was recorded, the

                  Plaintiff is put to strict proof. Pending discovery, these are the best particulars

                  available to the 1st Defendant and the 1st Defendant reserves the right to amend its

                  Defence to include further particulars.


                                                   PARTICULARS


                       a. The USD 33,600,000.00 transferred from the Plaintiff to KOM on 29

                          December 2015 was for the purchase of 3300 shares in KOM which was

                          directed by and duly approved and authorised by Mr Luo, a director and

                          authorised signatory of the Plaintiff.


                       b. With regards to the transactions on 5 December 2016 and 4 January 2017,

                          these were fees for legitimate consultancy services provided by KFA to

                          the Plaintiff.
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                    c. Pursuant to the consultancy services provided by KFA to the Plaintiff, all

                         fees incurred by KFA on behalf of and for the benefit of the Plaintiff, in

                         performance of the consultancy services, were to be reimbursed by the

                         Plaintiff. These were merger and acquisition due diligence expenses and

                         other fees incurred by KFA, including without limitation fees paid to

                         lawyers, bankers and accountants.


                    d. The transfers from the Plaintiff to KFA pleaded at paragraph 49 of the

                         SOC, which are characterised as loan agreements (i.e. transfers on 6

                         January 2016, 30 August 2016 and 27 December 2016), as well as the

                         transfers for which there were no stated reasons (i.e. transfers on 9 March

                         2017 and 6 April 2017), were reimbursements for fees and expenses

                         incurred by KFA pursuant to the consultancy services provided.


                    e. However, at the direction of Nations and Mr Luo, the reimbursement of

                         these due diligence expenses and fees incurred by KFA were structured as

                         a loan pending the identification of a target company and completion of a

                         merger and acquisition.


                    f.   In respect of the USD 10,000,000 deposited from KOM to the Plaintiff on

                         18 November 2016, the 1st Defendant avers that this was for the benefit

                         and in the best interests of the Plaintiff in order to prevent the commission

                         of an illegal act and purpose. Particulars of the said illegality are pleaded

                         at paragraphs 26A and 26B below. The Plaintiff redeemed a further

                         tranche of shares on 6 April 2017 for USD 1,000,000.
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            22A   In respect of the transfer of USD 353,356.89 from the Plaintiff to the 2nd

                  Defendant on 22 February 2017, the 1st Defendant avers that the bonus payment

                  was a genuine bonus paid to reward the 2nd Defendant for her contributions to the

                  Plaintiff. In any event, the 2nd Defendant returned the sum of SGD 500,000 to the

                  Plaintiff (equivalent to USD 353,356.89) on 10 March 2017 and no loss was

                  caused to the Plaintiff.


            23.   Paragraphs 50 and 51 are denied. The 1st Defendant avers that the transfers were

                  for the reasons as recorded and/or pleaded in this Defence. The 1st Defendant

                  repeats paragraph 22 and 22A herein. All transfers and transactions were made

                  with genuine commercial basis.


            23A   In respect of paragraph 51(1) of the SOC, the 1st Defendant further avers that all

                  documents created were at the direction and with the approval and knowledge of

                  Nations and Mr Luo.


            23B   In respect of paragraph 51(2) of the SOC, the 1st Defendant repeats paragraph

                  (22)(a) above and avers that Mr Luo specifically requested for the money to be

                  used to subscribe to shares in an asset management fund. Further Mr Luo had

                  consented to the transfer of monies from the Plaintiff to KOM. In any event, the

                  1st Defendant avers that the management and performance fees charged by KOM

                  were in line with industry practices.


            23C   In respect of paragraph 51(4) of the SOC, the 1st Defendant repeats paragraphs

                  22.b to 22.e above.
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            24.   Save that there was a Further Investment Agreement, paragraphs 52 and 53 are

                  not admitted. Paragraphs 54 to 60 of the SOC are not admitted and the Plaintiff is

                  put to strict proof thereof.


            25.   Paragraph 61 of the SOC is admitted. The 1st Defendant further avers that he had

                  already been residing and working in the USA since 2015 prior to obtaining

                  permanent residence in 2017. He moved to the USA for legitimate work reasons.


            26.   Save that the Khan Entities had vacated their Shenzhen offices, paragraphs 62 to

                  66 are not admitted, and the Plaintiff is put to strict proof thereof. The 1st

                  Defendant avers as follows:


                  a.      The 1st Defendant ceased involvement in the joint venture and its related

                          entities sometime in late 2017 once he finally determined that Nations,

                          through Nations Investment, related entities and Mr Luo, had entered into

                          the Partnership Agreement for the main purpose of conducting espionage

                          activity for the Chinese military and obtaining restricted technologies.


                  b.      In conversations with Mr Luo sometime in September 2017, Mr Luo

                          disclosed to the 1st Defendant that one Chen Yaping and his team had been

                          working with Mr Luo and Nations for many years to acquire materials and

                          technology required for production of chips with potential military uses.


                  c.      Mr Luo disclosed in these conversations that all key persons within

                          Nations were members of the Chinese Communist Party and Nations was
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                       a platform for the Chinese government to obtain US semiconductor

                       technology, in breach of US laws.


                 d.    After learning about the above, in late September 2017, the 1st Defendant

                       reported Mr Luo to the US Department of Justice and the FBI. This

                       resulted in investigations by the US authorities, resulting in various

                       prosecutions, including for violating the International Emergency

                       Economic Powers Act. The US DOJ and FBI uncovered a scheme to,

                       among other things, illegally obtain technology and integrated circuits

                       with military applications for export to a Chinese company without the

                       required license.


                 e.    The 1st Defendant thereafter discontinued work on the Partnership

                       Agreement or with the Plaintiff once he had actual knowledge about the

                       true ulterior motive of Nations in funding the investments.


                 f.    Further, in reliance on representations of Mr Luo and/or Nations that the

                       Partnership Agreement was for the purpose of lawful investment activities

                       into the biomedical industry, the 1st Defendant had incurred substantial

                       costs and effort in conducting due diligence and sourcing for investment

                       opportunities and targets. Had the 1st Defendant known of the ulterior

                       motive to illegally obtain material for military use, which ulterior motive

                       was hidden from him, the 1st Defendant would not have incurred or caused

                       to be incurred these costs. The 1st Defendant has now ceased all activity
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                          and is obtaining legal advice to recover these costs from the appropriate

                          party.


            26A   In the circumstances set out at paragraph 26 above, the Partnership Agreement

                  and Further Investment Agreement were entered into by Nations Investment with

                  the intention to further a purpose which would be illegal at the place of

                  performance, the USA. Further, the 1st Defendant has commenced proceedings

                  before the New York County Supreme Court in the USA against, inter alia,

                  Nations and Mr Luo, for fraud and violation of the provisions of the Racketeer

                  Influenced and Corrupt Organizations Act (RICO) as a consequence of Nations’

                  continuing espionage activities and other conduct. Consequently, recovery of

                  funds received by the Plaintiff for the performance of the illegal purposes should

                  not be permitted by the Singapore courts.


            26B   Further and/or in the alternative, to permit recovery of the said sums would be

                  contrary to public policy.


            27.   Paragraphs 67 to 69 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof. Further, the Plaintiff’s Office Premises was at all material times

                  used for the Plaintiff’s business.


            28.   Paragraphs 70 and 71 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof.


            29.   The 1st Defendant does not plead to paragraphs 72 to 77 of the SOC as they relate

                  to the 2nd and 3rd Defendants.
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            30.   Paragraphs 78 to 81 of the SOC are not admitted and the Plaintiff is put to strict

                  proof thereof.


            31.   Paragraphs 82 to 84, so far as they relate to the 1st Defendant, are denied. The 1st

                  Defendant avers that all acts of the 1st Defendant were with genuine commercial

                  purposes and not for the predominant purpose of injuring the Plaintiff. The 1st

                  Defendant further denies any common intention with the 2nd and 3rd Defendant to

                  injure the Plaintiff. The 1st Defendant avers that there were no discussions with

                  the 2nd or 3rd Defendant on the various transfers of monies pleaded at paragraph

                  49 of the SOC. The Plaintiff is put to strict proof thereof.


            32.   Paragraphs 85 to 88 of the SOC are denied. The 1st Defendant repeats paragraph

                  32 of the Defence herein.


            33.   By reason of the above and in the premises, the Plaintiff is not entitled to any of

                  the reliefs prayed for in the SOC.


            34.   Save as hereinbefore expressly admitted, the 1st Defendant denies each and every

                  allegation in the SOC as if the same had been set out seriatim and specifically

                  traversed.


                                        Dated this 2nd day of June 2022



                                                SGD
                                ____________________________________
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                                 HARRY ELIAS PARTNERSHIP LLP
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                                Re-Dated this 16th day of June 2022




                             ____________________________________
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      Dated:   New York, New York               Respectfully submitted,
               March 12, 2024                   NORTON ROSE FULBRIGHT US LLP

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         Dated: New York, New York                Respectfully submitted,
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